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    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK


    In re                                                                Chapter 11

    SIZMEK INC., et al.,                                                 Case No. 19-10971 (SMB)

                     Debtors.1                                           (Jointly Administered)


                            SCHEDULE OF ASSETS AND LIABILITIES FOR
                                      SIZMEK DSP, INC.




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Sizmek Inc. (4624); Point Roll, Inc. (3173); Sizmek DSP, Inc. (2319); Sizmek Technologies,
      Inc. (6402); Wireless Artist LLC (0302); Wireless Developer, Inc. (9686); X Plus One Solutions, Inc. (8106);
      and X Plus Two Solutions, LLC (4914). The location of the Debtors’ service address for purposes of these
      chapter 11 cases is: 401 Park Avenue South, Fifth Floor, New York, NY 10016.
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    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK


    In re                                                                Chapter 11

    SIZMEK INC., et al.,                                                 Case No. 19-10971 (SMB)

                     Debtors.2                                           (Jointly Administered)


                     GLOBAL NOTES AND STATEMENTS OF LIMITATIONS,
                      METHODOLOGY, AND DISCLAIMERS REGARDING
                        THE DEBTORS’ SCHEDULES OF ASSETS AND
                       LIABILITIES AND STATEMENTS OF FINANCIAL
                                        AFFAIRS


         Sizmek Inc. (“Sizmek”) and certain of its direct and indirect subsidiaries are debtors and
debtors in possession (collectively, the “Debtors”), are filing their respective Schedules of Assets
and Liabilities (each, a “Schedule,” and collectively, the “Schedules”) and Statements of Financial
Affairs (each, a “Statement” and collectively, the “Statements”) in the United States Bankruptcy
Court for the Southern District of New York (the “Bankruptcy Court”) pursuant to section 521
of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules
of Bankruptcy Procedure (the “Bankruptcy Rules”).

        These Global Notes and Statements of Limitations, Methodology, and Disclaimer
Regarding the Debtors’ Schedules and Statements (collectively, the “Global Notes”) pertain to,
and are incorporated in, and constitute an integral part of the Schedules and Statements. The Global
Notes are in addition to the specific notes set forth below with respect to the Schedules and
Statements (the “Specific Notes,” and, together with the Global Notes, the “Notes”). These Notes
should be referred to, and referenced in connection with, any review of the Schedules and
Statements.

        The Debtors’ management prepared the Schedules and Statements with the assistance of
their advisors and other professionals. The Schedules and Statements are unaudited and subject to
adjustment. In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of preparation. The Debtors’
management team and advisors have made reasonable efforts to ensure that the Schedules and
Statements are as accurate and complete as possible under the circumstances; however, subsequent

2
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Sizmek Inc. (4624); Point Roll, Inc. (3173); Sizmek DSP, Inc. (2319); Sizmek Technologies,
      Inc. (6402); Wireless Artist LLC (0302); Wireless Developer, Inc. (9686); X Plus One Solutions, Inc. (8106);
      and X Plus Two Solutions, LLC (4914). The location of the Debtors’ service address for purposes of these
      chapter 11 cases is: 401 Park Avenue South, Fifth Floor, New York, NY 10016.
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information or discovery may result in material changes to the Schedules and Statements and errors
or omissions may exist. Notwithstanding any such discovery, new information, or errors or
omissions, the Debtors do not undertake any obligation or commitment to update the Schedules
and Statements.

                The Debtors reserve all rights to amend or supplement the Schedules and
Statements from time to time, in all respects, as may be necessary or appropriate, including the
right to dispute or otherwise assert offsets or defenses to any claim reflected on the Schedules
and Statements as to amount, liability, classification, identity of Debtor, or to otherwise
subsequently designate any claim as “disputed,” “contingent,” or “unliquidated.” Furthermore,
nothing contained in the Schedules, Statements, or Notes shall constitute a waiver of any of the
Debtors’ rights or an admission of any issues, including issues with respect to their chapter 11
cases, involving objections to claims, substantive consolidation, equitable subordination,
defenses, characterization or re-characterization of contracts and leases, assumption or rejection
of contracts and leases under the provisions of chapter 3 of the Bankruptcy Code, causes of
action arising under the provisions of chapter 5 of the Bankruptcy Code, or any other applicable
state or federal laws.

               Sascha Wittler has signed the Schedules and Statements. Mr. Wittler is the Chief
Financial Officer of Sizmek and an authorized signatory for the Debtors. In reviewing and
signing the Schedules and Statements, Mr. Wittler necessarily has relied upon the efforts,
statements and representations of the Debtors’ advisors and various personnel employed by the
Debtors. Mr. Wittler has not (and could not have) personally verified the accuracy of each
statement and representation contained in the Schedules and Statements, including statements
and representations concerning amounts owed to creditors, classification of such amounts and
creditor addresses.
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                        Global Notes and Overview of Methodology

       The Schedules, Statements, and Notes should not be relied upon by any persons for
information relating to current or future financial conditions, events, or performance of
any of the Debtors or their affiliates.

1.    Description of the Cases. On March 29, 2019, (the “Petition Date”), each of the
      Debtors commenced a voluntary case under chapter 11 of the Bankruptcy Code. The
      Debtors are authorized to operate their businesses and manage their properties as debtors
      in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On April 3,
      2019, the Bankruptcy Court entered an order authorizing the joint administration of the
      chapter 11 cases pursuant to Bankruptcy Rule 1015(b) [Docket No. 28]. Notwithstanding
      the joint administration of the Debtors’ cases for procedural purposes, each Debtor has
      filed its own Schedules and Statements. On April 17, 2019 the United States Trustee for
      the Southern District of New York appointed the official committee of unsecured
      creditors pursuant to section 1102(a)(1) of the Bankruptcy Code.

2.    Basis of Presentation. For financial reporting purposes, the Debtors generally prepare
      consolidated financial statements, which include information for Sizmek. The Schedules
      and Statements are unaudited and reflect the Debtors’ reasonable efforts to report certain
      financial information of each Debtor on an unconsolidated basis. These Schedules and
      Statements neither purport to represent financial statements prepared in accordance with
      Generally Accepted Accounting Principles in the United States (“GAAP”), nor are they
      intended to be fully reconciled with the financial statements of each Debtor.

      The Debtors used reasonable efforts to attribute the assets and liabilities, certain required
      financial information, and various cash disbursements to each particular Debtor entity.
      Because the Debtors’ accounting systems, policies, and practices were developed for
      consolidated reporting purposes rather than for reporting by legal entity, however, it is
      possible that not all assets and liabilities have been recorded with the correct legal entity
      on the Schedules and Statements. Accordingly, the Debtors reserve all rights to
      supplement and amend the Schedules and Statements in this regard, including with
      respect to reallocation of assets or liabilities to any particular entity.

3.    Reporting Date. Unless otherwise noted in the specific responses, the Schedules and
      Statements generally reflect the Debtors’ books and records as of the close of business on
      March 28, 2019.

4.    Current Values. The assets and liabilities of each Debtor are listed on the basis of the
      book value of the asset or liability in the respective Debtor’s accounting books and
      records. Unless otherwise noted, the carrying value on the Debtor’s books, rather than the
      current market value, is reflected in the Schedules and Statements.

5.    Confidentiality. There may be instances where certain information was not included due
      to the nature of an agreement between a Debtor and a third party, concerns about the
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      confidential or commercially sensitive nature of certain information, or to protect the
      privacy of an individual.

6.    Consolidated Entity Accounts Payable and Disbursement Systems. As described in
      the Cash Management Motion, the Debtors utilize an integrated, centralized cash
      management system, in the ordinary course of business, to collect, concentrate, and
      disburse funds generated by their operations (the “Cash Management System”). The
      Debtors maintain a consolidated disbursements system to pay operating and
      administrative expenses through disbursement accounts.

      In the ordinary course of business, the Debtors maintain a business relationship with each
      other, which result in intercompany receivables and payables (the “Intercompany
      Claims”) arising from intercompany transactions (the “Intercompany Transactions”).
      [As set forth more fully in the Cash Management Motion, the primary Intercompany
      Transactions giving rise to Intercompany Claims include expenses paid and cash
      transferred among the Debtors. The Debtors track all Intercompany Transactions in their
      accounting system, which concurrently are recorded on the applicable Debtors’ balance
      sheets. The Debtors’ accounting system requires that all general-ledger entries be
      balanced at the legal-entity level. Unless otherwise noted, the Debtors have reported the
      aggregate net intercompany balances among the Debtors as assets on Schedule A/B or as
      liabilities on Schedule E/F, as appropriate.

7.    Accuracy. The financial information disclosed herein was not prepared in accordance
      with federal or state securities laws or other applicable non-bankruptcy law or in lieu of
      complying with any periodic reporting requirements thereunder. Persons and entities
      trading in or otherwise purchasing, selling, or transferring the claims against or equity
      interests in the Debtors should evaluate this financial information in light of the purposes
      for which it was prepared. The Debtors are not liable for and undertake no responsibility
      to indicate variations from securities laws or for any evaluations of the Debtors based on
      this financial information or any other information.

8.    Net Book Value of Assets. In many instances, current market valuations are not
      maintained by or readily available to the Debtors. As such, wherever possible, net book
      values as of the Petition Date are presented. When necessary, the Debtors have indicated
      that the value of certain assets is “unknown,” “undetermined,” or “N/A.” Amounts
      ultimately realized may vary materially from net book value (or other value so ascribed).
      Accordingly, the Debtors reserve all rights to amend, supplement, and adjust the asset
      values set forth in the Schedules and Statements. As applicable, fixed assets and
      leasehold improvement assets that fully have been depreciated or amortized, or were
      expensed for GAAP accounting purposes, have no net book value, and, therefore, are not
      included in the Schedules and Statements.

9.    Undetermined Amounts. Claim amounts that could not readily be quantified by the
      Debtors are scheduled as “unliquidated,” “undetermined,” “unknown,” or “N/A.” The
      description of an amount as “unliquidated,” “undetermined,” “unknown,” or “N/A” is not
      intended to reflect upon the materiality of the amount.
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10.   Excluded Assets and Liabilities. The Debtors believe that they have identified, but did
      not necessarily value, all material categories of assets and liabilities in the Schedules. The
      Debtors have excluded the following items from the Schedules and Statements: certain
      accrued liabilities, certain prepaid and other current assets considered to have de minimis
      or no market value, and certain other immaterial assets and liabilities.

11.   Totals. All totals that are included in the Schedules and Statements represent totals of all
      the known amounts included in the Schedules and Statements and exclude items
      identified as “unknown” or “undetermined.” If there are unknown or undetermined
      amounts, the actual totals may be materially different from the listed totals.

12.   Currency. All amounts shown in the Schedules and Statements are in U.S. Dollars,
      unless otherwise indicated.

13.   Payment of Prepetition Claims Pursuant to First Day Orders. Pursuant to a number
      of motions filed on the first day of the Debtors’ Chapter 11 Cases (the “First Day
      Motions”), the Debtors have sought authority to pay certain outstanding prepetition
      payables pursuant to a bankruptcy or other court order. The Bankruptcy Court entered
      certain orders authorizing the Debtors to pay certain of the outstanding prepetition
      payables they sought to pay under the First Day Motions (collectively, the “First Day
      Orders”). As such, outstanding liabilities may have been reduced by any court-approved
      postpetition payments made on prepetition payables or by any anticipated court-approved
      postpetition payments authorized on behalf of prepetition payables. To the extent the
      Debtors pay any amount of the claims listed in the Schedules and Statements pursuant to
      any orders entered by the Bankruptcy Court, the Debtors reserve all rights to amend or
      supplement the Schedules and Statements or to take other action, such as filing claims
      objections, as is necessary and appropriate to avoid overpayment or duplicate payments
      for liabilities. Nothing contained herein should be deemed to alter the rights of any party
      in interest to contest a payment made pursuant to an order of the Bankruptcy Court where
      such order preserves the right to contest.

14.   Other Paid Claims. To the extent the Debtors have reached any postpetition settlement
      with a vendor or other creditor, the terms of such settlement will prevail, supersede
      amounts listed in the Debtors’ Schedules and Statements, and shall be enforceable by all
      parties, subject to Bankruptcy Court approval.

15.   Property, Plant and Equipment. Expenditures for additions, renewals and
      improvements are capitalized at cost. Depreciation is computed on a straight-line method
      based on the estimated useful lives of the related assets. The estimated useful lives of the
      major classes of depreciable assets are 3 years for IT hardware, software, deployment,
      machinery and equipment and approximately 6.67 to 14 years for office equipment,
      furniture and fixtures. Leasehold improvements are depreciated over the shorter of the
      remaining useful life or remaining lease term of the lease. Expenditures for repairs and
      maintenance are charged to operations as incurred. The Debtors periodically evaluate
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      whether current events or circumstances indicate that the carrying value of its depreciable
      assets may not be recoverable.

16.   Debtors’ Reservation of Rights. Nothing contained in the Schedules, Statements, or
      Notes shall constitute a waiver of any of the Debtors’ rights, including with respect to
      certain issues related to these chapter 11 cases, including, but not limited to, the
      following:

                 a. Any failure to designate a claim listed on the Debtors’ Schedules and
                    Statements as “disputed,” “contingent,” or “unliquidated” does not
                    constitute an admission by the Debtors that such amount is not “disputed,”
                    “contingent,” or “unliquidated.” The Debtors reserve the right to dispute
                    and to assert setoff rights, counterclaims, and defenses to any claim
                    reflected on the Schedules as to amount, liability, and classification, and to
                    otherwise subsequently designate any claim as “disputed,” “contingent,”
                    or “unliquidated.”

                 b. Notwithstanding that the Debtors have made reasonable efforts to
                    correctly characterize, classify, categorize, or designate certain claims,
                    assets, executory contracts, unexpired leases, and other items reported in
                    the Schedules and Statements, the Debtors nonetheless may have
                    improperly characterized, classified, categorized, or designated certain
                    items. The Debtors thus reserve all rights to recharacterize, reclassify,
                    recategorize, or redesignate items reported in the Schedules and
                    Statements at a later time as is necessary and appropriate.

                 c. The listing of a claim (i) on Schedule D as “secured,” (ii) on Schedule E/F
                    (Part 1) as “priority,” (iii) on Schedule E/F (Part 2) as “unsecured,” or (iv)
                    listing a contract or lease on Schedule G as “executory” or “unexpired”
                    does not constitute an admission by the Debtors of the legal rights of the
                    claimant, or a waiver of the Debtors’ rights to recharacterize or reclassify
                    such claim or contract pursuant to a schedule amendment, claim objection
                    or otherwise. Moreover, although the Debtors may have scheduled claims
                    of various creditors as secured claims for informational purposes, no
                    current valuation of the Debtors’ assets in which such creditors may have
                    a security interest has been undertaken. Except as provided in an order of
                    the Bankruptcy Court, the Debtors reserve all rights to dispute and
                    challenge the secured nature or amount of any such creditor’s claims or
                    the characterization of the structure of any transaction, or any document or
                    instrument related to such creditor’s claim.

                 d. In the ordinary course of their business, the Debtors lease equipment and
                    other assets from certain third-party lessors for use in the daily operation
                    of its business. The Debtors have made commercially reasonable efforts to
                    list any such leases in Schedule G, and any current amounts due under
                    such leases that were outstanding as of the Petition Date are listed on
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                  Schedule E/F. Except as otherwise noted herein, the property subject to
                  any such leases is not reflected in Schedule A/B as either owned property
                  or assets of the Debtors, and neither is such property or assets of third
                  parties within the control of the Debtors. Nothing in the Schedules is or
                  shall be construed as an admission or determination as to the legal status
                  of any lease (including whether any lease is a true lease or a financing
                  arrangement), and the Debtors reserve all rights with respect to any of
                  such issues, including the recharacterization thereof.

               e. The claims of individual creditors for, among other things, goods,
                  products, services or taxes are listed as the amounts entered on the
                  Debtors’ books and records and may not reflect credits, allowances or
                  other adjustments due from such creditors to the Debtors. The Debtors
                  reserve all of their rights with regard to such credits, allowances and other
                  adjustments, including the right to assert claims objections and/or setoffs
                  with respect to the same.

               f. The Debtors’ businesses are part of a complex enterprise. Although the
                  Debtors have exercised reasonable efforts to ensure the accuracy of the
                  Schedules and Statements, they nevertheless may contain errors and
                  omissions. The Debtors hereby reserve all of their rights to dispute the
                  validity, status, and enforceability of any contracts, agreements, and leases
                  identified in the Debtors’ Schedules and Statements, and to amend and
                  supplement the Schedules and Statements as necessary.

               g. The Debtors further reserve all of their rights, claims, and causes of action
                  with respect to the contracts and agreements listed on the Schedules and
                  Statements, including, but not limited to, the right to dispute and challenge
                  the characterization or the structure of any transaction, document, and
                  instrument related to a creditor’s claim.

               h. The Debtors exercised reasonable efforts to locate and identify guarantees
                  and other secondary liability claims (the “Guarantees”) in their executory
                  contracts, unexpired leases, secured financings, debt instruments, and
                  other agreements. Where such Guarantees have been identified, they are
                  included in the relevant Schedules and Statements. Guarantees embedded
                  in the Debtors’ executory contracts, unexpired leases, secured financings,
                  debt instruments, and other agreements may have been omitted
                  inadvertently. Thus, the Debtors reserve their rights to amend and
                  supplement the Schedules and Statements to the extent that additional
                  Guarantees are identified. In addition, the Debtors reserve the right to
                  amend the Schedules and Statements to recharacterize and reclassify any
                  such contract or claim.

               i. Listing a contract or lease on the Debtors’ Schedules and Statements shall
                  not be deemed an admission that such contract is an executory contract,
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                     such lease is an unexpired lease, or that either necessarily is a binding,
                     valid, and enforceable contract. The Debtors reserve the right to assert that
                     any contract listed on the Debtors’ Schedules and Statements does not
                     constitute an executory contract within the meaning of section 365 of the
                     Bankruptcy Code, and the right to assert that any lease so listed does not
                     constitute an unexpired lease within the meaning of section 365 of the
                     Bankruptcy Code.

                 j. Exclusion of certain intellectual property should not be construed to be an
                    admission that such intellectual property rights have been abandoned, have
                    been terminated or otherwise expired by their terms, or have been assigned
                    or otherwise transferred pursuant to a sale, acquisition, or other
                    transaction. Conversely, inclusion of certain intellectual property should
                    not be construed to be an admission that such intellectual property rights
                    have not been abandoned, have not been terminated or otherwise expired
                    by their terms, or have not been assigned or otherwise transferred pursuant
                    to a sale, acquisition, or other transaction.

17.   Global Notes Control. In the event that the Schedules or Statements differ from any of
      the foregoing Global Notes, the Global Notes shall control.

Specific Notes with Respect to the Debtors’ Schedules

1.    Schedule A/B

          a. A/B.3. As set forth more fully in the Cash Management Motion, the Debtors
             conduct their operations through a network of bank accounts as outlined in the
             Cash Management Systems chart attached to the Cash Management Motion as
             Exhibit 1. The values provided for in Schedule A/B, Item 3 for each account for a
             given Debtor reflects the ending cash balance of such account as of the close of
             business on March 28, 2019.

          b. A/B.11. Schedule A/B Item 11 identifies the gross accounts receivable balance as
             of the Petition Date.

          c. A/B.60-65. The value of the Debtors’ intellectual property is contingent and
             unliquidated. The Debtors’ intellectual property has not been appraised by a
             professional and is listed at net book value.

          d. A/B.72. The Debtors’ file taxes on a consolidated basis under the non-Debtor
             entity Solomon Acquisition Corp. As such, the Net Operating Loss amounts listed
             in the schedule reflect the consolidated Net Operating Loss amounts available to
             Solomon Acquisition Corp. and have not been allocated to its subsidiaries.

          e. A/B.70–77. Despite exercising their commercially reasonable efforts to identify
             all known assets, the Debtors may not have listed all of their causes of action or
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             potential causes of action against third parties as assets in their Schedules. Unless
             otherwise noted on specific responses, items reported on Schedule A/B are
             reported from the Debtors’ books and records as of the Petition Date. Assets that
             remain unreconciled but otherwise exist within the Debtors’ books and records
             have been captured as “Unreconciled Assets” and are subject to further review. In
             the ordinary course of their businesses, the Debtors may have accrued, or may
             subsequently accrue, certain rights to counterclaims, cross-claims, credits, rebates,
             or refunds with their customers and suppliers or potential warranty claims against
             their suppliers. The Debtors reserve all of their rights with respect to any claims
             and causes of action they may have. Neither these Notes nor the Schedules shall
             be deemed a waiver of any such claims or causes of action or to prejudice or
             impair the assertion thereof in any way. All known litigation claims against the
             Debtors are listed on Schedule F. Where a Debtor holds a positive net
             intercompany balance, such amount has been listed on Item 77, Schedule A/B for
             such Debtor. Similarly, where a Debtor holds a negative net intercompany
             balance, such amount has been listed on Schedule E/F, Part 2 for such Debtor.

2.    Schedule D. The claims listed on Schedule D, as well as the guarantees of those claims
      listed on Schedule H, arose and were incurred on various dates; a determination of the
      date upon which each claim arose or was incurred would be unduly burdensome and cost
      prohibitive. Accordingly, not all such dates are included for each claim. To the best of the
      Debtors’ knowledge, all claims listed on Schedule D arose or were incurred before the
      Petition Date.

      Except as otherwise agreed to or stated pursuant to a stipulation, agreed order, or general
      order entered by the Bankruptcy Court that is or becomes final, the Debtors and their
      estates reserve their right to dispute and challenge the validity, perfection, or immunity
      from avoidance of any lien purported to be granted or perfected in any specific asset to a
      creditor listed on Schedule D of any Debtor and, subject to the foregoing limitations, note
      as follows: (a) although the Debtors may have scheduled claims of various creditors as
      secured claims for informational purposes, no current valuation of the Debtors’ assets in
      which such creditors may have a lien has been undertaken; (b) the Debtors reserve all
      rights to dispute and challenge the secured nature of any creditor’s claim or the
      characterization of the structure of any such transaction or any document or instrument
      related to such creditor’s claim; and (c) the descriptions provided on Schedule D only are
      intended to be a summary. Reference to the applicable loan agreements and related
      documents is necessary for a complete description of the collateral and the nature, extent,
      and priority of any liens.

      Detailed descriptions of the Debtors’ prepetition debt structure and descriptions of
      collateral relating to the debt contained on Schedule D are contained in the Declaration of
      Sascha Wittler, Chief Financial Officer of Sizmek Inc., (I) in Support of Chapter 11
      Petitions and First Day Pleadings, and (II) Pursuant to Local Rule 1007-2 [Docket No.
      13], and the Supplemental Declaration of Sascha Wittler, Chief Financial Officer of
      Sizmek, Inc. (I) in Support of Chapter 11 Petitions and First Day Pleadings, and (II)
      Pursuant to Local Rule 1007-2 [Docket No. 54] (together, the “Declaration”).
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3.    Schedule E/F

         a. (Part 1). The claims listed on Schedule E/F (Part 1) arose and were incurred on
            various dates; a determination of the date upon which each claim arose or was
            incurred would be unduly burdensome and cost prohibitive. Accordingly, not all
            such dates are included for each claim. To the best of the Debtors’ knowledge, all
            claims listed on Schedule E/F arose or were incurred before the Petition Date.

            The Debtors have not listed certain wage, or wage-related obligations that the
            Debtors have paid pursuant to First Day Orders on Schedule E/F. The Bankruptcy
            Court, however, has not yet granted all of the relief sought by the First Day
            Motions. Additional hearings are scheduled before the Bankruptcy Court to
            consider the further relief sought under the First Day Motions. As such,
            outstanding liabilities may have been reduced by any court-approved postpetition
            payments made on prepetition payables or by any anticipated court-approved
            postpetition payments authorized on behalf of prepetition payables. Where and to
            the extent these liabilities have been satisfied or are anticipated to be satisfied,
            they are not listed in the Schedules and Statements unless otherwise noted. To the
            extent the Debtors later pay any amount of the claims listed in the Schedules and
            Statements pursuant to any orders entered by the Bankruptcy Court, the Debtors
            reserve all rights to amend or supplement the Schedules and Statements or to take
            other action, such as filing claims objections, as is necessary and appropriate to
            avoid overpayment or duplicate payments for liabilities. Further, to the extent the
            Debtors do not obtain the relief pursuant to the First Day Motions that they
            anticipate, the Debtors will amend these Schedules and Statements. The Debtors
            reserve the right to dispute or challenge whether creditors listed on Schedule E/F
            are entitled to priority status pursuant to sections 503 and/or 507 of the
            Bankruptcy Code.


            Claims owing to various taxing authorities to which the Debtors potentially may
            be liable are included on the Debtors’ Schedule E/F. Certain of such claims,
            however, may be subject to ongoing audits and/or the Debtors otherwise are
            unable to determine with certainty the amount of the remaining claims listed on
            Schedule E/F.

            The Debtors reserve the right to assert that any claim listed on Schedule E/F does
            not constitute a priority claim under the Bankruptcy Code.

         b. (Part 2). The Debtors have exercised their commercially reasonable efforts to list
            all liabilities on Schedule E/F of each applicable Debtor. As a result of the
            Debtors’ consolidated operations, however, the reader should review Schedule
            E/F for all Debtors in these cases for a complete understanding of the unsecured
            debts of the Debtors. Additional lines have been added as "Other Unreconciled
            Amounts" which are subject to further review. The Debtors reserve their rights
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             with respect to the reallocation of such amounts to the appropriate counterparty.
             Certain creditors listed on Schedule E/F may owe amounts to the Debtors, and, as
             such, the Debtors may have valid setoff and recoupment rights with respect to
             such amounts. The amounts listed on Schedule E/F may not reflect any such right
             of setoff or recoupment, and the Debtors reserve all rights to assert the same and
             to dispute and challenge any setoff and/or recoupment rights that may be asserted
             against the Debtors by a creditor. Additionally, certain creditors may assert
             mechanic’s, materialman’s, or other similar liens against the Debtors for amounts
             listed on Schedule E/F. The Debtors reserve their rights to dispute and challenge
             the validity, perfection, and immunity from avoidance of any lien purported to be
             perfected by a creditor listed on Schedule E/F of any Debtor. In addition, certain
             claims listed on Schedule E/F (Part 2) may be entitled to priority under 11 U.S.C.
             § 503(b)(9).

             The Debtors have made reasonable efforts to include all unsecured creditors on
             Schedule E/F including, but not limited to, occupancy creditors, consultants, and
             other service providers. The Debtors have also included trade creditors and taxing
             authorities on Schedule E/F, some of whose claims have been satisfied, in whole
             or in part, pursuant to the First Day Orders. Notwithstanding the foregoing, the
             Debtors believe that there are instances where creditors have yet to provide proper
             invoices for prepetition goods or services. Additionally, certain bank maintenance
             fees have not been listed in Schedule E/F for the Debtors where determining and
             allocating such amounts among the Debtors would be unduly burdensome.
             Moreover, Schedule E/F does not include certain balances including deferred
             liabilities, accruals, or general reserves. Such amounts are, however, reflected on
             the Debtors’ books and records as required in accordance with GAAP. Such
             accruals primarily represent general estimates of liabilities and do not represent
             specific claims as of the Petition Date. The Debtors have made reasonable efforts
             to include as contingent, unliquidated and/or disputed the claim of any party not
             included on the Debtors’ open accounts payable that is associated with an account
             that has an accrual or receipt not invoiced.

             The Debtors may pay additional claims listed on Schedule E/F during these
             Chapter 11 Cases pursuant to these and other orders of the Bankruptcy Court and
             the Debtors reserve all of their rights to update Schedule E/F to reflect such
             payments or to modify the claims register to account for the satisfaction of such
             claim. Additionally, Schedule E/F does not include potential rejection damage
             claims, if any, of the counterparties to executory contracts and unexpired leases
             that have been, or may be, rejected.

4.    Schedule G. Although reasonable efforts have been made to ensure the accuracy of
      Schedule G regarding executory contracts and unexpired leases (collectively, the
      “Agreements”), review is ongoing and inadvertent errors, omissions or overinclusion
      may have occurred. The Debtors may have entered into various other types of
      Agreements in the ordinary course of their businesses, such as indemnity agreements,
      supplemental agreements, and amendments/letter agreements that may not be set forth in
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      Schedule G. In addition, as described herein, certain non-disclosure agreements and/or or
      other confidential information have been omitted, as well as certain short-term purchase
      and sales orders given their large number and transitory nature. In addition, the remaining
      terms for certain agreements have been listed at their original or amended terms where
      available, while in other cases the terms have been listed as “N/A”.

      Omission of an agreement from Schedule G does not constitute an admission that such
      omitted agreement is not an executory contract or unexpired lease. Schedule G may be
      amended at any time to add any omitted Agreements. Likewise, the listing of an
      Agreement on Schedule G does not constitute an admission that such Agreement is an
      executory contract or unexpired lease or that such Agreement was in effect on the
      Petition Date or is valid or enforceable. The Agreements listed on Schedule G may have
      expired or may have been modified, amended, or supplemented from time to time by
      various amendments, restatements, waivers, estoppel certificates, letter and other
      documents, instruments and agreements that may not be listed on Schedule G. Executory
      agreements that are oral in nature have not been included in Schedule G. Any and all of
      the Debtors’ rights, claims and causes of action with respect to the Agreements listed on
      Schedule G are hereby reserved and preserved, and as such, the Debtors hereby reserve
      all of their rights to (i) dispute the validity, status, or enforceability of any Agreements set
      forth on Schedule G, (ii) dispute or challenge the characterization of the structure of any
      transaction, or any document or instrument related to a creditor’s claim, including, but
      not limited to, the Agreements listed on Schedule G and (iii) to amend or supplement
      such Schedule as necessary. Certain of the Agreements listed on Schedule G may have
      been entered into on behalf of more than one of the Debtors. Additionally, the specific
      Debtor obligor(s) to certain of the Agreements may not have been specifically ascertained
      in every circumstance. In such cases, the Debtors have made reasonable efforts to
      identify the correct Debtor’s Schedule G on which to list the Agreement and, where a
      contract party remained uncertain, such Agreement may have been listed on a different
      Debtor’s Schedule G.

5.    Schedule H. The Debtors are party to various debt agreements, which were executed by
      the Debtors. The obligations of guarantors under prepetition, secured credit agreements
      are noted on Schedule H for each individual debtor. In the ordinary course of their
      businesses, the Debtors are involved in pending or threatened litigation and claims arising
      out of the conduct of their businesses. Some of these matters may involve multiple
      plaintiffs and defendants, some or all of whom may assert cross-claims and counter-
      claims against other parties. Because such claims are listed on each Debtor’s Schedule
      E/F and Statement 7, as applicable, they have not been set forth individually on Schedule
      H. Further, the Debtors may not have identified certain guarantees that are embedded in
      the Debtors’ executory contracts, unexpired leases, secured financings, debt instruments
      and other such agreements. No claim set forth on the Schedules and Statements of any
      Debtor is intended to acknowledge claims of creditors that are otherwise satisfied or
      discharged by other Debtors or non-Debtors. To the extent there are guarantees connected
      with any joint ventures to which the Debtors may be a party, such agreements are not
      identified in the Debtors’ Schedules. The Debtors reserve all of their rights to amend the
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      Schedules to the extent that additional guarantees are identified or such guarantees are
      discovered to have expired or be unenforceable.

Specific Notes with Respect to the Debtors’ Statements


1.    Statement 1. Gross revenues reported for Sizmek DSP Inc. include revenues earned
      since the acquisition of the business on September 6, 2017, until the petition date.

2.    Statement 2. Upfront payment amounts received from subleases, proceeds from sale of
      assets, bank interest income, dividend / capital gains, and intercompany interest are gross
      amounts, including any amounts withheld for associated tax liabilities. The Debtors’
      “YTD 2017” and “YTD 2018” reflects revenues between January 1st and December 31st
      of each respective year. “YTD 3/2019” reflects revenues between January 1st and March
      28th of 2019.

3.    Statement 3. The obligations of the Debtors are primarily paid by and through Sizmek
      Technologies, Inc. and Sizmek DSP Inc., notwithstanding the fact that certain obligations
      may be obligations of other Debtor entities.

      The payments disclosed in Statement 3 are based on payments made by the Debtors with
      payment dates from December 28, 2018 to March 28, 2019. The actual dates that cash
      cleared the Debtors’ bank accounts may differ based on the form of payment. The
      Debtors’ accounts payable system does not include the corresponding payment clear
      dates and compiling this data would have required a significant manual review of
      individual bank statements. It is expected, however, that many payments included in
      Statement 3 have payment clear dates that are the same as payment dates (e.g., wires and
      other forms of electronic payments).

      The responses to Statement 3 exclude certain disbursements or transfers to creditors
      otherwise listed in Statement 9, Statement 11, and payments made on account of certain
      employee obligations including, but not limited to, medical costs and business expense
      reimbursements.

4.    Statement 4. The Debtors reserve all rights with respect to the determination or status of
      a person as an “insider” as defined in section 101(13) of the Bankruptcy Code. For more
      information regarding each Debtor’s officers and directors, see Statement 28 and
      Statement 29.

      The payroll-related amount shown in response to this question, which includes, among
      other things, salary, wage, additional compensation, is a gross amount that does not
      include reductions for amounts including employee tax or benefit withholdings. In the
      ordinary course of business, certain corporate or personal credit cards may be utilized by
      insiders to pay for travel and business-related expenses for various other individuals
      employed by the Debtors. As it would be unduly burdensome for the Debtors to analyze
      which credit card expenses related to those incurred on behalf of an insider as opposed to
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      another employee (or the Debtors), the Debtors have listed the aggregate amount paid for
      such expenses. Amounts still owed to creditors will appear on the Schedules for each of
      the Debtors.

5.    Statement 7. Actions described in response to Statement 7 include, but are not limited to,
      employee claims and patent infringement claims.

      The Debtors reserve all of their rights and defenses with respect to any and all listed
      lawsuits and administrative proceedings. The listing of such suits and proceedings shall
      not constitute an admission by the Debtors of any liabilities or that the actions or
      proceedings were correctly filed against the Debtors or any affiliates of the Debtors. The
      Debtors also reserve their rights to assert that neither the Debtors nor any affiliate of the
      Debtors is an appropriate party to such actions or proceedings. Further, the Debtors
      operate in numerous jurisdictions and in the ordinary course of business may have
      disputed property valuations/tax assessments. The Debtors have not listed such disputes
      on Statement 7.

6.    Statement 11. The Debtors have used reasonable efforts to identify payments for
      services of any entities who provided consultation concerning debt counseling or
      restructuring services, relief under the Bankruptcy Code or preparation of a petition in
      bankruptcy within one year immediately preceding the Petition Date, which are identified
      in Sizmek’s response to Statement 11. Additional information regarding the Debtors’
      retention of professional service firms is more fully described in the individual retention
      applications for those firms and related orders.

      Additionally, DeWeese & Associates, PLLC, Osborne Clarke LLP, DLA Piper UK, LLP,
      and others provided prepetition services to the Debtors in a capacity wholly unrelated to
      these Chapter 11 Cases. Out of an abundance of caution, Statement 11 includes all
      amounts paid by the Debtors to each of those professionals within 1 year before the
      Petition Date, regardless of the nature of services such professionals provided.

7.    Statement 25. The Debtors have used reasonable efforts to identify the beginning and
      ending dates of all businesses in which the Debtors were a partner or owned five percent
      or more of the voting or equity securities within the six years immediately preceding the
      Petition Date. In certain instances, however, the dissolution dates of certain entities that
      are no longer in existence were not readily available and, therefore, are not included in
      Statement 25. All such entities were either merged with other entities owned by the
      Debtors or were dissolved prior to the Petition Date.

8.    Statement 26(d). The Debtors provided financial statements in the ordinary course of
      business to certain parties for business, statutory, credit, financing and other reasons.
      Recipients have included, financial institutions, investment banks, debtholders, and
      certain of their advisors. Financial statements have also been provided to other parties as
      requested.
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9.    Statement 30. Any and all known disbursements to insiders of the Debtors have been
      listed in the response to Statement 4. The items listed under Statement 30 incorporate by
      reference any items listed under Statement 4, and vice versa.
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 Fill in this information to identify the case:

 Debtor name: Sizmek DSP, Inc.

 United States Bankruptcy for the District of: Southern New York
                                                                                                                       Check if this is an
 Case number: 19-10973
                                                                                                                       amended ling


O cial Form 206Sum
Summary of Assets and Liabilities for Non-Individuals
 Part 1:   Summary of Assets
 1. Schedule A/B: Assets - Real and Personal Property (O cial Form 206A/B)
  1a. Real property:                                                                                 $0.00
          Copy line 88 from Schedule A/B
  1b. Total personal property:                                                                       $147,237,730.29
          Copy line 91A from Schedule A/B
  1c. Total of all property:                                                                         $147,237,730.29
          Copy line 92 from Schedule A/B

 Part 2:   Summary of Liabilities

 2. Schedule D: Creditors Who Have Claims Secured by Property (O cial Form 206D)                     $168,866,432.00
 Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D

 3. Schedule E/F: Creditors Who Have Unsecured Claims (O cial Form 206E/F)
  3a. Total claim amounts of priority unsecured claims:                                              $63,744.86
          Copy the total claims from Part 1 from line 5a of Schedule E/F
  3b. Total amount of claims of nonpriority amount of unsecured claims:                              $111,621,062.13
          Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F


 4. Total Liabilities                                                                                $280,551,238.99
 Lines 2 + 3a + 3b
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 Fill in this information to identify the case:

 Debtor name: Sizmek DSP, Inc.

 United States Bankruptcy for the District of: Southern New York
                                                                                                                                                            Check if this is an
 Case number: 19-10973
                                                                                                                                                            amended ling


O cial Form 206A/B
Schedule A/B: Assets — Real and Personal Property 12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which the debtor
holds rights and powers exercisable for the debtor's own bene t. Also include assets and properties which have no book value, such as fully depreciated assets or assets that
were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Of cial Form
206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and case number
(if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts from the attachment in
the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a xed asset schedule or depreciation schedule,
that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured claims. See the
instructions to understand the terms used in this form.

 Part 1:     Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
           Yes. Fill in the information below.


  All cash or cash equivalents owned or controlled by the debtor                                                                         Current value of debtor’s interest


 2. Cash on hand

 2.1                                                                                                                                    $0.00




 3. Checking, savings, money market, or nancial brokerage accounts (Identify all)
 Name of institution (bank or brokerage rm)                           Type of account                     Last 4 digits of account
                                                                                                          #

 3.1        COMERICA                                                        CHECKING                      7745                          $0.00



 3.2        COMERICA                                                        CHECKING                      6012                          $361,295.84



 3.3        COMERICA                                                        CHECKING                      4643                          $140,240.15



 3.4        HSBC UK                                                         CHECKING                      7617                          $232,716.83



 3.5        HSBC UK                                                         CHECKING                      1932                          $941,040.91



 3.6        HSBC UK                                                         CHECKING                      1315                          $353,961.26



 3.7        HSBC US                                                         CHECKING                      0884                          $3,967.39



 3.8        JP MORGAN CHASE                                                 CHECKING                      8991                          $0.00
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3.9        JP MORGAN CHASE                                            Pg 19 of 62
                                                                    CHECKING       3600                                   $52,204.81




4. Other cash equivalents (Identify all)
4.1                                                                                                                       $0.00




5. Total of Part 1
Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                           $2,085,427.19



Part 2:     Deposits and prepayments
6. Does the debtor have any deposits or prepayments?

          No. Go to Part 3.
          Yes. Fill in the information below.



                                                                                                                           Current value of debtor’s interest
7. Deposits, including security deposits and utility deposits
Description, including name of holder of deposit


7.1         SEE ATTACHED SCHEDULE AB7 EXHIBIT                                                                             $413,369.03




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
Description, including name of holder of prepayment


8.1         SEE ATTACHED SCHEDULE AB8 EXHIBIT                                                                             $258,753.98




9. Total of Part 2
Add lines 7 through 8. Copy the total to line 81.
                                                                                                                           $672,123.01



Part 3:     Accounts receivable
10. Does the debtor have any accounts receivable?

          No. Go to Part 4.
          Yes. Fill in the information below.



                                                                                                                           Current value of debtor’s interest
11. Accounts receivable
11a.       90 days old or        37,306,121.03                        - 0.00                                 = ........   $37,306,121.03
           less:                  face amount                                                                   
                                                                        doubtful or uncollectible accounts



11b.       Over 90 days old:     2,989,358.58                         - 876,637.55                           = ........   $2,112,721.03
                                                                                                                
                                  face amount                           doubtful or uncollectible accounts
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12. Total of Part 3
                                                                      Pg 20 of 62
Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                $39,418,842.06



Part 4:     Investments
13. Does the debtor own any investments?

          No. Go to Part 5.
          Yes. Fill in the information below.



                                                                                       Valuation method used for current       Current value of debtor’s interest
                                                                                       value
14. Mutual funds or publicly traded stocks not included in Part 1
Name of fund or stock:


14.1                                                                                                                           $0.00




15. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
partnership, or joint venture
Name of entity:                                                        % of
                                                                       ownership:

15.1                                                                            %                                              $0.00




16. Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
Describe:


16.1                                                                                                                           $0.00




17. Total of Part 4
Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                $0.00



Part 5:     Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

          No. Go to Part 6.
          Yes. Fill in the information below.



 General description                                         Date of     Net book value of           Valuation method          Current value of debtor’s interest
                                                             the last    debtor's interest           used for current value
                                                             physical    (Where available)
                                                             inventory
19. Raw materials
                                                                         $                                                     $0.00




20. Work in progress
                                                                         $                                                     $0.00
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21. Finished goods, including goods held for resale
                                                                     Pg 21 of 62
                                                                         $                                                        $0.00




22. Other inventory or supplies
                                                                         $                                                        $0.00



23. Total of Part 5
Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                   $0.00




24. Is any of the property listed in Part 5 perishable?

          No
          Yes



25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was led?

          No
          Yes       Book value   $                              Valuation method                                       Current value    $




26. Has any of the property listed in Part 5 been appraised by a professional within the last year?

          No
          Yes


Part 6:     Farming and shing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and shing-related assets (other than titled motor vehicles and land)?

          No. Go to Part 7.
          Yes. Fill in the information below.



 General description                                                      Net book value of           Valuation method             Current value of debtor’s interest
                                                                          debtor's interest           used for current value
                                                                          (Where available)
28. Crops—either planted or harvested
                                                                         $                                                        $0.00




29. Farm animals Examples: Livestock, poultry, farm-raised sh
                                                                         $                                                        $0.00




30. Farm machinery and equipment (Other than titled motor vehicles)
                                                                         $                                                        $0.00




31. Farm and shing supplies, chemicals, and feed
                                                                         $                                                        $0.00
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32. Other farming and         shing-related property not already listed in Part 6
                                                                                  Pg 22 of 62
                                                                             $                                                  $0.00




33. Total of Part 6
Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                 $0.00




34. Is the debtor a member of an agricultural cooperative?

           No
           Yes. Is any of the debtor’s property stored at the cooperative?
                          No
                          Yes



35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was led?

          No
          Yes           Book     $                              Valuation method                                     Current value    $
                        value


36. Is a depreciation schedule available for any of the property listed in Part 6?

          No
          Yes



37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

          No
          Yes


Part 7:     O ce furniture, xtures, and equipment; and collectibles
38. Does the debtor own or lease any o ce furniture, xtures, equipment, or collectibles?

          No. Go to Part 8.
          Yes. Fill in the information below.



 General description                                                          Net book value of       Valuation method           Current value of debtor’s interest
                                                                              debtor's interest       used for current value
                                                                              (Where available)
39. O ce furniture
39.1       SEE ATTACHED SCHEDULE AB39 EXHIBIT                                $ 650,775.21                                       $650,775.21




40. O ce xtures
40.1        SEE ATTACHED SCHEDULE AB40 EXHIBIT                               $ 240,579.46                                       $240,579.46




41. O ce equipment, including all computer equipment and communication systems equipment and software
41.1        SEE ATTACHED SCHEDULE AB41 EXHIBIT                               $ 9,577,256.71                                     $9,577,256.71
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 2. Collectible Examples: Antiques and gurines; paintings, prints, or other artwork; books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card collections;
42.
other collections, memorabilia, or collectibles


42.1                                                                            $                                                               $0.00




43. Total of Part 7
Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                                  $10,468,611.38




44. Is a depreciation schedule available for any of the property listed in Part 7?

          No
          Yes



45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

          No
          Yes


Part 8:     Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

          No. Go to Part 9.
          Yes. Fill in the information below.



 General description                                                              Net book value of               Valuation method                Current value of debtor’s interest
 Include year, make, model, and identi cation numbers (i.e., VIN,                 debtor's interest               used for current value
 HIN, or N-number)                                                                (Where available)
47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
47.1                                                                            $                                                               $0.00




48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors, oating homes, personal watercraft, and shing vessels
48.1                                                                            $                                                               $0.00




49. Aircraft and accessories
49.1                                                                            $                                                               $0.00




50. Other machinery, xtures, and equipment (excluding farm machinery and equipment)
50.1                                                                            $ 122,331.54                     NET BOOK VALUE                 $122,331.54
 SEE ATTACHED SCHEDULE AB50 EXHIBIT




51. Total of Part 8.
Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                                  $122,331.54
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52. Is a depreciation schedule available for any of the property listed in Part 8?

          No
          Yes



53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

          No
          Yes


Part 9:     Real Property
54. Does the debtor own or lease any real property?

          No. Go to Part 10.
          Yes. Fill in the information below.



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
  Description and location of property                       Nature and extent of        Net book value of            Valuation method            Current value of
  Include street address or other description such as        debtor’s interest in        debtor's interest            used for current value      debtor’s interest
  Assessor Parcel Number (APN), and type of                  property                    (Where available)
  property (for example, acreage, factory, warehouse,
  apartment or o ce building), if available.

55.1                                                                                   $                                                         $0.00




56. Total of Part 9.
Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                    $0.00




57. Is a depreciation schedule available for any of the property listed in Part 9?

          No
          Yes



58. Has any of the property listed in Part 9 been appraised by a professional within the last year?

          No
          Yes


Part 10:        Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

          No. Go to Part 11.
          Yes. Fill in the information below.



 General description                                                       Net book value of           Valuation method             Current value of debtor’s interest
                                                                           debtor's interest           used for current value
                                                                           (Where available)
60. Patents, copyrights, trademarks, and trade secrets
60.1                                                                      $                                                        $0.00
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61. Internet domain names and websites
                                                                      Pg 25 of 62
61.1                                                                      $                                                          $0.00




62. Licenses, franchises, and royalties
62.1                                                                      $                                                          $0.00




63. Customer lists, mailing lists, or other compilations
63.1       CUSTOMER RELATIONS                                             $ 3,201,483.88                NET BOOK VALUE               $3,201,483.88




64. Other intangibles, or intellectual property
64.1       DEVELOPED TECHNOLOGY                                           $ 957,038.71                  NET BOOK VALUE               $957,038.71




65. Goodwill
65.1       GOODWILL                                                       $ 51,447,755.82               NET BOOK VALUE               $51,447,755.82




66. Total of Part 10.
Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                      $55,606,278.41




67. Do your lists or records include personally identi able information of customers (as de ned in 11 U.S.C. §§ 101(41A) and 107)?

       No
       Yes



68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?

       No
       Yes



69. Has any of the property listed in Part 10 been appraised by a professional within the last year?

       No
       Yes


Part 11:     All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
Include all interests in executory contracts and unexpired leases not previously reported on this form.

       No. Go to Part 12.
       Yes. Fill in the information below.
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                                                                                                                                   Current value of debtor’s interest
71. Notes receivable
Description (include name of obligor)
71.1                                                                           -                                    =           $0.00
                                             total face amount                          doubtful or uncollectible
                                                                                        amount




72. Tax refunds and unused net operating losses (NOLs)
Description (for example, federal, state, local)
72.1                                                                                             Tax year                        $0.00




73. Interests in insurance policies or annuities
73.1                                                                                                                             $0.00




74. Causes of action against third parties (whether or not a lawsuit has been led)
74.1                                                                                                                             $0.00

Nature of Claim

Amount requested                   $




75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of the debtor and rights to set off claims
75.1                                                                                                                             $0.00

Nature of Claim

Amount requested                   $




76. Trusts, equitable or future interests in property
76.1                                                                                                                             $0.00




77. Other property of any kind not already listed Examples: Season tickets, country club membership
77.1    SEE ATTACHED SCHEDULE AB77 EXHIBIT                                                                                       $38,864,116.70




78. Total of Part 11.
Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                   $38,864,116.70




79. Has any of the property listed in Part 11 been appraised by a professional within the last year?

       No
       Yes
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Part 12:     Summary
 In Part 12 copy all of the totals from the earlier parts of the form.

Type of property                                                             Current value of         Current value of real
                                                                             personal property        property

 80. Cash, cash equivalents, and nancial assets. Copy line 5, Part 1.        $2,085,427.19




 81. Deposits and prepayments. Copy line 9, Part 2.                          $672,123.01




 82. Accounts receivable. Copy line 12, Part 3.                              $39,418,842.06




 83. Investments. Copy line 17, Part 4.                                      $0.00




 84. Inventory. Copy line 23, Part 5.                                        $0.00




 85. Farming and shing-related assets. Copy line 33, Part 6.                 $0.00




 86. O ce furniture, xtures, and equipment; and collectibles. Copy           $10,468,611.38
 line 43, Part 7.



 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.               $122,331.54




 88. Real property. Copy line 56, Part 9.                                                            $0.00
                                                                                                 



 89. Intangibles and intellectual property.. Copy line 66, Part 10.          $55,606,278.41




 90. All other assets. Copy line 78, Part 11.                                $38,864,116.70




 91. Total. Add lines 80 through 90 for each column                   91a.                                       91b.
                                                                              $147,237,730.29                            $0.00




 92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.
                                                                                                                                 $147,237,730.29
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                                                 Schedule     AB7
                              Deposits, including security deposits and utility deposits
                                                                                                 Current Value of
                              Description, Including Name of Holder of Deposit                  Debtor's Interest ($)
7.1    2121 PARK PLACE LP: 2121 PARK PLACE LP | CA - LA (2121 PARK)                                         $97,565.58
7.2    841 APOLLO ST.: 8/18:RETAINER 2018 BOC RECON-841 APOLLOST.|CA-LA                                      $1,200.00
7.3    CONSUMERS ENERGY: 6/18:CONSUMERS ENERGY-ELECTRIC-WDA-DEPOSIT RECLASS                                  $5,430.00
7.4    CREFII-SSC, LLC: CREFII - SCC, LLC | CT - NORWALK                                                    $52,758.76
7.5    IC 233 BUILDING COMPANY LLC: 1/19: OUTGOING PAYMENT - IC 233 BUILDING COMPANY                        $14,281.47
7.6    INTOUCH SOLUTIONS, INC. : INTOUCH SOLUTIONS, INC.-CHICAGO DEPOSIT RECLASS                            $48,026.34
7.7    MR. DELIVERY: 2/18: DEPOSIT FOR HOUSE ACCOUNT SET UP                                                  $5,000.00
7.8    NFS LEASING INC. : NFS LEASING INC                                                                   $79,902.02
7.9    REGUS: 9/18: REGUS RENT DEPOSIT REFUND | DALLAS OFFICE                                              -$61,865.00
7.10   REGUS: REGUS | ATLANTA OFFICE | RENT DEPOSIT REFUND                                                 -$23,310.00
7.11   REGUS: REGUS | BOSTON OFFICE | RENT DEPOSIT REFUND                                                  -$17,295.07
7.12   REGUS: REGUS | GA - ATLANTA                                                                          $24,833.84
7.13   REGUS: REGUS | MA - BOSTON                                                                           $10,318.00
7.14   REGUS: REGUS | MISC - NOT DESIGNATED                                                                  $9,124.95
7.15   REGUS: REGUS | TX - DALLAS                                                                           $63,692.17
7.16   SWITCH: SWITCH                                                                                       $88,480.00
7.17   TECHSPACE GEARY INC. : 3/19: TECHSPACE GEARY INC. | DEPOSIT ALIGNMENT                                $18,300.00
7.18   WEWORK: 2/19: WEWORK RENT DEPOSIT REFUND                                                             -$7,007.79
7.19   WW 240 RICHMOND LP: 12/18: WW 240 RICHMOND - REMAINING BALANCE OFFSET                                -$1,866.98
7.20   WW 240 RICHMOND LP: 12/18: WW 240 RICHMOND | DEPOSIT ALIGNMENT                                        $5,800.74
                                                                                       TOTAL:             $413,369.03




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                                                                       Schedule AB8
                                  Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

                                                                                                                                             Current Value of
                  Name of Holder of Prepayment                                       Description of Prepayment                              Debtor's Interest ($)
 8.1    AEROSPIKE, INC. X+1                          12/18-11/19: RENEWAL OF PREMIUM SUPPORT                                                            $3,485.32
 8.2    AMSIX (WIRE)                                 1-3/19: Q4 2018 10 GBIT/S CONNECTION & SLA FEE                                                     $1,002.82
 8.3    ARIBA, INC.                                  12/18-12/19: GOLD ANNUAL SUBSCRIPTION: 12/1/18-12/1/19                                               $169.35
 8.4    ASA COMPUTERS, INC.                          4/18-3/19: A10 1YR GOLD TECH SUPPORT 24X7 ADV RPL                                                   -$600.22
 8.5    ASA COMPUTERS, INC.                          4/18-3/19: A10 1YR GOLD TECH SUPPORT 24X7 ADV RPL WARRANTY                                        $14,592.52
 8.6    ASA COMPUTERS, INC.                          4/18-3/19: JUNIPER SUPPORT RENEWALS                                                                $3,226.15
 8.7    ASA COMPUTERS, INC.                          4/18-4/19: CISCO SMARTNET RENEWAL                                                                  $2,797.65
 8.8    BUGCROWD, INC.                               10/18-10/19: CROWDCONTROL APP                                                                        $455.23
 8.9    BUGCROWD, INC.                               10/18-10/19: REWARD POOL RENEWAL                                                                     $752.69
 8.10   BUGCROWD, INC.                               10/18-10/19: VALIDATION SERVICES RENEWAL                                                           $1,390.97
 8.11   CATCHPOINT                                   12/18-12/19: SYNTHETIC MONITORING RENEWAL                                                          $7,526.31
 8.12   COMSCORE INC - USD ONLY                      2019 MEDIA & VIDEO METRIX BASE LEVEL RENEWAL                                                       $1,741.41
 8.13   CONTINUENT, LTD                              01/19-12/19: TUNGSTEN SOFTWARE SUPPORT                                                             $1,445.16
        COUNTY GOVERNMENT CENTER ASSESSOR
 8.14   SANTA CLARA                                  7/18-6/19: PERSONAL PROPERTY TAX FOR RF DC                                                        $5,259.11
        COUNTY GOVERNMENT CENTER ASSESSOR
 8.15   SANTA CLARA                              7/18-6/19: PROPERTY TAX FOR RF DATA CTR                                                                 $569.31
 8.16   COUNTY OF SAN MATEO                      7/18-6/19: PROPERTY TAX FOR LEGACY RFOFFICE IN RWC                                                    $6,916.19
 8.17   DE-CIX (WIRE)                            1/19-3/19: HOSTING SERVICES                                                                           $2,463.97
 8.18   DIGITAL ADVERTISING ALLIANCE             4/18-3/19: ADVERTISING OPTION ICON LICENSE AND USAGE                                                    $602.15
 8.19   E*TRADE FINANCIAL CORPORATE SERVICES     1/19-12/19: EQUITY EDGE ONLINE MAINT RENEWAL                                                          $2,634.41
 8.20   E*TRADE FINANCIAL CORPORATE SERVICES     1/19-12/19: EQUITY EDGE ONLINE MAINT RENEWAL - CREDIT                                                  -$750.63
 8.21   ELASTICSEARCH, INC.                      7/18-7/19: GOLD SUBSCRIPTION FOR 6-10 NODES                                                           $1,956.99
 8.22   EPRIVACYCONSULT (WIRE)                   10/18-9/19: IAB EUROPE CERTIFICATION OF COMPLIANCE                                                      $480.50
 8.23   EPRIVACYCONSULT (WIRE)                   5/18-4/19: EVALUATION OF DATA PROTECTION                                                                $580.48
 8.24   GETGO FORMERLY LOGMEIN.COM               6/18-5/19: LOGMEIN CENTRAL SUBSCRIPTION                                                               $1,806.46
 8.25   GITHUB                                   12/18-12/19: GITHUB BUSINESS CLOUD                                                                    $4,516.13
 8.26   INSIGHT DIRECT USA, INC                  12/18-12/19: GOOGLE SUITE RENEWAL                                                                    $12,330.76
 8.27   INTERVIEWSTREET INC. DBA HACKERRANK      5/18-5/19: RECRUITER ENTERPRISE & ENGINEER LICENSES                                                     $722.58
 8.28   JAMF SOFTWARE LLC                        12/18-12/19: ANNUAL JAMF CLOUD SEAT OF JAMF PRO                                                       $2,208.39
 8.29   LOS ANGELES COUNTY TAX COLLECTOR         7/18-6/19: PROPERTY TAX FOR 2121 PARK PLACE LA                                                        $2,881.97
 8.30   LOS ANGELES COUNTY TAX COLLECTOR         7/18-6/19: PROPERTY TAX FOR EL SEGUNDO DATA CENTER                                                      $111.67
                                                 01/19-12/19: ENTERPRISE AGREEMENT YEAR 3: RSVR ALNG SUBSVL MVL 2LIC FORLINUS
 8.31   MICROSOFT CORPORATION                    CORELIC TERM: 1/1/2019 - 12/31/2019                                                                   $1,448.38
 8.32   MICROSOFT CORPORATION                    9/18-8/19: OFFICE PRO PLUS & VISIO STUDIO LICENSES                                                    $6,666.14
 8.33   MITEL NETWORKS INC.                      3/19: TELEPHONE SERVICE                                                                               $2,305.37
 8.34   MORNINGSTAR REALTIME DATA LTD            3-5/19: MORNINGSTAR FX DAILY PRICING VIA FTP SNAPS                                                      $677.42
 8.35   NAVEX GLOBAL, INC.                       10/18-9/19: WHISTLEBLOWER HOTLINE RENEWAL (9/26/18-9/25/19)                                             $550.31
 8.36   NEW RELIC, INC.                          10/18-10/19: BROWSER PRO ANNUAL SUBSCRIPTION                                                          $1,842.58
 8.37   OKTA, INC.                               9/18-8/19: OKTA ANNUAL RENEWAL                                                                       $16,902.63
 8.38   ORACLE AMERICA INC FORMERLY NETSUITE INC 6/18-6/19: NETSUITE CARETAKER SUBSCRIPTION (6/2/18-6/1/19)                                            $3,826.06
 8.39   ORACLE AMERICA INC.                      6/18-5/19: SOFTWARE UPDATE LICENSE & SUPPORT                                                          $1,956.53
 8.40   ORACLE AMERICA INC.                      6/18-5/19: SOFTWARE UPDATE LICENSE&SUPPORT-ORACLE                                                    $12,485.00
                                                 05/17-04/19: UID 17-502 | RINGLEAD DMS - ADMIN LICENSE (2 ADMINS) | BILLING PERIOD -
 8.41   RINGLEAD, INC                            4/28/17-4/27/19                                                                                         $451.61
                                                 05/17-04/19: UID 17-502 | RINGLEAD DMS - DUPLICATE PREVENTION MARKETO (UP TO 503
 8.42   RINGLEAD, INC                            SALESFORCE USERS) | BILLING PERIOD - 4/28/17-4/27/19                                                    $639.78
 8.43   RINGLEAD, INC                            05/17-04/19: UID 17-502 | RINGLEAD VIP SUPPORT | BILLING PERIOD - 4/28/17-4/27/19                        $37.63
 8.44   SALESFORCE.COM                           2019 SFDC RENEWAL FOR 1/1/19-12/31/19                                                                $55,597.50
 8.45   SAMANAGE USA INC.                        2019 SAMANAGE SUBSCRIPTION TERM                                                                       $1,635.92
 8.46   SIGMA TECHNOLOGY SOLUTIONS, INC.         1/19-1/20: ARISTA RENEWAL                                                                             $8,655.91
 8.47   SLACK TECHNOLOGIES, INC.                 12/18-12/19: SLACK RENEWAL                                                                            $6,670.05
 8.48   SNOWFLAKE COMPUTING INC.                 10/18-9/19: CAPACITY ANNUAL PURCHASE                                                                  $7,526.88
 8.49   STONEBRANCH, INC. X+1                    12/18-12/19: STONEBRANCH SOFTWARE LIC, YEAR 1 OF 2                                                    $1,881.72
 8.50   STS SOLUTIONS INC.                       12/18: WIRING FOR THE NEW CHICAGO OFFICE                                                              $7,234.00
 8.51   THE LIST                                 5/18-4/19: WINMO ADVANTAGE PACKAGE ACCESS                                                               $752.69
 8.52   TRUVANTIS                                6/18-6/19: EXPRESS VM PACKAGES SUBSCRIPTION                                                           $1,692.80
 8.53   ZAYO GROUP, LLC                          03/19: TELECOM SERVICE & LATE FEES EL; ACC 17715                                                        $751.66
 8.54   ZAYO GROUP, LLC                          03/19: TELECOM SERVICE & LATE FEES EL; ACC 6734                                                      $33,289.59
                                                                                                                                   TOTAL:            $258,753.98




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                                                   Office Furniture
                                                               Net Book Value of    Valuation Method Used   Current Value of
                          General Description                  Debtor's Interest       for Current Value    Debtor's Interest
        OFFICE FURNITURE & EQUIPMENT, OFFICE FURNITURE ,
 39.1   OFFICE FURNITURE CA - REDWOOD HQ                              $594,793.67     NET BOOK VALUE              $594,793.67
        OFFICE FURNITURE & EQUIPMENT, OFFICE FURNITURE ,
 39.2   OFFICE FURNITURE CHICAGO (MICHIGAN AV)                         $16,964.66     NET BOOK VALUE               $16,964.66
        OFFICE FURNITURE & EQUIPMENT, OFFICE FURNITURE ,
 39.3   OFFICE FURNITURE CONNECTICUT                                   $33,228.83     NET BOOK VALUE               $33,228.83
        OFFICE FURNITURE & EQUIPMENT, OFFICE FURNITURE ,
 39.4   OFFICE FURNITURE LA - PARK PLACE                                    $0.00     NET BOOK VALUE                    $0.00
        OFFICE FURNITURE & EQUIPMENT, OFFICE FURNITURE ,
 39.5   OFFICE FURNITURE MICHIGAN (TROY)                                    $0.00     NET BOOK VALUE                    $0.00
        OFFICE FURNITURE & EQUIPMENT, OFFICE FURNITURE ,
 39.6   OFFICE FURNITURE MICHIGAN (WDA)                                 $5,788.05     NET BOOK VALUE                $5,788.05
        OFFICE FURNITURE & EQUIPMENT, OFFICE FURNITURE ,
 39.7   OFFICE FURNITURE NYC (BROADWAY)                                     $0.00     NET BOOK VALUE                    $0.00
        OFFICE FURNITURE & EQUIPMENT, OFFICE FURNITURE ,
 39.8   OFFICE FURNITURE SEATTLE                                            $0.00     NET BOOK VALUE                    $0.00
        OFFICE FURNITURE & EQUIPMENT, OFFICE FURNITURE ,
 39.9   OFFICE FURNITURE SF - INTUIT                                        $0.00     NET BOOK VALUE                    $0.00
                                                      TOTAL:          $650,775.21                TOTAL:           $650,775.21




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                                                      Office Fixtures
                                                                        Net Book Value of   Valuation Method Used   Current Value of
                           General Description                          Debtor's Interest      for Current Value    Debtor's Interest
       LEASEHOLD IMPROVEMENTS, LEASEHOLD IMPROVEMENTS (FC),
40.1   LEASEHOLD IMPROVEMENTS (FC MICHIGAN (WDA)                               $46,573.67     NET BOOK VALUE               $46,573.67
       LEASEHOLD IMPROVEMENTS, LEASEHOLD IMPROVEMENTS (FC),
40.2   LEASEHOLD IMPROVEMENTS (FC) CHICAGO 233 NORTH MIC                       $27,384.05     NET BOOK VALUE               $27,384.05
       LEASEHOLD IMPROVEMENTS, LEASEHOLD IMPROVEMENTS (FC),
40.3   LEASEHOLD IMPROVEMENTS (FC) CA - REDWOOD HQ                            $110,726.11     NET BOOK VALUE              $110,726.11
       LEASEHOLD IMPROVEMENTS, LEASEHOLD IMPROVEMENTS (FC),
40.4   LEASEHOLD IMPROVEMENTS (FC) CHICAGO (MICHIGAN AV)                       $28,009.65     NET BOOK VALUE               $28,009.65
       LEASEHOLD IMPROVEMENTS, LEASEHOLD IMPROVEMENTS (FC),
40.5   LEASEHOLD IMPROVEMENTS (FC) CONNECTICUT                                 $10,134.04     NET BOOK VALUE               $10,134.04
       LEASEHOLD IMPROVEMENTS, LEASEHOLD IMPROVEMENTS (FC),
40.6   LEASEHOLD IMPROVEMENTS (FC) DALLAS (REGUS)                                   $0.00     NET BOOK VALUE                    $0.00
       LEASEHOLD IMPROVEMENTS, LEASEHOLD IMPROVEMENTS (IT),
40.7   LEASEHOLD IMPROVEMENTS (IT) CONNECTICUT                                 $17,751.94     NET BOOK VALUE               $17,751.94
                                                              TOTAL:          $240,579.46                TOTAL:           $240,579.46




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              Office equipment, including all computer equipment and communication systems equipment and software
                                                                      Net Book Value of    Valuation Method Used   Current Value of
                                General Description                   Debtor's Interest       for Current Value    Debtor's Interest
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (DO), IT
  40.1   HARDWARE (DO) CA - REDWOOD HQ                                      $102,487.97      NET BOOK VALUE             $102,487.97
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (DO), IT
  40.2   HARDWARE (DO) EGV VIRGINIA (DC)                                     $31,511.14      NET BOOK VALUE              $31,511.14
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (DO), IT
  40.3   HARDWARE (DO) LOS ANGELES (DC)                                      $23,860.11      NET BOOK VALUE              $23,860.11
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (DO), IT
  40.4   HARDWARE (DO) SAN JOSE (DC)                                         $31,665.21      NET BOOK VALUE              $31,665.21
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (DO), IT
  40.5   HARDWARE (DO) SANTA CLARA (DC)                                      $46,718.59      NET BOOK VALUE              $46,718.59
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (IT), IT
  40.6   HARDWARE (IT) CA - REDWOOD HQ                                       $57,339.44      NET BOOK VALUE              $57,339.44
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (IT), IT
  40.7   HARDWARE (IT) CHICAGO                                               $59,792.02      NET BOOK VALUE              $59,792.02
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (IT), IT
  40.8   HARDWARE (IT) CHICAGO (MICHIGAN AV)                                  $8,683.60      NET BOOK VALUE                $8,683.60
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (IT), IT
  40.9   HARDWARE (IT) CONNECTICUT                                            $5,680.20      NET BOOK VALUE                $5,680.20
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (IT), IT
 40.10   HARDWARE (IT) HONG KONG ASIA (DC)                                      $374.99      NET BOOK VALUE                 $374.99
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (IT), IT
 40.11   HARDWARE (IT) LOS ANGELES (DC)                                         $967.13      NET BOOK VALUE                 $967.13
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (IT), IT
 40.12   HARDWARE (IT) MICHIGAN (WDA)                                           $193.74      NET BOOK VALUE                 $193.74
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (IT), IT
 40.13   HARDWARE (IT) NEW JERSEY (DC)                                           $31.16      NET BOOK VALUE                   $31.16
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (IT), IT
 40.14   HARDWARE (IT) SF - INTUIT                                              $332.48      NET BOOK VALUE                 $332.48
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT SOFTWARE (IT), IT
 40.15   SOFTWARE (IT) CA - REDWOOD HQ                                       $20,900.45      NET BOOK VALUE              $20,900.45
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.16   DEPLOYMENT HARDWARE CA - REDWOOD HQ                                 $87,742.48      NET BOOK VALUE              $87,742.48
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.17   DEPLOYMENT HARDWARE CA - REDWOOD HQ                                    $643.29      NET BOOK VALUE                 $643.29
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.18   DEPLOYMENT HARDWARE EGV VIRGINIA (DC)                              $290,386.82      NET BOOK VALUE             $290,386.82
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.19   DEPLOYMENT HARDWARE EGV VIRGINIA (DC)                              $152,670.62      NET BOOK VALUE             $152,670.62
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.20   DEPLOYMENT HARDWARE HONG KONG ASIA (DC)                            $108,132.30      NET BOOK VALUE             $108,132.30
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.21   DEPLOYMENT HARDWARE HONG KONG ASIA (DC)                             $45,890.76      NET BOOK VALUE              $45,890.76
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.22   DEPLOYMENT HARDWARE LOS ANGELES (DC)                               $312,818.56      NET BOOK VALUE             $312,818.56
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.23   DEPLOYMENT HARDWARE NEW JERSEY (DC)                               $1,069,457.06     NET BOOK VALUE           $1,069,457.06
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.24   DEPLOYMENT HARDWARE NEW JERSEY (DC)                                 $97,077.20      NET BOOK VALUE              $97,077.20
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.25   DEPLOYMENT HARDWARE SAN JOSE (DC)                                  $104,732.30      NET BOOK VALUE             $104,732.30
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.26   DEPLOYMENT HARDWARE SAN JOSE (DC)                                   $41,459.50      NET BOOK VALUE              $41,459.50
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.27   DEPLOYMENT HARDWARE SANTA CLARA (DC)                              $2,403,045.64     NET BOOK VALUE           $2,403,045.64
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.28   DEPLOYMENT HARDWARE SANTA CLARA (DC)                               $107,684.59      NET BOOK VALUE             $107,684.59
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.29   DEPLOYMENT HARDWARE AMSTERDAM NETHERLANDS (DC)                     $191,527.85      NET BOOK VALUE             $191,527.85
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.30   DEPLOYMENT HARDWARE AMSTERDAM NETHERLANDS (DC)                      $51,645.79      NET BOOK VALUE              $51,645.79
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.31   DEPLOYMENT HARDWARE CHICAGO                                          $6,727.32      NET BOOK VALUE                $6,727.32
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.32   DEPLOYMENT HARDWARE FRANKFURT GERMANY (DC)                         $125,805.51      NET BOOK VALUE             $125,805.51
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.33   DEPLOYMENT HARDWARE FRANKFURT GERMANY (DC)                          $50,425.75      NET BOOK VALUE              $50,425.75




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              Office equipment, including all computer equipment and communication systems equipment and software
                                                                      Net Book Value of    Valuation Method Used   Current Value of
                             General Description                      Debtor's Interest       for Current Value    Debtor's Interest
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.34   DEPLOYMENT HARDWARE LAS VEGAS (DC)                                 $869,464.50      NET BOOK VALUE             $869,464.50
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.35   DEPLOYMENT HARDWARE LAS VEGAS (DC)                                  $96,162.85      NET BOOK VALUE              $96,162.85
         INTERNALLY DEVELOPED SOFTWARE, INTERNALLY DEVELOPED
 40.36   SOFTWARE COST                                                     $1,039,928.61     NET BOOK VALUE           $1,039,928.61
         INTERNALLY DEVELOPED SOFTWARE, INTERNALLY DEVELOPED
 40.37   SOFTWARE COST                                                     $1,933,289.18     NET BOOK VALUE           $1,933,289.18
                                                           TOTAL:          $9,577,256.71                TOTAL:        $9,577,256.71




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                  Other machinery, fixtures, and equipment (excluding farm machinery and equipment)

                                                          Net Book Value of Valuation Method Used Current Value of
                      General Description                 Debtor's Interest    for Current Value   Debtor's Interest
50.1   MACHINERY AND EQUIPMENT (IT) CA - REDWOOD HQ              $99,123.74   NET BOOK VALUE             $99,123.74
50.2   MACHINERY AND EQUIPMENT (IT) CA - REDWOOD HQ               $4,385.79   NET BOOK VALUE              $4,385.79
50.3   MACHINERY AND EQUIPMENT (IT) CHICAGO (MICHIGAN AV)         $1,871.60   NET BOOK VALUE              $1,871.60
50.4   MACHINERY AND EQUIPMENT (IT) CONNECTICUT                   $2,656.09   NET BOOK VALUE              $2,656.09
50.5   MACHINERY AND EQUIPMENT (IT) LA - PARK PLACE               $2,074.28   NET BOOK VALUE              $2,074.28
50.6   MACHINERY AND EQUIPMENT (IT) MICHIGAN (TROY)                    $0.00  NET BOOK VALUE                   $0.00
50.7   MACHINERY AND EQUIPMENT (IT) MICHIGAN (WDA)                $1,860.72   NET BOOK VALUE              $1,860.72
50.8   MACHINERY AND EQUIPMENT (IT) NYC (BROADWAY)                  $858.17   NET BOOK VALUE                 $858.17
50.9   MACHINERY AND EQUIPMENT (IT) SF - INTUIT                   $9,501.15   NET BOOK VALUE              $9,501.15
                                                   TOTAL:       $122,331.54                 TOTAL:      $122,331.54




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                                     Other property of any kind not already listed
                                                                                                Current Value
                                                                                                 of Debtor's
                                               General Description                                 Interest
    77.1    195 BROADWAY PROPERTY LLC - RENT NEGATIVE AP BALANCE                                     $20,058.24
    77.2    2121 PARK PLACE FEE OWNER CA LLC - RENT NEGATIVE AP BALANCE                              $27,845.02
    77.3    4050, LLC - RENT NEGATIVE AP BALANCE                                                      $2,117.11
    77.4    8% DISCOUNT (DMP LICENSE: PREPAY)-DISCOUNT DEFER                                         $30,434.80
    77.5    ACCESS ONE, INC. - COMMUNICATIONS NEGATIVE AP BALANCE                                       $176.76
    77.6    ALTICE BUSINESS - COMMUNICATIONS NEGATIVE AP BALANCE                                      $1,583.33
    77.7    ASA COMPUTERS, INC. - COMPUTERS AND PERIPHERAL EQUIPMENT NEGATIVE AP BALANCE                $911.46
    77.8    ASB HARDWARE BLOCK VENTURE, LLC - RENT NEGATIVE AP BALANCE                                $1,822.03
    77.9    BRE RIVER NORTH POINT OWNER - RENT NEGATIVE AP BALANCE                                   $15,419.91
    77.10   CBRE, INC. - RENT NEGATIVE AP BALANCE                                                    $17,331.43
    77.11   CENTURYLINK - COMMUNICATIONS NEGATIVE AP BALANCE                                            $702.86
    77.12   COGENT COMMUNICATIONS, INC. - DATA CENTER NEGATIVE AP BALANCE                            $11,082.03
    77.13   COMCAST - 8529 11 421 0010546 - COMMUNICATIONS NEGATIVE AP BALANCE                           $40.00
    77.14   COMCAST - 8529-10-133-0400004 - COMMUNICATIONS NEGATIVE AP BALANCE                          $174.78
    77.15   CORESITE, L.P. - DATA CENTER NEGATIVE AP BALANCE                                            $163.17
    77.16   CREFII-SCC, LLC - RENT NEGATIVE AP BALANCE                                                $4,218.05
    77.17   CT CORPORATION - TAXES NEGATIVE ACCRUED                                                  $26,296.24
    77.18   DATA SALES CO., INC - CAPITAL LEASE NEGATIVE AP BALANCE                                   $2,320.07
    77.19   DELL FINANCIAL SERVICES LLC - CAPITAL LEASE NEGATIVE AP BALANCE                           $1,326.72
    77.20   DIMENSION DATA - IT EXPENSES NEGATIVE AP BALANCE                                          $1,510.62
    77.21   DMP LICENSE - PREPAY CITI INV# 11484/11485                                                $2,992.00
    77.22   EQUINIX SERVICES INC X+1 - DATA CENTER NEGATIVE AP BALANCE                                $4,348.24
    77.23   FAVORABLE LEASE ASSET                                                                    $52,408.90
    77.24   GARIC, INC. - CAPITAL LEASE NEGATIVE AP BALANCE                                             $556.51
    77.25   GOOGLE INC X+1 - MEDIA BUY NEGATIVE AP BALANCE                                               $33.25
    77.26   GOOGLE INC. - MEDIA BUY NEGATIVE AP BALANCE                                                  $67.15
    77.27   INTERCOMPANY - ROCKET FUEL PUBLICIDADE LTDA                                          $1,176,161.45
    77.28   INTERCOMPANY - ROCKET SCIENCE MEDIA INC.                                               $289,415.57
    77.29   INTERCOMPANY - SIZMEK PROPAGANDA DIGITAL DO BRAZIL LTDA                                $388,563.00
    77.30   INTERCOMPANY - SIZMEK TECHNOLOGIES LTD                                               $4,149,157.51
    77.31   INTERCOMPANY - SIZMEK TECHNOLOGIES MEXICO SA DE CV                                     $120,548.00
    77.32   INTERCOMPANY - WDA                                                                     $434,722.14
    77.33   INTERCOMPANY - X+1                                                                  $30,598,527.82
    77.34   LIGHTOWER FIBER NETWORKS II, LLC X+1 - COMMUNICATIONS NEGATIVE AP BALANCE                   $631.42
    77.35   LIKQID MEDIA - MEDIA BUY NEGATIVE AP BALANCE                                                  $0.00
    77.36   MAILCHIMP - DEPLOYMENT EXPENSES NEGATIVE AP BALANCE                                          $36.00
    77.37   MOPHE LLC - RENT NEGATIVE ACCRUED                                                         $6,550.92
    77.38   NFS LEASING INC - CAPITAL LEASE NEGATIVE AP BALANCE                                       $1,237.81
    77.39   NORTH CAROLINA DEPARTMENT OF REVENUE - OTHER EXPENSES NEGATIVE AP BALANCE                     $0.00
    77.40   OPTIMUM FORMERLY CABLEVISION ON CONN - COMMUNICATIONS NEGATIVE AP BALANCE                    $19.25
    77.41   PAYROLL OVERPAYMENT - EPPNER                                                              $3,045.99
    77.42   REGUS CORPORATION - RENT NEGATIVE AP BALANCE                                              $1,474.40
    77.43   SELLING OF DATA CENTER EQUIPMENT                                                          $6,500.00
            STERLING OUTSOURCING SP ZOO - PROFESSIONAL FEES AND OUTSOURCING NEGATIVE AP
    77.44   BALANCE                                                                                  $1,702.98
    77.45   SWITCH - DATA CENTER NEGATIVE AP BALANCE                                                $11,427.74
    77.46   TAX AGENCY CA - TAXES NEGATIVE AP BALANCE                                                    $0.00
    77.47   TECHSPACE GEARY INC. - RENT NEGATIVE AP BALANCE                                            $885.48
    77.48   TRINET - PAYROLL EMPLOYEE BENEFITS AND TAXES NEGATIVE AP BALANCE                             $0.00
    77.49   UNRECONCILED ASSETS                                                                  $1,446,754.56
    77.50   UPS - UTILITIES AND MAINTENANCE NEGATIVE AP BALANCE                                        $108.06
    77.51   VISUAL DNA IMAGINI EUROPE LIMITED (WIRE) - IT EXPENSES NEGATIVE AP BALANCE                 $483.78
    77.52   WASHINGTON DEPARTMENT OF REVENUE - TAXES NEGATIVE AP BALANCE                                 $0.00
    77.53   WILINE NETWORKS INC. - COMMUNICATIONS NEGATIVE AP BALANCE                                  $222.14
                                                                                       TOTAL:   $38,864,116.70




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                              Deposits, including security deposits and utility deposits
                                                                                                 Current Value of
                              Description, Including Name of Holder of Deposit                  Debtor's Interest ($)
7.1    2121 PARK PLACE LP: 2121 PARK PLACE LP | CA - LA (2121 PARK)                                         $97,565.58
7.2    841 APOLLO ST.: 8/18:RETAINER 2018 BOC RECON-841 APOLLOST.|CA-LA                                      $1,200.00
7.3    CONSUMERS ENERGY: 6/18:CONSUMERS ENERGY-ELECTRIC-WDA-DEPOSIT RECLASS                                  $5,430.00
7.4    CREFII-SSC, LLC: CREFII - SCC, LLC | CT - NORWALK                                                    $52,758.76
7.5    IC 233 BUILDING COMPANY LLC: 1/19: OUTGOING PAYMENT - IC 233 BUILDING COMPANY                        $14,281.47
7.6    INTOUCH SOLUTIONS, INC. : INTOUCH SOLUTIONS, INC.-CHICAGO DEPOSIT RECLASS                            $48,026.34
7.7    MR. DELIVERY: 2/18: DEPOSIT FOR HOUSE ACCOUNT SET UP                                                  $5,000.00
7.8    NFS LEASING INC. : NFS LEASING INC                                                                   $79,902.02
7.9    REGUS: 9/18: REGUS RENT DEPOSIT REFUND | DALLAS OFFICE                                              -$61,865.00
7.10   REGUS: REGUS | ATLANTA OFFICE | RENT DEPOSIT REFUND                                                 -$23,310.00
7.11   REGUS: REGUS | BOSTON OFFICE | RENT DEPOSIT REFUND                                                  -$17,295.07
7.12   REGUS: REGUS | GA - ATLANTA                                                                          $24,833.84
7.13   REGUS: REGUS | MA - BOSTON                                                                           $10,318.00
7.14   REGUS: REGUS | MISC - NOT DESIGNATED                                                                  $9,124.95
7.15   REGUS: REGUS | TX - DALLAS                                                                           $63,692.17
7.16   SWITCH: SWITCH                                                                                       $88,480.00
7.17   TECHSPACE GEARY INC. : 3/19: TECHSPACE GEARY INC. | DEPOSIT ALIGNMENT                                $18,300.00
7.18   WEWORK: 2/19: WEWORK RENT DEPOSIT REFUND                                                             -$7,007.79
7.19   WW 240 RICHMOND LP: 12/18: WW 240 RICHMOND - REMAINING BALANCE OFFSET                                -$1,866.98
7.20   WW 240 RICHMOND LP: 12/18: WW 240 RICHMOND | DEPOSIT ALIGNMENT                                        $5,800.74
                                                                                       TOTAL:             $413,369.03




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                                  Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

                                                                                                                                             Current Value of
                  Name of Holder of Prepayment                                       Description of Prepayment                              Debtor's Interest ($)
 8.1    AEROSPIKE, INC. X+1                          12/18-11/19: RENEWAL OF PREMIUM SUPPORT                                                            $3,485.32
 8.2    AMSIX (WIRE)                                 1-3/19: Q4 2018 10 GBIT/S CONNECTION & SLA FEE                                                     $1,002.82
 8.3    ARIBA, INC.                                  12/18-12/19: GOLD ANNUAL SUBSCRIPTION: 12/1/18-12/1/19                                               $169.35
 8.4    ASA COMPUTERS, INC.                          4/18-3/19: A10 1YR GOLD TECH SUPPORT 24X7 ADV RPL                                                   -$600.22
 8.5    ASA COMPUTERS, INC.                          4/18-3/19: A10 1YR GOLD TECH SUPPORT 24X7 ADV RPL WARRANTY                                        $14,592.52
 8.6    ASA COMPUTERS, INC.                          4/18-3/19: JUNIPER SUPPORT RENEWALS                                                                $3,226.15
 8.7    ASA COMPUTERS, INC.                          4/18-4/19: CISCO SMARTNET RENEWAL                                                                  $2,797.65
 8.8    BUGCROWD, INC.                               10/18-10/19: CROWDCONTROL APP                                                                        $455.23
 8.9    BUGCROWD, INC.                               10/18-10/19: REWARD POOL RENEWAL                                                                     $752.69
 8.10   BUGCROWD, INC.                               10/18-10/19: VALIDATION SERVICES RENEWAL                                                           $1,390.97
 8.11   CATCHPOINT                                   12/18-12/19: SYNTHETIC MONITORING RENEWAL                                                          $7,526.31
 8.12   COMSCORE INC - USD ONLY                      2019 MEDIA & VIDEO METRIX BASE LEVEL RENEWAL                                                       $1,741.41
 8.13   CONTINUENT, LTD                              01/19-12/19: TUNGSTEN SOFTWARE SUPPORT                                                             $1,445.16
        COUNTY GOVERNMENT CENTER ASSESSOR
 8.14   SANTA CLARA                                  7/18-6/19: PERSONAL PROPERTY TAX FOR RF DC                                                        $5,259.11
        COUNTY GOVERNMENT CENTER ASSESSOR
 8.15   SANTA CLARA                              7/18-6/19: PROPERTY TAX FOR RF DATA CTR                                                                 $569.31
 8.16   COUNTY OF SAN MATEO                      7/18-6/19: PROPERTY TAX FOR LEGACY RFOFFICE IN RWC                                                    $6,916.19
 8.17   DE-CIX (WIRE)                            1/19-3/19: HOSTING SERVICES                                                                           $2,463.97
 8.18   DIGITAL ADVERTISING ALLIANCE             4/18-3/19: ADVERTISING OPTION ICON LICENSE AND USAGE                                                    $602.15
 8.19   E*TRADE FINANCIAL CORPORATE SERVICES     1/19-12/19: EQUITY EDGE ONLINE MAINT RENEWAL                                                          $2,634.41
 8.20   E*TRADE FINANCIAL CORPORATE SERVICES     1/19-12/19: EQUITY EDGE ONLINE MAINT RENEWAL - CREDIT                                                  -$750.63
 8.21   ELASTICSEARCH, INC.                      7/18-7/19: GOLD SUBSCRIPTION FOR 6-10 NODES                                                           $1,956.99
 8.22   EPRIVACYCONSULT (WIRE)                   10/18-9/19: IAB EUROPE CERTIFICATION OF COMPLIANCE                                                      $480.50
 8.23   EPRIVACYCONSULT (WIRE)                   5/18-4/19: EVALUATION OF DATA PROTECTION                                                                $580.48
 8.24   GETGO FORMERLY LOGMEIN.COM               6/18-5/19: LOGMEIN CENTRAL SUBSCRIPTION                                                               $1,806.46
 8.25   GITHUB                                   12/18-12/19: GITHUB BUSINESS CLOUD                                                                    $4,516.13
 8.26   INSIGHT DIRECT USA, INC                  12/18-12/19: GOOGLE SUITE RENEWAL                                                                    $12,330.76
 8.27   INTERVIEWSTREET INC. DBA HACKERRANK      5/18-5/19: RECRUITER ENTERPRISE & ENGINEER LICENSES                                                     $722.58
 8.28   JAMF SOFTWARE LLC                        12/18-12/19: ANNUAL JAMF CLOUD SEAT OF JAMF PRO                                                       $2,208.39
 8.29   LOS ANGELES COUNTY TAX COLLECTOR         7/18-6/19: PROPERTY TAX FOR 2121 PARK PLACE LA                                                        $2,881.97
 8.30   LOS ANGELES COUNTY TAX COLLECTOR         7/18-6/19: PROPERTY TAX FOR EL SEGUNDO DATA CENTER                                                      $111.67
                                                 01/19-12/19: ENTERPRISE AGREEMENT YEAR 3: RSVR ALNG SUBSVL MVL 2LIC FORLINUS
 8.31   MICROSOFT CORPORATION                    CORELIC TERM: 1/1/2019 - 12/31/2019                                                                   $1,448.38
 8.32   MICROSOFT CORPORATION                    9/18-8/19: OFFICE PRO PLUS & VISIO STUDIO LICENSES                                                    $6,666.14
 8.33   MITEL NETWORKS INC.                      3/19: TELEPHONE SERVICE                                                                               $2,305.37
 8.34   MORNINGSTAR REALTIME DATA LTD            3-5/19: MORNINGSTAR FX DAILY PRICING VIA FTP SNAPS                                                      $677.42
 8.35   NAVEX GLOBAL, INC.                       10/18-9/19: WHISTLEBLOWER HOTLINE RENEWAL (9/26/18-9/25/19)                                             $550.31
 8.36   NEW RELIC, INC.                          10/18-10/19: BROWSER PRO ANNUAL SUBSCRIPTION                                                          $1,842.58
 8.37   OKTA, INC.                               9/18-8/19: OKTA ANNUAL RENEWAL                                                                       $16,902.63
 8.38   ORACLE AMERICA INC FORMERLY NETSUITE INC 6/18-6/19: NETSUITE CARETAKER SUBSCRIPTION (6/2/18-6/1/19)                                            $3,826.06
 8.39   ORACLE AMERICA INC.                      6/18-5/19: SOFTWARE UPDATE LICENSE & SUPPORT                                                          $1,956.53
 8.40   ORACLE AMERICA INC.                      6/18-5/19: SOFTWARE UPDATE LICENSE&SUPPORT-ORACLE                                                    $12,485.00
                                                 05/17-04/19: UID 17-502 | RINGLEAD DMS - ADMIN LICENSE (2 ADMINS) | BILLING PERIOD -
 8.41   RINGLEAD, INC                            4/28/17-4/27/19                                                                                         $451.61
                                                 05/17-04/19: UID 17-502 | RINGLEAD DMS - DUPLICATE PREVENTION MARKETO (UP TO 503
 8.42   RINGLEAD, INC                            SALESFORCE USERS) | BILLING PERIOD - 4/28/17-4/27/19                                                    $639.78
 8.43   RINGLEAD, INC                            05/17-04/19: UID 17-502 | RINGLEAD VIP SUPPORT | BILLING PERIOD - 4/28/17-4/27/19                        $37.63
 8.44   SALESFORCE.COM                           2019 SFDC RENEWAL FOR 1/1/19-12/31/19                                                                $55,597.50
 8.45   SAMANAGE USA INC.                        2019 SAMANAGE SUBSCRIPTION TERM                                                                       $1,635.92
 8.46   SIGMA TECHNOLOGY SOLUTIONS, INC.         1/19-1/20: ARISTA RENEWAL                                                                             $8,655.91
 8.47   SLACK TECHNOLOGIES, INC.                 12/18-12/19: SLACK RENEWAL                                                                            $6,670.05
 8.48   SNOWFLAKE COMPUTING INC.                 10/18-9/19: CAPACITY ANNUAL PURCHASE                                                                  $7,526.88
 8.49   STONEBRANCH, INC. X+1                    12/18-12/19: STONEBRANCH SOFTWARE LIC, YEAR 1 OF 2                                                    $1,881.72
 8.50   STS SOLUTIONS INC.                       12/18: WIRING FOR THE NEW CHICAGO OFFICE                                                              $7,234.00
 8.51   THE LIST                                 5/18-4/19: WINMO ADVANTAGE PACKAGE ACCESS                                                               $752.69
 8.52   TRUVANTIS                                6/18-6/19: EXPRESS VM PACKAGES SUBSCRIPTION                                                           $1,692.80
 8.53   ZAYO GROUP, LLC                          03/19: TELECOM SERVICE & LATE FEES EL; ACC 17715                                                        $751.66
 8.54   ZAYO GROUP, LLC                          03/19: TELECOM SERVICE & LATE FEES EL; ACC 6734                                                      $33,289.59
                                                                                                                                   TOTAL:            $258,753.98




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                                                   Office Furniture
                                                               Net Book Value of    Valuation Method Used   Current Value of
                          General Description                  Debtor's Interest       for Current Value    Debtor's Interest
        OFFICE FURNITURE & EQUIPMENT, OFFICE FURNITURE ,
 39.1   OFFICE FURNITURE CA - REDWOOD HQ                              $594,793.67     NET BOOK VALUE              $594,793.67
        OFFICE FURNITURE & EQUIPMENT, OFFICE FURNITURE ,
 39.2   OFFICE FURNITURE CHICAGO (MICHIGAN AV)                         $16,964.66     NET BOOK VALUE               $16,964.66
        OFFICE FURNITURE & EQUIPMENT, OFFICE FURNITURE ,
 39.3   OFFICE FURNITURE CONNECTICUT                                   $33,228.83     NET BOOK VALUE               $33,228.83
        OFFICE FURNITURE & EQUIPMENT, OFFICE FURNITURE ,
 39.4   OFFICE FURNITURE LA - PARK PLACE                                    $0.00     NET BOOK VALUE                    $0.00
        OFFICE FURNITURE & EQUIPMENT, OFFICE FURNITURE ,
 39.5   OFFICE FURNITURE MICHIGAN (TROY)                                    $0.00     NET BOOK VALUE                    $0.00
        OFFICE FURNITURE & EQUIPMENT, OFFICE FURNITURE ,
 39.6   OFFICE FURNITURE MICHIGAN (WDA)                                 $5,788.05     NET BOOK VALUE                $5,788.05
        OFFICE FURNITURE & EQUIPMENT, OFFICE FURNITURE ,
 39.7   OFFICE FURNITURE NYC (BROADWAY)                                     $0.00     NET BOOK VALUE                    $0.00
        OFFICE FURNITURE & EQUIPMENT, OFFICE FURNITURE ,
 39.8   OFFICE FURNITURE SEATTLE                                            $0.00     NET BOOK VALUE                    $0.00
        OFFICE FURNITURE & EQUIPMENT, OFFICE FURNITURE ,
 39.9   OFFICE FURNITURE SF - INTUIT                                        $0.00     NET BOOK VALUE                    $0.00
                                                      TOTAL:          $650,775.21                TOTAL:           $650,775.21




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                                                      Office Fixtures
                                                                        Net Book Value of   Valuation Method Used   Current Value of
                           General Description                          Debtor's Interest      for Current Value    Debtor's Interest
       LEASEHOLD IMPROVEMENTS, LEASEHOLD IMPROVEMENTS (FC),
40.1   LEASEHOLD IMPROVEMENTS (FC MICHIGAN (WDA)                               $46,573.67     NET BOOK VALUE               $46,573.67
       LEASEHOLD IMPROVEMENTS, LEASEHOLD IMPROVEMENTS (FC),
40.2   LEASEHOLD IMPROVEMENTS (FC) CHICAGO 233 NORTH MIC                       $27,384.05     NET BOOK VALUE               $27,384.05
       LEASEHOLD IMPROVEMENTS, LEASEHOLD IMPROVEMENTS (FC),
40.3   LEASEHOLD IMPROVEMENTS (FC) CA - REDWOOD HQ                            $110,726.11     NET BOOK VALUE              $110,726.11
       LEASEHOLD IMPROVEMENTS, LEASEHOLD IMPROVEMENTS (FC),
40.4   LEASEHOLD IMPROVEMENTS (FC) CHICAGO (MICHIGAN AV)                       $28,009.65     NET BOOK VALUE               $28,009.65
       LEASEHOLD IMPROVEMENTS, LEASEHOLD IMPROVEMENTS (FC),
40.5   LEASEHOLD IMPROVEMENTS (FC) CONNECTICUT                                 $10,134.04     NET BOOK VALUE               $10,134.04
       LEASEHOLD IMPROVEMENTS, LEASEHOLD IMPROVEMENTS (FC),
40.6   LEASEHOLD IMPROVEMENTS (FC) DALLAS (REGUS)                                   $0.00     NET BOOK VALUE                    $0.00
       LEASEHOLD IMPROVEMENTS, LEASEHOLD IMPROVEMENTS (IT),
40.7   LEASEHOLD IMPROVEMENTS (IT) CONNECTICUT                                 $17,751.94     NET BOOK VALUE               $17,751.94
                                                              TOTAL:          $240,579.46                TOTAL:           $240,579.46




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              Office equipment, including all computer equipment and communication systems equipment and software
                                                                      Net Book Value of    Valuation Method Used   Current Value of
                                General Description                   Debtor's Interest       for Current Value    Debtor's Interest
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (DO), IT
  40.1   HARDWARE (DO) CA - REDWOOD HQ                                      $102,487.97      NET BOOK VALUE             $102,487.97
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (DO), IT
  40.2   HARDWARE (DO) EGV VIRGINIA (DC)                                     $31,511.14      NET BOOK VALUE              $31,511.14
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (DO), IT
  40.3   HARDWARE (DO) LOS ANGELES (DC)                                      $23,860.11      NET BOOK VALUE              $23,860.11
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (DO), IT
  40.4   HARDWARE (DO) SAN JOSE (DC)                                         $31,665.21      NET BOOK VALUE              $31,665.21
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (DO), IT
  40.5   HARDWARE (DO) SANTA CLARA (DC)                                      $46,718.59      NET BOOK VALUE              $46,718.59
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (IT), IT
  40.6   HARDWARE (IT) CA - REDWOOD HQ                                       $57,339.44      NET BOOK VALUE              $57,339.44
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (IT), IT
  40.7   HARDWARE (IT) CHICAGO                                               $59,792.02      NET BOOK VALUE              $59,792.02
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (IT), IT
  40.8   HARDWARE (IT) CHICAGO (MICHIGAN AV)                                  $8,683.60      NET BOOK VALUE                $8,683.60
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (IT), IT
  40.9   HARDWARE (IT) CONNECTICUT                                            $5,680.20      NET BOOK VALUE                $5,680.20
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (IT), IT
 40.10   HARDWARE (IT) HONG KONG ASIA (DC)                                      $374.99      NET BOOK VALUE                 $374.99
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (IT), IT
 40.11   HARDWARE (IT) LOS ANGELES (DC)                                         $967.13      NET BOOK VALUE                 $967.13
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (IT), IT
 40.12   HARDWARE (IT) MICHIGAN (WDA)                                           $193.74      NET BOOK VALUE                 $193.74
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (IT), IT
 40.13   HARDWARE (IT) NEW JERSEY (DC)                                           $31.16      NET BOOK VALUE                   $31.16
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT HARDWARE (IT), IT
 40.14   HARDWARE (IT) SF - INTUIT                                              $332.48      NET BOOK VALUE                 $332.48
         COMPUTERS AND PERIPHERAL EQUIPMENT, IT SOFTWARE (IT), IT
 40.15   SOFTWARE (IT) CA - REDWOOD HQ                                       $20,900.45      NET BOOK VALUE              $20,900.45
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.16   DEPLOYMENT HARDWARE CA - REDWOOD HQ                                 $87,742.48      NET BOOK VALUE              $87,742.48
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.17   DEPLOYMENT HARDWARE CA - REDWOOD HQ                                    $643.29      NET BOOK VALUE                 $643.29
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.18   DEPLOYMENT HARDWARE EGV VIRGINIA (DC)                              $290,386.82      NET BOOK VALUE             $290,386.82
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.19   DEPLOYMENT HARDWARE EGV VIRGINIA (DC)                              $152,670.62      NET BOOK VALUE             $152,670.62
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.20   DEPLOYMENT HARDWARE HONG KONG ASIA (DC)                            $108,132.30      NET BOOK VALUE             $108,132.30
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.21   DEPLOYMENT HARDWARE HONG KONG ASIA (DC)                             $45,890.76      NET BOOK VALUE              $45,890.76
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.22   DEPLOYMENT HARDWARE LOS ANGELES (DC)                               $312,818.56      NET BOOK VALUE             $312,818.56
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.23   DEPLOYMENT HARDWARE NEW JERSEY (DC)                               $1,069,457.06     NET BOOK VALUE           $1,069,457.06
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.24   DEPLOYMENT HARDWARE NEW JERSEY (DC)                                 $97,077.20      NET BOOK VALUE              $97,077.20
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.25   DEPLOYMENT HARDWARE SAN JOSE (DC)                                  $104,732.30      NET BOOK VALUE             $104,732.30
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.26   DEPLOYMENT HARDWARE SAN JOSE (DC)                                   $41,459.50      NET BOOK VALUE              $41,459.50
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.27   DEPLOYMENT HARDWARE SANTA CLARA (DC)                              $2,403,045.64     NET BOOK VALUE           $2,403,045.64
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.28   DEPLOYMENT HARDWARE SANTA CLARA (DC)                               $107,684.59      NET BOOK VALUE             $107,684.59
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.29   DEPLOYMENT HARDWARE AMSTERDAM NETHERLANDS (DC)                     $191,527.85      NET BOOK VALUE             $191,527.85
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.30   DEPLOYMENT HARDWARE AMSTERDAM NETHERLANDS (DC)                      $51,645.79      NET BOOK VALUE              $51,645.79
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.31   DEPLOYMENT HARDWARE CHICAGO                                          $6,727.32      NET BOOK VALUE                $6,727.32
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.32   DEPLOYMENT HARDWARE FRANKFURT GERMANY (DC)                         $125,805.51      NET BOOK VALUE             $125,805.51
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.33   DEPLOYMENT HARDWARE FRANKFURT GERMANY (DC)                          $50,425.75      NET BOOK VALUE              $50,425.75




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              Office equipment, including all computer equipment and communication systems equipment and software
                                                                      Net Book Value of    Valuation Method Used   Current Value of
                             General Description                      Debtor's Interest       for Current Value    Debtor's Interest
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.34   DEPLOYMENT HARDWARE LAS VEGAS (DC)                                 $869,464.50      NET BOOK VALUE             $869,464.50
         DEPLOYMENT EQUIPMENT, DEPLOYMENT HARDWARE ,
 40.35   DEPLOYMENT HARDWARE LAS VEGAS (DC)                                  $96,162.85      NET BOOK VALUE              $96,162.85
         INTERNALLY DEVELOPED SOFTWARE, INTERNALLY DEVELOPED
 40.36   SOFTWARE COST                                                     $1,039,928.61     NET BOOK VALUE           $1,039,928.61
         INTERNALLY DEVELOPED SOFTWARE, INTERNALLY DEVELOPED
 40.37   SOFTWARE COST                                                     $1,933,289.18     NET BOOK VALUE           $1,933,289.18
                                                           TOTAL:          $9,577,256.71                TOTAL:        $9,577,256.71




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                  Other machinery, fixtures, and equipment (excluding farm machinery and equipment)

                                                          Net Book Value of Valuation Method Used Current Value of
                      General Description                 Debtor's Interest    for Current Value   Debtor's Interest
50.1   MACHINERY AND EQUIPMENT (IT) CA - REDWOOD HQ              $99,123.74   NET BOOK VALUE             $99,123.74
50.2   MACHINERY AND EQUIPMENT (IT) CA - REDWOOD HQ               $4,385.79   NET BOOK VALUE              $4,385.79
50.3   MACHINERY AND EQUIPMENT (IT) CHICAGO (MICHIGAN AV)         $1,871.60   NET BOOK VALUE              $1,871.60
50.4   MACHINERY AND EQUIPMENT (IT) CONNECTICUT                   $2,656.09   NET BOOK VALUE              $2,656.09
50.5   MACHINERY AND EQUIPMENT (IT) LA - PARK PLACE               $2,074.28   NET BOOK VALUE              $2,074.28
50.6   MACHINERY AND EQUIPMENT (IT) MICHIGAN (TROY)                    $0.00  NET BOOK VALUE                   $0.00
50.7   MACHINERY AND EQUIPMENT (IT) MICHIGAN (WDA)                $1,860.72   NET BOOK VALUE              $1,860.72
50.8   MACHINERY AND EQUIPMENT (IT) NYC (BROADWAY)                  $858.17   NET BOOK VALUE                 $858.17
50.9   MACHINERY AND EQUIPMENT (IT) SF - INTUIT                   $9,501.15   NET BOOK VALUE              $9,501.15
                                                   TOTAL:       $122,331.54                 TOTAL:      $122,331.54




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                                     Other property of any kind not already listed
                                                                                                Current Value
                                                                                                 of Debtor's
                                               General Description                                 Interest
    77.1    195 BROADWAY PROPERTY LLC - RENT NEGATIVE AP BALANCE                                     $20,058.24
    77.2    2121 PARK PLACE FEE OWNER CA LLC - RENT NEGATIVE AP BALANCE                              $27,845.02
    77.3    4050, LLC - RENT NEGATIVE AP BALANCE                                                      $2,117.11
    77.4    8% DISCOUNT (DMP LICENSE: PREPAY)-DISCOUNT DEFER                                         $30,434.80
    77.5    ACCESS ONE, INC. - COMMUNICATIONS NEGATIVE AP BALANCE                                       $176.76
    77.6    ALTICE BUSINESS - COMMUNICATIONS NEGATIVE AP BALANCE                                      $1,583.33
    77.7    ASA COMPUTERS, INC. - COMPUTERS AND PERIPHERAL EQUIPMENT NEGATIVE AP BALANCE                $911.46
    77.8    ASB HARDWARE BLOCK VENTURE, LLC - RENT NEGATIVE AP BALANCE                                $1,822.03
    77.9    BRE RIVER NORTH POINT OWNER - RENT NEGATIVE AP BALANCE                                   $15,419.91
    77.10   CBRE, INC. - RENT NEGATIVE AP BALANCE                                                    $17,331.43
    77.11   CENTURYLINK - COMMUNICATIONS NEGATIVE AP BALANCE                                            $702.86
    77.12   COGENT COMMUNICATIONS, INC. - DATA CENTER NEGATIVE AP BALANCE                            $11,082.03
    77.13   COMCAST - 8529 11 421 0010546 - COMMUNICATIONS NEGATIVE AP BALANCE                           $40.00
    77.14   COMCAST - 8529-10-133-0400004 - COMMUNICATIONS NEGATIVE AP BALANCE                          $174.78
    77.15   CORESITE, L.P. - DATA CENTER NEGATIVE AP BALANCE                                            $163.17
    77.16   CREFII-SCC, LLC - RENT NEGATIVE AP BALANCE                                                $4,218.05
    77.17   CT CORPORATION - TAXES NEGATIVE ACCRUED                                                  $26,296.24
    77.18   DATA SALES CO., INC - CAPITAL LEASE NEGATIVE AP BALANCE                                   $2,320.07
    77.19   DELL FINANCIAL SERVICES LLC - CAPITAL LEASE NEGATIVE AP BALANCE                           $1,326.72
    77.20   DIMENSION DATA - IT EXPENSES NEGATIVE AP BALANCE                                          $1,510.62
    77.21   DMP LICENSE - PREPAY CITI INV# 11484/11485                                                $2,992.00
    77.22   EQUINIX SERVICES INC X+1 - DATA CENTER NEGATIVE AP BALANCE                                $4,348.24
    77.23   FAVORABLE LEASE ASSET                                                                    $52,408.90
    77.24   GARIC, INC. - CAPITAL LEASE NEGATIVE AP BALANCE                                             $556.51
    77.25   GOOGLE INC X+1 - MEDIA BUY NEGATIVE AP BALANCE                                               $33.25
    77.26   GOOGLE INC. - MEDIA BUY NEGATIVE AP BALANCE                                                  $67.15
    77.27   INTERCOMPANY - ROCKET FUEL PUBLICIDADE LTDA                                          $1,176,161.45
    77.28   INTERCOMPANY - ROCKET SCIENCE MEDIA INC.                                               $289,415.57
    77.29   INTERCOMPANY - SIZMEK PROPAGANDA DIGITAL DO BRAZIL LTDA                                $388,563.00
    77.30   INTERCOMPANY - SIZMEK TECHNOLOGIES LTD                                               $4,149,157.51
    77.31   INTERCOMPANY - SIZMEK TECHNOLOGIES MEXICO SA DE CV                                     $120,548.00
    77.32   INTERCOMPANY - WDA                                                                     $434,722.14
    77.33   INTERCOMPANY - X+1                                                                  $30,598,527.82
    77.34   LIGHTOWER FIBER NETWORKS II, LLC X+1 - COMMUNICATIONS NEGATIVE AP BALANCE                   $631.42
    77.35   LIKQID MEDIA - MEDIA BUY NEGATIVE AP BALANCE                                                  $0.00
    77.36   MAILCHIMP - DEPLOYMENT EXPENSES NEGATIVE AP BALANCE                                          $36.00
    77.37   MOPHE LLC - RENT NEGATIVE ACCRUED                                                         $6,550.92
    77.38   NFS LEASING INC - CAPITAL LEASE NEGATIVE AP BALANCE                                       $1,237.81
    77.39   NORTH CAROLINA DEPARTMENT OF REVENUE - OTHER EXPENSES NEGATIVE AP BALANCE                     $0.00
    77.40   OPTIMUM FORMERLY CABLEVISION ON CONN - COMMUNICATIONS NEGATIVE AP BALANCE                    $19.25
    77.41   PAYROLL OVERPAYMENT - EPPNER                                                              $3,045.99
    77.42   REGUS CORPORATION - RENT NEGATIVE AP BALANCE                                              $1,474.40
    77.43   SELLING OF DATA CENTER EQUIPMENT                                                          $6,500.00
            STERLING OUTSOURCING SP ZOO - PROFESSIONAL FEES AND OUTSOURCING NEGATIVE AP
    77.44   BALANCE                                                                                  $1,702.98
    77.45   SWITCH - DATA CENTER NEGATIVE AP BALANCE                                                $11,427.74
    77.46   TAX AGENCY CA - TAXES NEGATIVE AP BALANCE                                                    $0.00
    77.47   TECHSPACE GEARY INC. - RENT NEGATIVE AP BALANCE                                            $885.48
    77.48   TRINET - PAYROLL EMPLOYEE BENEFITS AND TAXES NEGATIVE AP BALANCE                             $0.00
    77.49   UNRECONCILED ASSETS                                                                  $1,446,754.56
    77.50   UPS - UTILITIES AND MAINTENANCE NEGATIVE AP BALANCE                                        $108.06
    77.51   VISUAL DNA IMAGINI EUROPE LIMITED (WIRE) - IT EXPENSES NEGATIVE AP BALANCE                 $483.78
    77.52   WASHINGTON DEPARTMENT OF REVENUE - TAXES NEGATIVE AP BALANCE                                 $0.00
    77.53   WILINE NETWORKS INC. - COMMUNICATIONS NEGATIVE AP BALANCE                                  $222.14
                                                                                       TOTAL:   $38,864,116.70




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 Fill in this information to identify the case:

 Debtor name: Sizmek DSP, Inc.

 United States Bankruptcy for the District of: Southern New York
                                                                                                                                                           Check if this is an
 Case number: 19-10973
                                                                                                                                                           amended ling


O cial Form 206D
Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible.

 Part 1:     List Creditors Who Have Claims Secured by Property
 1. Do any creditors have claims secured by debtor's property?

           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.



 2. List creditors who have secured claims.If a creditor has more than one secured claim, list the           Column A                         Column B
 creditor separately for each claim.
                                                                                                             Amount of Claim                  Value of collateral that
                                                                                                             Do not deduct the value of       supports this claim
                                                                                                             collateral.

   2.1                                                  Describe debtor's property that is subject to       $146,954,066.00                  $ TBD
              Creditor's name and mailing               the lien:
              address
              CERBERUS BUSINESS FINANCE,                Describe the lien
              LLC, 875 THIRD AVENUE, 10TH               1ST LIEN PRINCIPAL DEBT BALANCE
              FLOOR, NEW YORK, NY 10022
                                                        Is the creditor an insider or related party?
             Date debt was incurred?
                                                               No
              SEPTEMBER 6, 2017
                                                              Yes
             Last 4 digits of account number            Is anyone else liable on this claim?
                                                               No

             Do multiple creditors have an interest            Yes Fill out Schedule H: Codebtors (O cial
             in the same property?                             Form 206H)
                                                        As of the petition ling date, the claim is:Ḁ
                    No
                                                        Check all that apply.
                    Yes. Specify each creditor,
                                                             Contingent
                    including this creditor, and its
                    relative priority.
                                                             Unliquidated
             SIZMEK FINCO, LLC (VECTOR CAPITAL
             MANAGEMENT) - 2ND LIEN, 3RD LIEN                Disputed
             CERBERUS CAPITAL MANAGEMENT,
             L.P. - 3RD LIEN
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2.2                                                                    Pg
                                               Describe debtor's property that45   of 62to
                                                                               is subject          $5,850,027.32      $ TBD
      Creditor's name and mailing              the lien:
      address
      CERBERUS BUSINESS FINANCE,               Describe the lien
      LLC, 875 THIRD AVENUE, 10TH              3RD LIEN ACCRUED PIK INTEREST
      FLOOR, NEW YORK, NY 10022
                                               Is the creditor an insider or related party?
      Date debt was incurred?
                                                      No
      '9/6/17 - 3/28/19
                                                     Yes
      Last 4 digits of account number          Is anyone else liable on this claim?
                                                      No

      Do multiple creditors have an interest          Yes Fill out Schedule H: Codebtors (O cial
      in the same property?                           Form 206H)
                                               As of the petition ling date, the claim is:Ḁ
            No
                                               Check all that apply.
            Yes. Specify each creditor,
                                                    Contingent
            including this creditor, and its
            relative priority.
                                                    Unliquidated
      SIZMEK FINCO, LLC (VECTOR
      CAPITAL MANAGEMENT) -
                                                    Disputed
      2ND LIEN, 3RD LIEN


2.3                                            Describe debtor's property that is subject to       $15,000,000.00     $ TBD
                                               the lien:
      Creditor's name and mailing address
      SIZMEK FINCO, LLC (VECTOR
                                               Describe the lien
      CAPITAL MANAGEMENT), ONE
                                               2ND LIEN PRINCIPAL DEBT BALANCE
      MARKET STREET, STEUART TOWER,
      23RD FLOOR, SAN FRANCISCO, CA            Is the creditor an insider or related party?
      94105                                           No
      Date debt was incurred?                        Yes
      AUGUST 6, 2018                           Is anyone else liable on this claim?
                                                      No
      Last 4 digits of account number
                                                      Yes Fill out Schedule H: Codebtors (O cial
                                                      Form 206H)
      Do multiple creditors have an interest   As of the petition ling date, the claim is:Ḁ
      in the same property?                    Check all that apply.

            No                                      Contingent

            Yes. Specify each creditor,
                                                    Unliquidated
            including this creditor, and its
            relative priority.
                                                    Disputed
        CERBERUS CAPITAL
        MANAGEMENT, L.P. - 1ST LIEN,
        3RD LIEN
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  2.4                                                                      Pg
                                                   Describe debtor's property that46   of 62to
                                                                                   is subject           $1,062,338.68                     $ TBD
          Creditor's name and mailing              the lien:
          address
          SIZMEK FINCO, LLC (VECTOR                Describe the lien
          CAPITAL MANAGEMENT), ONE                 3RD LIEN ACCRUED PIK INTEREST
          MARKET STREET, STEUART TOWER,
          23RD FLOOR, SAN FRANCISCO, CA            Is the creditor an insider or related party?
          94105                                           No
          Date debt was incurred?                        Yes
          8/6/18 - 3/28/19                         Is anyone else liable on this claim?
                                                          No
          Last 4 digits of account number
                                                          Yes Fill out Schedule H: Codebtors (O cial
                                                          Form 206H)
          Do multiple creditors have an interest   As of the petition ling date, the claim is:
          in the same property?                    Check all that apply.

                No                                      Contingent

                Yes. Specify each creditor,
                                                        Unliquidated
                including this creditor, and its
                relative priority.
                                                        Disputed
          CERBERUS CAPITAL
          MANAGEMENT, L.P. - 1ST LIEN,
          3RD LIEN




3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional        $168,866,432.00
Page, if any.


Part 2:   List Others to Be Noti ed for a Debt That You Already Listed
List in alphabetical order any others who must be noti ed for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies, assignees
of claims listed above, and attorneys for secured creditors.
If no others need to be noti ed for the debts listed in Part 1, do not ll out or submit this page. If additional pages are needed, copy this page.
                                                                                          On which line in Part 1 did you enter     Last 4 digits of account number for
 Name and address           Sort                                                                                                    this entity
                                                                                          the related creditor?     Sort


 3.1      PETRUS CAPITAL MANAGEMENT, LLC, 3000 TURTLE CREEK BLVD,                         2.1 & 2.2
          DALLAS, TX 75219
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 Fill in this information to identify the case:

 Debtor name: Sizmek DSP, Inc.

 United States Bankruptcy for the District of: Southern New York
                                                                                                                                                                 Check if this is an
 Case number: 19-10973
                                                                                                                                                                 amended ling


O cial Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and Personal Property
(Of cial Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Of cial Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If
more space is needed for Part 1 or Part 2, ll out and attach the Additional Page of that Part included in this form.

 Part 1:     List All Creditors with PRIORITY Unsecured Claims
 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.



 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with priority
 unsecured claims, ll out and attach the Additional Page of Part 1.

                                                                                                                              Total claim                    Priority amount

  2.1        Priority creditor’s name and mailing address                As of the petition ling date, the claim is:Ḁ        $ 59,322.51                    $59,322.51
                                                                         Check all that apply.
             CANADA REVENUE AGENCY, 2251 RENÉ-LÉVESQUE
             BOULEVARD, JONQUIÈRE, QC G7S 5J2, CANADA                         Contingent

             Date or dates debt was incurred                                  Unliquidated

                                                                              Disputed
             Last 4 digits of account number
                                                                         Basis for the claim:
                                                                         UNPAID TAXES
             Specify Code subsection of PRIORITY unsecured               Is the claim subject to offset?
             claim:
                                                                                No
             11 U.S.C. § 507(a) (            )
                                                                                Yes


  2.2        Priority creditor’s name and mailing address                As of the petition ling date, the claim is:Ḁ        $ 4,000.00                     $4,000.00
                                                                         Check all that apply.
             NJ DIVISION OF TAXATION, PO BOX 999, TRENTON,
             NJ 08646-0999                                                    Contingent

             Date or dates debt was incurred                                  Unliquidated

                                                                              Disputed
             Last 4 digits of account number
                                                                         Basis for the claim:
                                                                         UNPAID TAXES
             Specify Code subsection of PRIORITY unsecured               Is the claim subject to offset?
             claim:
                                                                                No
             11 U.S.C. § 507(a) (            )
                                                                                Yes
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 2.3      Priority creditor’s name and mailing address                      Pg
                                                                    As of the     48 ling
                                                                              petition of date,
                                                                                          62 the claim is:Ḁ $ 422.35                                       $422.35
                                                                        Check all that apply.
          WASHINGTON STATE DEPARTMENT OF REVENUE,
          PO BOX 47476, OLYMPIA, WA 98504-7476                               Contingent

          Date or dates debt was incurred                                    Unliquidated

                                                                             Disputed
          Last 4 digits of account number
                                                                        Basis for the claim:
                                                                        UNPAID TAXES
          Specify Code subsection of PRIORITY unsecured                 Is the claim subject to offset?
          claim:
                                                                               No
          11 U.S.C. § 507(a) ( 4           )
                                                                               Yes




Part 2:   List All Creditors with NONPRIORITY Unsecured Claim
3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, ll out and attach the
Additional Page of Part 2.

                                                                                                                                                            Amount of claim

 3.1      Nonpriority creditor’s name and mailing address                                  As of the petition ling date, the claim is:Ḁ                    $111,621,062.13
          SEE ATTACHED SCHEDULE F EXHIBIT                                                  Check all that apply.
          Date or dates debt was incurred                                                       Contingent

                                                                                                Unliquidated

                                                                                                Disputed
                                                                                           Basis for the claim:


                                                                                           Is the claim subject to offset?
                                                                                                 No
                                                                                                 Yes
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Part 3:   List Others to BE Noti ed About Unsecured Claims
4. List in alphabetical order any others who must be noti ed for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees of
claims listed above, and attorneys for unsecured creditors.

If no others need to be noti ed for the debts listed in Parts 1 and 2, do not ll out or submit this page. If additional pages are needed, copy the next page.
 Name and mailing address                                                                   On which line in Part 1 or Part 2 is the related             Last 4 digits of
                                                                                            creditor (if any) listed?                                    account number, if any

 4.1.                                                                                       Line


                                                                                                   Not listed. Explain




Part 4:   Total Amounts of the Priority and Nonpriority Unsecured Claims
5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                                          Total of claim amounts

 5a. Total claims from Part 1                                                                                                     5a.    $63,744.86
 5b. Total claims from Part 2                                                                                                     5b.    $111,621,062.13
 5c. Total of Parts 1 and 2                                                                                                       5c.
                                                                                                                                          $111,684,806.99
 Lines 5a + 5b = 5c.
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                                                                                         Schedule F
                                                                       List All Creditors with Nonpriority Unsecured Claims




                                                                                                                                              Unliquidated
                                                                                                                                 Contingent


                                                                                                                                                             Disputed
                      Non-priority Creditor's Name                                     Address                                                                              Basis For The Claim    Amount of Claim
 3.1    1 LIFE HEALTHCARE, INC.                        130 SUTTER STREET, SAN FRANCISCO, CA 94104                                                               OTHER EXPENSES                           $8,602.13
 3.2    129 WEST 29TH STREET, LLC                      PO BOX 299, EMERSON, NJ 07630                                                                          X RENT                                     $1,584.92
 3.3    195 BROADWAY PROPERTY LLC                      142 WEST 57TH STREET, NEW YORK, NY 10019                                                                 RENT                                     $7,412.90
 3.4    ACC BUSINESS                                   PO BOX 105306, ATLANTA, GA 30348-5306                                                                    COMMUNICATIONS                           $2,969.20
 3.5    ACC BUSINESS                                   PO BOX 105306, ATLANTA, GA 30348-5306                                                                    COMMUNICATIONS                           $2,682.58
 3.6    ADLOOX                                         ST JAMES HOUSE, LONDON, W8 5HD GREAT BRITAIN                                                             MEDIA BUY                                $2,167.59
 3.7    ADLOOX                                         ST JAMES HOUSE, LONDON, W8 5HD GREAT BRITAIN                                                             MEDIA BUY                                  $546.00
 3.8    ADP, LLC                                       ONE ADP DRIVE MS-100, AUGUSTA, GA 30909                                                                  IT EXPENSES                              $1,083.87
 3.9    ADSWERVE, INC.                                 10875 DOVER STREET, WESTMINSTER, CO 80021                                                                MEDIA BUY                                $2,218.19
 3.10   ADSWERVE, INC.                                 10875 DOVER STREET, WESTMINSTER, CO 80021                                                                MEDIA BUY                                $2,980.00
 3.11   ADVANCED SHRED!                                PO BOX 45, VALLEJO, CA 94590                                                                             UTILITIES AND MAINTENANCE                   $60.00
 3.12   ADVENTORI SAS                                                                                                                                           IT EXPENSES                             $12,000.00
 3.13   AERSERV LLC                                    15420 LAGUNA CANYON RD, IRVINE, CA 92618                                                                 MEDIA BUY                               $24,566.06
 3.14   AERSERV LLC                                    15420 LAGUNA CANYON RD, IRVINE, CA 92618                                                                 MEDIA BUY                                $5,150.00
 3.15   AFFINITY SOLUTIONS INC.                                                                                                                                 IT EXPENSES                             $10,364.05
 3.16   AFFLUENT INDUSTRY                                                                                                                                       MARKETING                                $5,070.00
 3.17   AMAZON WEB SERVICES, INC.                      410 TERRY AVENUE NORTH, SEATTLE, WA 98109                                                              X IT EXPENSES                                  $0.01
 3.18   AMAZON WEB SERVICES, INC.                      410 TERRY AVENUE NORTH, SEATTLE, WA 98109                                                                IT EXPENSES                              $9,450.00
 3.19   AMSALEM BUSINESS TRAVEL LLC                                                                                                                             TRAVEL AND ENTERTAINMENT                $22,720.54
 3.20   AOL ADVERTISING FORMERLY ADTECH US INC         24241 NETWORK PLACE, CHICAGO, IL 60673                                                                   MEDIA BUY                            $3,321,548.54
 3.21   AOL ADVERTISING FORMERLY ADTECH US INC         24241 NETWORK PLACE, CHICAGO, IL 60673                                                                   MEDIA BUY                              $476,945.18
 3.22   APPNEXUS                                       DEPT CH 19467, PALATINE, IL 60055-9467                                                                   MEDIA BUY                            $3,690,784.45
 3.23   APPNEXUS                                       DEPT CH 19467, PALATINE, IL 60055-9467                                                                   MEDIA BUY                            $1,274,581.00
 3.24   ARRIVALIST CO.                                                                                                                                          DATA COST                              $114,465.29
 3.25   ARVIND KAPUGANTI                               19-5 479/15/E S.P. NAGAR, HYDERABAD, 500-064 INDIA                                                       PROFESSIONAL FEES AND OUTSOURCING        $8,138.71
 3.26   ASA COMPUTERS, INC.                            48761 KATO ROAD, FREMONT, CA 94538                                                                       COMPUTERS AND PERIPHERAL EQUIPMENT      $29,743.11
        ASSURANT (UNION SECURITY INSURANCE COMPANY /
 3.27   SUN LIFE INSURANCE)                            2323 GRAND BOULEVARD, KANSAS CITY, MO 64108                                                            X PAYROLL EMPLOYEE BENEFITS AND TAXES           $34.69
 3.28   AUDIENCE PROJECT APS                                                                                                                                    DATA COST                                 $22,624.00
 3.29   AUDIENS S.R.L.                                                                                                                                          DATA COST                                 $10,035.00
 3.30   BEACHFRONT MEDIA LLC                           400 S. ATLANTIC AVENUE, ORMOND BEACH, FL 32176                                                           MEDIA BUY                                $192,623.18
 3.31   BEACHFRONT MEDIA LLC                           400 S. ATLANTIC AVENUE, ORMOND BEACH, FL 32176                                                           MEDIA BUY                                 $64,274.80
 3.32   BIDSWITCH INC                                  19 WEST 24TH STREET, NEW YORK, NY 10010                                                                  MEDIA BUY                              $1,259,340.52
 3.33   BIDSWITCH INC                                  19 WEST 24TH STREET, NEW YORK, NY 10010                                                                  MEDIA BUY                                $470,833.00
 3.34   BORDEN LADNER GERVAIS                          1200 WATERFRONT CENTRE, VANCOUVER, BC V7X 1T2 CANADA                                                   X PROFESSIONAL FEES AND OUTSOURCING          $1,406.01
 3.35   CABLATO LTD                                    85 FRAMPTON STREET, LONDON, NW8 8NQ GREAT BRITAIN                                                        MEDIA BUY                                    $345.61
 3.36   CABLATO LTD                                    85 FRAMPTON STREET, LONDON, NW8 8NQ GREAT BRITAIN                                                        MEDIA BUY                                  $5,551.59
 3.37   CANTEEN REFRESHMENT SERVICE                    FILE # 50196, LOS ANGELES, CA 90074-0196                                                                 SOCIAL & WELFARE                           $1,118.77
 3.38   CARAT USA, INC.                                500 WOODWARD AVE., 23RD FLOOR, DETROIT, MI 48226                                                       X IT EXPENSES                               $40,326.60
 3.39   CELTRA, INC.                                                                                                                                            MEDIA BUY                                    $254.07
 3.40   CINTAS CORP-WDA                                PO BOX 725, CINCINNATI, OH 45263-0910                                                                    UTILITIES AND MAINTENANCE                    $156.40
 3.41   CITY & COUNTY OF DENVER                        TREASURY DIVISION, DENVER, CO 80217-0420                                                                 OTHER EXPENSES                             $4,620.78
 3.42   CLARK COUNTY ASSESSOR NEVADA                   500 S. GRAND CENTRAL PKWY., 2ND FLOOR, LAS VEGAS, NV 89155-1401                                          TAXES                                    $150,159.77
 3.43   COLORADO STATE TREASURER                       PO BOX 956, DENVER, CO 80201-0956                                                                        OTHER EXPENSES                            $17,640.34
 3.44   COMSCORE INC - USD ONLY                        14140 COLLECTION CENTER DR, CHICAGO, IL 60693                                                            DATA COST                                $164,897.97
 3.45   COMSCORE INC - USD ONLY                        14140 COLLECTION CENTER DR, CHICAGO, IL 60693                                                            DATA COST                                $297,696.00
 3.46   CONFIANT INC.                                  833 BROADWAY, NEW YORK, NY 10003                                                                         DATA COST                                 $62,260.73
 3.47   CONFIANT INC.                                  833 BROADWAY, NEW YORK, NY 10003                                                                         DATA COST                                 $18,745.00
 3.48   CONNATIX NATIVE EXCHANGE INC.                  492 BROOME STREET FLOOR 6, NEW YORK, NY 10013                                                            MEDIA BUY                                  $2,865.40
 3.49   CONNATIX NATIVE EXCHANGE INC.                  492 BROOME STREET FLOOR 6, NEW YORK, NY 10013                                                            MEDIA BUY                                 $22,692.00
 3.50   CONSUMERS ENERGY - ELECTRIC-WDA                PO BOX 740309, CINCINNATI, OH 45274-0309                                                                 UTILITIES AND MAINTENANCE                  $1,402.86
 3.51   CONSUMERS ENERGY - GAS-WDA                     PO BOX 740309, CINCINNATI, OH 45274-0309                                                                 UTILITIES AND MAINTENANCE                    $388.16
 3.52   CONTROL AIR CONDITIONING SERVICE CORPORATION   5200 EAST LA PALMA AVENUE, ANAHEIM, CA 92807                                                             MAINTENANCE & REPAIRS                        $165.00
 3.53   COOL MEDIUM, LLC                               3520 NEWTON STREET, DENVER, CO 80211                                                                     IT EXPENSES                               $12,260.00
 3.54   COUNTY OF HENRICO, VIRGINIA                    PO BOX 90775, HENRICO, VA 23273-0775                                                                     OTHER EXPENSES                           $171,750.57
 3.55   COX COMET, LLC                                 1001 MARSHALL STREET, REDWOOD CITY, CA 94063                                                           X MEDIA BUY                                $299,194.07
 3.56   COX COMET, LLC                                 1001 MARSHALL STREET, REDWOOD CITY, CA 94063                                                             MEDIA BUY                                 $24,696.21
 3.57   CREDITORS ADJUSTMENT BUREAU, INC.              PO BOX 5932, SHERMAN OAKS, CA 91423                                                                    X IT EXPENSES                                $6,364.82
 3.58   CYBERSOURCE                                    PO BOX 742842, LOS ANGELES, CA 90074-2842                                                              X FINANCING                                      $3.31
 3.59   DATALOGIX INC X+1                                                                                                                                       DATA COST                                 $87,000.00
 3.60   DELL FINANCIAL SERVICES LLC                    PAYMENT PROCESSING CENTER, CAROL STREAM, IL 60197-6549                                                   CAPITAL LEASE                             $11,617.95
 3.61   DISTRICT M INC.                                5455, AV. DE GASPÉ, SUITE 730, MONTREAL, H2T 3B3 CANADA                                                  MEDIA BUY                                $198,808.31
 3.62   DISTRICT M INC.                                5455, AV. DE GASPÉ, SUITE 730, MONTREAL, H2T 3B3 CANADA                                                  MEDIA BUY                                 $91,490.00
 3.63   DOUBLE VERIFY, INC.                            575 8TH AVE 8TH FLOOR, NEW YORK, NY 10018                                                                MEDIA INVENTORY VALIDATION               $330,497.76
 3.64   DOUBLE VERIFY, INC.                            575 8TH AVE 8TH FLOOR, NEW YORK, NY 10018                                                                MEDIA INVENTORY VALIDATION               $150,795.82
 3.65   DT CLIENT SERVICES, LLC                                                                                                                                 IT EXPENSES                                $8,944.42
 3.66   EASTRIDGE WORKFORCE SOLUTIONS                  SECURE TALENT, INC, LOS ANGELES, CA 90084-3208                                                           PROFESSIONAL FEES AND OUTSOURCING          $6,462.53
 3.67   EASTRIDGE WORKFORCE SOLUTIONS                  SECURE TALENT, INC, LOS ANGELES, CA 90084-3208                                                           PROFESSIONAL FEES AND OUTSOURCING          $2,258.06
 3.68   EE EXPENSE REPORTS                                                                                                                                    X OTHER EXPENSES                             $1,838.64
 3.69   EFULFILLMENT SERVICE INC                                                                                                                                MARKETING                                    $876.89
 3.70   EHRLICH FORMERLY ERADICO PEST SERVICES         PO BOX 13848, READING, PA 19612                                                                          MAINTENANCE & REPAIRS                         $35.00
 3.71   EMPLOYEE REIMBURSEMENTS                                                                                                                                 EMPLOYEE T&E                              $38,958.55
 3.72   EMX DIGITAL LLC                                902 CARNEGIE CENTER STE 220, PRINCETON, NJ 08844                                                         MEDIA BUY                                $293,094.44
 3.73   EMX DIGITAL LLC                                902 CARNEGIE CENTER STE 220, PRINCETON, NJ 08844                                                         MEDIA BUY                                 $84,734.00
 3.74   EQUINIX (GERMANY) GMBH                         353 BUCKINGHAM AVENUE, SLOUGH, SL1 4PF GERMANY                                                           DATA CENTER                               $20,247.30
 3.75   EQUINIX (NETHERLANDS) B.V X+1                  PO BOX 12478, NETHERLANDS                                                                                DATA CENTER                               $27,734.71
 3.76   EQUINIX HONG KONG LIMITED                      SUITE 5305-06, 18 HARBOUR ROAD, SAR HONG KONG                                                            DATA CENTER                                $1,354.84
 3.77   EQUINIX, INC                                   4252 SOLUTIONS CENTER, CHICAGO, IL 60677-4002                                                            DATA CENTER                              $157,301.96
 3.78   ERI ECONOMIC RESEARCH INSTITUTE, INC.          8575 164TH AVENUE NE, REDMOND, WA 98052                                                                X OTHER EXPENSES                             $1,307.90
 3.79   ESTES FORWARDING WORLDWIDE LLC                 P B BOX 26206, RICHMOND, VA 23260                                                                        OTHER EXPENSES                               $163.28
 3.80   EVERBRIDGE, INC.                               500 NORTH BRAND BOULEVARD, GLENDALE, CA 91203                                                          X IT EXPENSES                               $11,545.00
 3.81   EVIDON, INC. FKA GHOSTERY, INC.                10 EAST 39TH STREET, NEW YORK, NY 10016                                                                  DATA COST                                 $11,388.73
 3.82   EVIDON, INC. FKA GHOSTERY, INC.                10 EAST 39TH STREET, NEW YORK, NY 10016                                                                  DATA COST                                  $5,265.00
 3.83   EVITE, INC.                                    600 WILSHIRE BOULEVARD, LOS ANGELES, CA 90017                                                            DATA COST                                  $6,000.00
 3.84   EVITE, INC.                                    600 WILSHIRE BOULEVARD, LOS ANGELES, CA 90017                                                            DATA COST                                 $12,000.00
 3.85   EXELATE, INC.                                  18 SOHO SQUARE, LONDON, W1D 3QL                                                                          DATA COST                                $140,064.76
 3.86   EXELATE, INC.                                  18 SOHO SQUARE, LONDON, W1D 3QL                                                                          DATA COST                                 $31,630.00
 3.87   EYEOTA PTE LTD                                 12A UPPER CIRCULAR ROAD, SINGAPORE, 58410 SINGAPORE                                                      DATA COST                                 $73,217.62
 3.88   EYEOTA PTE LTD                                 12A UPPER CIRCULAR ROAD, SINGAPORE, 58410 SINGAPORE                                                      DATA COST                                $104,523.65
 3.89   FACEBOOK                                       1601 WILLOW ROAD, MENLO PARK, CA 94025                                                                   MEDIA BUY                                 $13,471.98
 3.90   FACEBOOK                                       1601 WILLOW ROAD, MENLO PARK, CA 94025                                                                   MEDIA BUY                                  $2,593.00
 3.91   FEDEX                                          PO BOX 7221, PASADENA, CA 91109-7321                                                                   X UTILITIES AND MAINTENANCE                    $171.22
 3.92   FHE3 GMBH                                      LEOPOLDSTRASSE 5, KARLSRUHE, 76133 GERMANY                                                               IT EXPENSES                              $166,000.00
 3.93   FHE3 GMBH                                      LEOPOLDSTRASSE 5, KARLSRUHE, 76133 GERMANY                                                               IT EXPENSES                               $74,967.74
 3.94   FLASHTALKING INC                                                                                                                                        MEDIA BUY                                 $15,584.94
 3.95   FLUCT, INC.                                    SHIBUYA FIRSTPLACE 8/F, TOKYO, JAPAN                                                                     MEDIA BUY                                    $303.64
 3.96   FLUCT, INC.                                    SHIBUYA FIRSTPLACE 8/F, TOKYO, JAPAN                                                                     MEDIA BUY                                      $0.00
 3.97   FORMAT LLC                                                                                                                                              IT EXPENSES                                $4,500.00
 3.98   FOURSQUARE LABS, INC.                                                                                                                                   MEDIA BUY                                  $2,987.00
 3.99   FRAGOMEN, DEL REY, BERNSEN & LOEWY LLP         250 MONTGOMERY STREET, SAN FRANCISCO, CA 94104                                                           PROFESSIONAL FEES AND OUTSOURCING          $3,856.77
3.100   FREEWHEEL FORMERLY STICKY ADS TV S.A.          AU CAPITAL DE 249355, NEUILLY, 92200 FRANCE                                                              MEDIA BUY                                 $80,886.41
3.101   FREEWHEEL FORMERLY STICKY ADS TV S.A.          AU CAPITAL DE 249355, NEUILLY, 92200 FRANCE                                                              MEDIA BUY                                 $37,582.00
3.102   FYBER MEDIA GMBH                                                                                                                                        MEDIA BUY                                  $6,578.48




Sizmek DSP Inc.
                                                    19-10971-smb     Doc 125    Filed 04/27/19 Entered 04/27/19 00:05:44        Main Document
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                                                                                           Schedule F
                                                                         List All Creditors with Nonpriority Unsecured Claims




                                                                                                                                                 Unliquidated
                                                                                                                                    Contingent


                                                                                                                                                                Disputed
                      Non-priority Creditor's Name                                        Address                                                                                   Basis For The Claim          Amount of Claim
        GENERAL VENDOR RF - INSERT VENDOR NAME IN
3.103   REMARKS                                                                                                                                                    OTHER EXPENSES                                    $246,632.05
3.104   GENERAL VENDOR- T&E                                                                                                                                        EMPLOYEE                                            $1,218.24
3.105   GENIEE INTERNATIONAL PTE LTD.                    24 PECK SEAH STREET #04-03, SINGAPORE, 79314 SINGAPORE                                                    MEDIA BUY                                          $35,523.49
3.106   GENIEE INTERNATIONAL PTE LTD.                    24 PECK SEAH STREET #04-03, SINGAPORE, 79314 SINGAPORE                                                    MEDIA BUY                                           $7,941.00
3.107   GOOGLE INC X+1                                   DOUBLECLICK TECHSOLUTIONS, PHILADELPHIA, PA 191707366                                                     MEDIA BUY                                           $4,250.00
3.108   GOOGLE INC. - DOUBLECLICK                        DEPT 33654, SAN FRANCISCO, CA 94139                                                                       MEDIA BUY                                       $1,838,711.47
3.109   GOOGLE INC. - DOUBLECLICK                        DEPT 33654, SAN FRANCISCO, CA 94139                                                                       MEDIA BUY                                         $874,957.00
3.110   GOOGLE IRELAND HOLDINGS UNLIMITED COMPANY        GORDON HOUSE, DUBLIN 4, IE 6388047V IRELAND                                                               MEDIA BUY                                             $398.82
3.111   GOOGLE IRELAND HOLDINGS UNLIMITED COMPANY        GORDON HOUSE, DUBLIN 4, IE 6388047V IRELAND                                                               MEDIA BUY                                             $240.00
3.112   GRANT THORNTON LLP                               1901 S. MEYERS RD., SUITE 455, OAKBROOK TERRACE, IL 60181                                                 PROFESSIONAL FEES AND OUTSOURCING                  $19,000.00
3.113   GRUBHUB FOR WORK                                 PO BOOX 748570, LOS ANGELES, CA 90074-8570                                                                SOCIAL & WELFARE                                    $2,673.83
3.114   GRUBHUB HOLDINGS INC                             111 W. WASHINGTON STREET, CHICAGO, IL 60602                                                               SOCIAL & WELFARE                                   $41,108.13
3.115   GTT (FORMERLY NEUTRAL TANDEM)                    DEPT 111070, HARTFORD, CT 06115-0421                                                                      DATA CENTER                                        $36,872.13
3.116   GTT (FORMERLY NEUTRAL TANDEM)                    DEPT 111070, HARTFORD, CT 06115-0421                                                                      DATA CENTER                                        $32,764.00
3.117   GUCKENHEIMER ENTERPRISES, INC.                   PO BOX 740900, LOS ANGELES, CA 90074-0900                                                                 SOCIAL & WELFARE                                    $7,326.98
3.118   GUMGUM, INC.                                     1314 7TH STREET, 5TH FLOOR, SANTA MONICA, CA 90401                                                        MEDIA BUY                                         $425,438.63
3.119   GUMGUM, INC.                                     1314 7TH STREET, 5TH FLOOR, SANTA MONICA, CA 90401                                                        MEDIA BUY                                         $370,472.00
3.120   HARVARD MAINTENANCE, INC.                        59 MAIDEN LANE, NEW YORK, NY 10038                                                                      X IT EXPENSES                                            $65.12
3.121   HARVEST DIGITAL LIMITED                          40 CLIFTON STREET, LONDON, EC2A 4DX GREAT BRITAIN                                                         AR REBATE / REFUND                                 $26,224.91
3.122   HERITAGE GLOBAL SA                               VIA TREVANO, LUGANO, 6900 CHINA                                                                           AR REBATE / REFUND                                 $28,587.43
3.123   I360, LLC X+1                                                                                                                                              DATA COST                                           $6,034.64
3.124   IBM CORPORATION                                                                                                                                            DATA COST                                          $57,912.47
3.125   IC 233 BUILDING COMPANY LLC                      250 BROADWAY, SUITE 3001, NEW YORK, NY 10007                                                              RENT                                                $2,296.00
3.126   ILLINOIS SECRETARY OF STATE                      DEPARTMENT OF BUSINESS SERVICES, SPRINGFIELD, IL 62756                                                    OTHER EXPENSES                                     $25,000.00
3.127   INDEX EXCHANGE, INC.                             74 WINGOLD AVENUE, TORONTO, ON M6B 1P5 CANADA                                                             MEDIA BUY                                       $6,912,926.41
3.128   INDEX EXCHANGE, INC.                             74 WINGOLD AVENUE, TORONTO, ON M6B 1P5 CANADA                                                             MEDIA BUY                                         $955,206.21
3.129   INDUSTRY INDEX, LLC                              47 EAST 88TH STREET, NEW YORK, NY 10128                                                                   MARKETING                                           $4,250.00
3.130   INFOGROUP, INC.                                                                                                                                            DATA COST                                           $1,201.64
3.131   INTEGRAL AD SCIENCE (INTERNATIONAL) WIRE         21 HANOVER ST, WIS 1 YU GREAT BRITAIN                                                                     MEDIA INVENTORY VALIDATION                          $2,625.13
3.132   INTEGRAL AD SCIENCE (INTERNATIONAL) WIRE         21 HANOVER ST, WIS 1 YU GREAT BRITAIN                                                                     MEDIA INVENTORY VALIDATION                         $47,022.92
3.133   INTEGRAL AD SCIENCE, INC. FORMERLY ADSAFE        37 EAST 18TH, 7TH FL, NEW YORK, NY 10003                                                                X MEDIA INVENTORY VALIDATION                        $556,043.59
3.134   INTEGRAL AD SCIENCE, INC. FORMERLY ADSAFE        37 EAST 18TH, 7TH FL, NEW YORK, NY 10003                                                                  MEDIA INVENTORY VALIDATION                        $261,084.14
        INTERCOMPANY - MEDIAMIND TECHNOLOGIES
3.135   (SHANGHAI) LTD.                                                                                                                                                    INTERCOMPANY CLAIM                        $140,541.00
        INTERCOMPANY - ROCKET FUEL CZECH SERVICES
3.136   S.R.O.                                                                                                                                                             INTERCOMPANY CLAIM                        $696,072.63
3.137   INTERCOMPANY - ROCKET FUEL GMBH                                                                                                                                    INTERCOMPANY CLAIM                      $1,076,173.49
3.138   INTERCOMPANY - ROCKET FUEL LTD                                                                                                                                     INTERCOMPANY CLAIM                      $8,907,800.94
3.139   INTERCOMPANY - ROCKET SCIENCE MEDIA INC.                                                                                                                           INTERCOMPANY CLAIM                        $289,415.57
3.140   INTERCOMPANY - SIZMEK SARL                                                                                                                                         INTERCOMPANY CLAIM                              $0.17
3.141   INTERCOMPANY - SIZMEK TECHNOLOGIES K.K.                                                                                                                            INTERCOMPANY CLAIM                         $21,334.00
3.142   INTERCOMPANY - SIZMEK TECHNOLOGIES GMBH                                                                                                                            INTERCOMPANY CLAIM                        $200,298.94
3.143   INTERCOMPANY - SIZMEK TECHNOLOGIES INC.                                                                                                                            INTERCOMPANY CLAIM                     $13,705,018.49
3.144   INTERCOMPANY - SIZMEK TECHNOLOGIES LTD                                                                                                                             INTERCOMPANY CLAIM                      $1,527,566.96
3.145   INTERCOMPANY - SIZMEK TECHNOLOGIES PHILS. INC.                                                                                                                     INTERCOMPANY CLAIM                         $96,006.00
3.146   INTERCOMPANY - WDA                                                                                                                                                 INTERCOMPANY CLAIM                        $131,766.88
3.147   INTERCOMPANY - X+1                                                                                                                                                 INTERCOMPANY CLAIM                     $30,901,482.82
3.148   INTERNAP NETWORK SERVICES X+1                    DEPT 0526, DALLAS, TX 753120526                                                                                   DATA CENTER                                   $413.60
3.149   INTERNAP NETWORKS SERVICES CORP                  12120 SUNSET HILLS ROAD, SUITE 330, RESTON, VA 20190                                                              DATA CENTER                                $81,034.47
3.150   IQOPTIONS EUROPE LTD                             GLOBAL GATEWAY 8, PROVIDENCE, SEYCHELLES                                                                X         IT EXPENSES                                 $1,273.17
3.151   JW PLAYER, INC.                                  2 PARK AVENUE, NEW YORK, NY 10016                                                                                 IT EXPENSES                                 $2,640.00
3.152   KAISER PERMANENTE                                PO BOX 12929, OAKLAND, CA 94106                                                                                   PAYROLL EMPLOYEE BENEFITS AND TAXES        $18,042.02
3.153   KANTAR MEDIA INTELLIGENCE                                                                                                                                          DATA COST                                  $16,263.85
3.154   LAUNDRY LIAISON                                  1868 HARPER ROAD, MASON, MI 48854                                                                                 MAINTENANCE & REPAIRS                       $2,904.84
3.155   LAUNDRY LIAISON                                  1868 HARPER ROAD, MASON, MI 48854                                                                                 MAINTENANCE & REPAIRS                       $2,709.68
3.156   LIKQID MEDIA                                     701 BRAZOS STREET, FLOOR 8, AUSTIN, TX 78701                                                                      MEDIA BUY                                       $0.00
3.157   LIKQID MEDIA                                     701 BRAZOS STREET, FLOOR 8, AUSTIN, TX 78701                                                                      MEDIA BUY                                  $12,472.00
3.158   LINKEDIN CORP                                    62228 COLLECTIONS CENTER DRIVE, CHICAGO, IL 60693-0622                                                            PROFESSIONAL FEES AND OUTSOURCING          $26,234.75
3.159   LINKFIRE APS                                                                                                                                                       DATA COST                                  $14,500.00
3.160   LIVERAMP FORMERLY ACXIOM CORPORATION             4057 COLLECTION CENTER DR, CHICAGO, IL 60693                                                            X         DATA COST                                 $839,448.86
3.161   LIVERAMP FORMERLY ACXIOM CORPORATION             4057 COLLECTION CENTER DR, CHICAGO, IL 60693                                                                      DATA COST                                 $447,848.00
3.162   LOHIKA SYSTEMS, INC.                             1825 S. GRANT STREET, SAN MATEO, CA 94402                                                                         PROFESSIONAL FEES AND OUTSOURCING         $603,715.26
3.163   LOHIKA SYSTEMS, INC.                             1825 S. GRANT STREET, SAN MATEO, CA 94402                                                                         PROFESSIONAL FEES AND OUTSOURCING         $177,935.48
3.164   MANTA MEDIA, INC.                                                                                                                                                  MEDIA BUY                                   $6,034.55
3.165   MATTHEW CORWINE                                  350 MANHATTAN AVENUE, BROOKLYN, NY 11211                                                                          IT EXPENSES                                 $5,850.00
3.166   MEDIA SHAKERS CORP.                                                                                                                                      X         IT EXPENSES                                $33,286.38
3.167   MEDIA.NET ADVERTISING FZ-LLC                     107/108 DIC BUILDING 5, DUBAI INTERNET CITY, 215028 UNITED ARAB EMIRATES                                          MEDIA BUY                               $1,464,589.79
3.168   MEDIA.NET ADVERTISING FZ-LLC                     107/108 DIC BUILDING 5, DUBAI INTERNET CITY, 215028 UNITED ARAB EMIRATES                                          MEDIA BUY                                 $147,010.00
3.169   MERITDIRECT, LLC.                                                                                                                                                  DATA COST                                   $4,833.00
3.170   MERKLE INC.                                      7001 COLUMBIA GATEWAY DRIVE, COLUMBIA, MD 21046                                                                   DATA COST                                   $5,310.92
3.171   MERKLE INC.                                      7001 COLUMBIA GATEWAY DRIVE, COLUMBIA, MD 21046                                                                   DATA COST                                  $24,876.00
3.172   MILLER, EGAN, MOLTER & NELSON LLP                2911 TURTLE CREEK BOULEVARD, DALLAS, TX 75219                                                                     PROFESSIONAL FEES AND OUTSOURCING           $5,580.29
3.173   MITEL NETWORKS INC. FORMERELY SHORETEL           1146 N. ALMA SCHOOL RD., MESA, AZ 85201                                                                           COMMUNICATIONS                              $2,602.76
3.174   MOAT INC.                                        PO BOX 44471, SAN FRANCISCO, CA 94144                                                                             DATA COST                                  $55,425.81
3.175   MOPUB, INC                                       PO BOX 12027, NEWARK, NJ 07101-5027                                                                               MEDIA BUY                                 $142,482.24
3.176   MOPUB, INC                                                                                                                                                         MEDIA BUY                                  $78,407.00
3.177   MORNINGSTAR REALTIME DATA LTD                    1 OLIVER'S YARD, LONDON, EC1Y 1HQ GREAT BRITAIN                                                                   DATA CENTER                                 $2,250.00
3.178   MR. ANKIT BINDAL                                                                                                                                         X         IT EXPENSES                                   $100.00
3.179   NATIVE ADS INC                                   244 5TH AVENUE, NEW YORK, NY 10001-7604                                                                           MEDIA BUY                                 $200,162.53
3.180   NATIVE ADS INC                                   244 5TH AVENUE, NEW YORK, NY 10001-7604                                                                           MEDIA BUY                                  $48,421.00
3.181   NETWORK ADVERTISING INITIATIVE                   509 7TH STREET NW, WASHINGTON, DC 20004                                                                           PROFESSIONAL FEES AND OUTSOURCING           $6,387.10
3.182   NEUSTAR                                          BANK OF AMERICA, ATLANTA, GA 30353-7833                                                                 X         DATA CENTER                                $59,112.00
3.183   NEUSTAR DATA SERVICES, INC.                      BANK OF AMERICA, ATLANTA, GA 30374-2000                                                                           DATA COST                                  $16,066.64
3.184   NEUSTAR DATA SERVICES, INC.                      BANK OF AMERICA, ATLANTA, GA 30374-2000                                                                           DATA COST                                   $3,628.00
3.185   NEUSTAR INFORMATION SERVICES, INC.               BANK OF AMERICA, ATLANTA, GA 30374-2000                                                                           DATA COST                                 $202,658.80
3.186   NEUSTAR INFORMATION SERVICES, INC.               BANK OF AMERICA, ATLANTA, GA 30374-2000                                                                           DATA COST                                 $102,490.00
3.187   NEW YORK CITY DEPARTMENT OF FINANCE              PO BOX 3646, NEW YORK, NY 10008-3646                                                                              TAXES                                      $30,588.52
        NEWMARK OF SOUTHERN CALIFORNIA DBA NEWMARK
3.188   KNIGHT FRANK                                     500 W. MONROE STREET, SUITE 2900, CHICAGO, IL 60661                                                       UTILITIES AND MAINTENANCE                         $160,528.63
3.189   NIELSEN                                          24150 NETWORK PLACE, CHICAGO, IL 60673-1241                                                               DATA COST                                         $118,559.59
3.190   NIELSEN                                          24150 NETWORK PLACE, CHICAGO, IL 60673-1241                                                               DATA COST                                          $85,600.54
3.191   NORTH CAROLINA DEPARTMENT OF REVENUE             PO BOX 25000, RALEIGH, NC 27640-0520                                                                      OTHER EXPENSES                                          $0.00
3.192   NTT AMERICA, INC.                                PO BOX 660322, DALLAS, TX 75266-0322                                                                      DATA CENTER                                         $7,832.92
3.193   OATH (AMERICAS) INC FORMERLY AOL ADVERTISING     GENERAL POST OFFICE, NEW YORK, NY 10087-5696                                                            X MEDIA BUY                                         $146,281.85
3.194   OATH (AMERICAS) INC FORMERLY AOL ADVERTISING     GENERAL POST OFFICE, NEW YORK, NY 10087-5696                                                              MEDIA BUY                                         $224,845.00
3.195   OFFICE DEPOT                                                                                                                                               EMPLOYEE                                            $1,500.00
3.196   OH TAX                                                                                                                                                     TAXES                                              $80,222.26
3.197   OPENX TECHNOLOGIES INC                           DEPT CH 19650, PALATINE, IL 60055                                                                         MEDIA BUY                                       $4,568,022.26
3.198   OPENX TECHNOLOGIES INC                           DEPT CH 19650, PALATINE, IL 60055                                                                         MEDIA BUY                                         $720,889.00
3.199   ORACLE - CROSSWISE LTD                           500 ORACLE PARKWAY, REDWOOD SHORES, CA 94065                                                              DATA COST                                          $47,903.23
3.200   ORACLE AMERICA INC.                              500 ORALCE PARKWAY, REDWOOD CITY, CA 94065                                                                DATA COST                                         $391,704.79
3.201   ORACLE AMERICA INC.                              500 ORALCE PARKWAY, REDWOOD CITY, CA 94065                                                                DATA COST                                         $530,476.48
3.202   ORACLE-DATALOGIX, INC.                           PO BOX 203448, DALLAS, TX 75320-3448                                                                      DATA COST                                          $37,738.48




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                                                                                         Schedule F
                                                                       List All Creditors with Nonpriority Unsecured Claims




                                                                                                                                              Unliquidated
                                                                                                                                 Contingent


                                                                                                                                                             Disputed
                      Non-priority Creditor's Name                                      Address                                                                             Basis For The Claim      Amount of Claim
3.203   ORACLE-DATALOGIX, INC.                         PO BOX 203448, DALLAS, TX 75320-3448                                                                     DATA COST                                 $30,022.55
3.204   OTHER UNRECONCILED AMOUNTS                                                                                                                              OTHER                                      $3,722.59
3.205   OUTBRAIN INC.                                  39 WEST 13TH STREET, NEW YORK, NY 10011                                                                  MEDIA BUY                                $143,558.30
3.206   OUTBRAIN INC.                                  39 WEST 13TH STREET, NEW YORK, NY 10011                                                                  MEDIA BUY                                 $81,601.00
3.207   PLACED, INC.                                   1601 5TH AVENUE, SEATTLE, WA 98101                                                                       DATA COST                                 $24,472.41
3.208   PLACED, INC.                                   1601 5TH AVENUE, SEATTLE, WA 98101                                                                       DATA COST                                 $31,266.46
3.209   PLACEMEDIA, INC.                               PO BOX 392068, PITTSBURGH, PA 15251                                                                      MEDIA BUY                                $418,948.88
3.210   PLACEMEDIA, INC.                               PO BOX 392068, PITTSBURGH, PA 15251                                                                      MEDIA BUY                                $286,685.00
3.211   PROPER DIGITAL MARKETING AGENCY                HELSINKI OY, HELSINKI, 150 FINLAND                                                                     X IT EXPENSES                               $10,557.85
3.212   PUBMATIC, INC.                                 PO BOX 347402, PITTSBURGH, PA 15251-4402                                                                 MEDIA BUY                              $4,939,230.13
3.213   PUBMATIC, INC.                                 PO BOX 347402, PITTSBURGH, PA 15251-4402                                                                 MEDIA BUY                                $445,818.31
3.214   PUBNATIVE GMBH                                 GREIFSWALDER, BERLIN, 10405 GERMANY                                                                      MEDIA BUY                                 $15,943.41
3.215   PUBNATIVE GMBH                                 GREIFSWALDER, BERLIN, 10405 GERMANY                                                                      MEDIA BUY                                 $15,828.00
3.216   PULSEPOINT, INC. X+1                           DEPT CH 19112, PALATINE, IL 600559112                                                                    MEDIA BUY                                $215,130.53
3.217   PULSEPOINT, INC. X+1                           DEPT CH 19112, PALATINE, IL 600559112                                                                    MEDIA BUY                                 $54,298.00
3.218   REDWOOD CITY SCHOOL DISTRICT                   750 BRADFORD STREET, REDWOOD CITY, CA 94063                                                            X OTHER EXPENSES                               $675.00
3.219   RHYTHMONE (US) HOLDINGS INC                    251 KEARNEY STREET, SAN FRANCISCO, CA 94108                                                              MEDIA BUY                                $732,836.24
3.220   RHYTHMONE (US) HOLDINGS INC                    251 KEARNEY STREET, SAN FRANCISCO, CA 94108                                                              MEDIA BUY                                $158,640.00
3.221   RISKIQ, INC.                                   22 BATTERY STREET, SAN FRANCISCO, CA 94111                                                               DATA COST                                 $14,516.13
3.222   ROMANOFF CONSULTING                                                                                                                                     MARKETING                                  $6,160.00
3.223   RUBICON PROJECT INC.                           DEPT CH 16601, PALATINE, IL 60055-6601                                                                   MEDIA BUY                              $2,063,941.46
3.224   RUBICON PROJECT INC.                           DEPT CH 16601, PALATINE, IL 60055-6601                                                                   MEDIA BUY                              $1,019,856.25
3.225   SACKS, RICKETTS & CASE LLP                     2800 NORTH CENTRAL AVENUE, PHOENIX, AZ 85004                                                             PROFESSIONAL FEES AND OUTSOURCING         $35,490.75
3.226   SACKS, RICKETTS & CASE LLP                     2800 NORTH CENTRAL AVENUE, PHOENIX, AZ 85004                                                             PROFESSIONAL FEES AND OUTSOURCING         $92,293.35
3.227   SAN FRANCISCO TAX COLLECTOR                    PO BOX 7425, SAN FRANCISCO, CA 94120-7425                                                                OTHER EXPENSES                            $13,674.19
3.228   SHARETHIS, INC                                 4005 MIRANDA AVENUE, PALO ALTO, CA 94304                                                                 MEDIA BUY                                $125,000.00
3.229   SHARETHIS, INC                                 4005 MIRANDA AVENUE, PALO ALTO, CA 94304                                                                 MEDIA BUY                                 $22,581.00
3.230   SHRED-IT USA                                   PO BOX 13574, NEW YORK, NY 10087-3574                                                                    UTILITIES AND MAINTENANCE                    $165.46
3.231   SIGMA TECHNOLOGY SOLUTIONS, INC.               PO BOX 733113, DALLAS, TX 75373-3113                                                                     IT EXPENSES                              $120,485.79
3.232   SIMPLICITY MARKETING LTD.                                                                                                                               MEDIA BUY                                 $40,101.67
        SIZMEK TECHNOLOGIES, INC. FORMERLY MEDIAMIND
3.233   INC.                                           PO BOX 206848, DALLAS, TX 75320                                                                        X DATA COST                                    $93.83
3.234   SMAATO INC.                                    2525 CORPORATE PLACE, MONTEREY PARK, CA 91754                                                            MEDIA BUY                                $55,089.58
3.235   SMAATO INC.                                    2525 CORPORATE PLACE, MONTEREY PARK, CA 91754                                                            MEDIA BUY                                $60,393.00
3.236   SMART ADSERVER                                 RUE DE LA CHAUSSÉE D'ANTIN, PARIS, 75009 FRANCE                                                          MEDIA BUY                               $150,483.33
3.237   SMART ADSERVER                                 RUE DE LA CHAUSSÉE D'ANTIN, PARIS, 75009 FRANCE                                                          MEDIA BUY                               $109,474.00
3.238   SONOBI INC.                                    444 W NEW ENGLAND AVENUE, WINTER PARK, FL 32789                                                          MEDIA BUY                               $306,852.57
3.239   SONOBI INC.                                    444 W NEW ENGLAND AVENUE, WINTER PARK, FL 32789                                                          MEDIA BUY                                $92,386.00
3.240   SOVRN FORMERLY LIJIT NETWORKS, INC.            1750 29TH STREET, SUITE 2036, BOULDER, CO 80301                                                          MEDIA BUY                               $706,092.79
3.241   SOVRN FORMERLY LIJIT NETWORKS, INC.            1750 29TH STREET, SUITE 2036, BOULDER, CO 80301                                                          MEDIA BUY                               $178,856.00
3.242   SPOTXCHANGE, INC.                              DEPT LA 24040, PASADENA, CA 91185-4040                                                                   MEDIA BUY                               $278,990.33
3.243   SPOTXCHANGE, INC.                              DEPT LA 24040, PASADENA, CA 91185-4040                                                                   MEDIA BUY                                $51,885.00
3.244   SPRINT                                         PO BOX 4181, CAROL STREAM, IL 60197-4181                                                               X COMMUNICATIONS                            $1,024.08
3.245   STROEER SSP GMBH                               ST.-MARTIN-STR. 106, MUNICH, 81669 GERMANY                                                               MEDIA BUY                                $15,815.10
3.246   STROEER SSP GMBH                               ST.-MARTIN-STR. 106, MUNICH, 81669 GERMANY                                                               MEDIA BUY                                $11,154.00
3.247   STS SOLUTIONS INC.                                                                                                                                      IT EXPENSES                               $7,984.00
3.248   SUBLIME SKINZ                                                                                                                                           MEDIA BUY                                $73,646.00
3.249   SWITCH CONCEPTS LTD                                                                                                                                     MEDIA BUY                                $26,892.26
3.250   SYSTEM SOFT TECHNOLOGIES, LLC                  3000 BAYPORT DRIVE, SUITE #840, TAMPA, FL 33607                                                          PROFESSIONAL FEES AND OUTSOURCING        $27,200.00
3.251   SYSTEM SOFT TECHNOLOGIES, LLC                  3000 BAYPORT DRIVE, SUITE #840, TAMPA, FL 33607                                                          PROFESSIONAL FEES AND OUTSOURCING        $12,554.84
3.252   TABLEAU SOFTWARE, INC.                         1621 N. 34TH STREET, SEATTLE, WA 98103                                                                   PROFESSIONAL FEES AND OUTSOURCING        $11,429.04
3.253   TABOOLA, INC                                   1115 BROADWAY, NEW YORK, NY 10010                                                                        MEDIA BUY                                $18,073.22
3.254   TABOOLA, INC                                   1115 BROADWAY, NEW YORK, NY 10010                                                                        MEDIA BUY                                $10,565.00
3.255   TAPAD, INC.                                    60 MADISON AVENUE, NEW YORK, NY 10010                                                                    DATA COST                                $30,000.00
3.256   TAPAD, INC.                                    60 MADISON AVENUE, NEW YORK, NY 10010                                                                    DATA COST                                $19,032.00
3.257   TARGETSMART COMMUNICATIONS, LLC                                                                                                                         DATA COST                                $97,500.00
3.258   TAX AGENCY CA                                                                                                                                           TAXES                                         $0.00
3.259   TEKRELIANCE LLC                                46560 FREMONT BLVD, UNIT 302, FREMONT, CA 94538                                                          CONTRACTORS                               $4,500.00
3.260   TELARIA PTY LTD                                                                                                                                         MEDIA BUY                                $17,946.00
3.261   TELARIA, INC FORMERLY TREMOR VIDEO, INC.       BROADWAY, NEW YORK, NY 10038                                                                             MEDIA BUY                               $145,928.78
3.262   TELARIA, INC FORMERLY TREMOR VIDEO, INC.       BROADWAY, NEW YORK, NY 10038                                                                             MEDIA BUY                                $64,590.00
3.263   TELETRAX BV                                    HIGH TECH CAMPUS 9, THE NEATHERLANDS                                                                   X MEDIA BUY                                 $2,188.88
3.264   TELSTRA INTERNATIONAL LIMITED                  19/F TELECOM HOUSE, WANCHAI, HONG KONG                                                                   DATA CENTER                              $27,263.87
3.265   THOMSON REUTERS-WEST PUBLISHING CORPORATION    PAYMENT CENTER, CAROL STREAM, IL 60197-6292                                                              PROFESSIONAL FEES AND OUTSOURCING         $1,072.66
3.266   TRANSUNION CORP                                PO BOX 99506, CHICAGO, IL 60693-9506                                                                   X DATA COST                                $25,000.00
3.267   TRINET                                                                                                                                                  PAYROLL EMPLOYEE BENEFITS AND TAXES           $0.00
3.268   TRUSIGNAL, INC                                                                                                                                          DATA COST                                $45,433.00
3.269   TRUSTARC, INC FORMERLY TRUSTE                  835 MARKET STREET, SAN FRANCISCO, CA 94103                                                               MEDIA BUY                                 $1,466.36
3.270   TRUVANTIS, INC.                                548 MARKET STREET, SAN FRANCISCO, CA 94104                                                               PROFESSIONAL FEES AND OUTSOURCING        $17,129.03
3.271   UPGRADE S.R.L.                                 VIA FERRANTE IMPARATO 190, NAPLES, 80146 ITALY                                                           AR REBATE / REFUND                       $36,794.44
3.272   VERIZON (WDA)                                  PO BOX 15062, ALBANY, NY 12212                                                                         X COMMUNICATIONS                              $690.01
3.273   VISUAL DNA IMAGINI EUROPE LIMITED (WIRE)                                                                                                                IT EXPENSES                               $6,034.64
3.274   WASHINGTON DEPARTMENT OF REVENUE                                                                                                                        TAXES                                         $0.00
3.275   WASHINGTON DEPARTMENT OF REVENUE                                                                                                                        TAXES                                   $135,479.20
3.276   WEATHERALPHA LLC                                                                                                                                        MEDIA BUY                                 $3,150.05
3.277   WEBSITE REDESIGN                                                                                                                                        MARKETING                                $13,693.75
3.278   WIDE-OUT WORKFORCES INC.                       UNIT 2802 PACIFIC STAR BUILDING, MAKATI, PHILLAPINES                                                     PROFESSIONAL FEES AND OUTSOURCING        $86,219.50
3.279   WIDE-OUT WORKFORCES INC.                       UNIT 2802 PACIFIC STAR BUILDING, MAKATI, PHILLAPINES                                                     PROFESSIONAL FEES AND OUTSOURCING        $39,380.64
3.280   WILSON, SONSINI, GOODRICH & ROSATI             PO BOX 742866, LOS ANGELES, CA 90074-2866                                                              X IT EXPENSES                                 $355.00
3.281   WINMARK CAPITAL CORPORATION                    605 HIGHWAY 169 N, MINNEAPOLIS, MN 55441                                                                 CAPITAL LEASE                            $24,612.00
3.282   XORIANT CORPORATION                            1248 REAMWOOD AVENUE, SUNNYVALE, CA 94089                                                                PROFESSIONAL FEES AND OUTSOURCING        $22,880.00
3.283   XORIANT CORPORATION                            1248 REAMWOOD AVENUE, SUNNYVALE, CA 94089                                                                PROFESSIONAL FEES AND OUTSOURCING         $4,064.52
3.284   YIELDLAB AG                                    COLONNADEN 41, HAMBURG, 20354 GERMANY                                                                    MEDIA BUY                                $65,278.08
3.285   YIELDLAB AG                                    COLONNADEN 41, HAMBURG, 20354 GERMANY                                                                    MEDIA BUY                                $32,307.82
3.286   ZAYO GROUP, LLC                                PO BOX 952136, DALLAS, TX 75395-2136                                                                     DATA CENTER                              $37,688.53
3.287   ZOOM VIDEO COMMUNICATIONS, INC.                55 ALMADEN BLVD., SAN JOSE, CA 95113                                                                     COMMUNICATIONS                           $14,566.23
                                                                                                                                                                                         SUB-TOTAL: $111,621,062.13




Sizmek DSP Inc.
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 Fill in this information to identify the case:

 Debtor name: Sizmek DSP, Inc.

 United States Bankruptcy for the District of: Southern New York
                                                                                                                                                       Check if this is an
 Case number: 19-10973
                                                                                                                                                       amended ling


O cial Form 206G
Schedule G: Executory Contracts and Unexpired Leases

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 Schedule G:     Executory Contracts and Unexpired Leases
 1. Does the debtor have any executory contracts or unexpired leases?

        No. Check this box and le this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (O cial Form 206A/B).



  2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with whom the debtor
                                                                                          has an executory contract or unexpired lease

  2.1     State what the contract        SEE ATTACHED SCHEDULE G EXHIBIT
          or lease is for and the
          nature of the debtor’s
          interest
          State the term
          remaining
          List the contract
          number of any
          government contract
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                                                                                                Schedule G
                                                                                    Executory Contracts and Unexpired Leases



                                                                                                                                                                                            List Contract Number
                                                                    Description of Contract or Lease and                                               Date of Contract                      of Any Government
                           Contract Counterparty                        Nature of Debtor's Interest                          Detail                       or Lease        Remaining Term          Contract
    2.1    195 BROADWAY PROPERTY LLC                               LEASE (REAL PROP)                     LEASE - NEW YORK                                        2/8/16             1/31/27          NA
                                                                                                         HR, BENEFIT OFFERING (ONE MEDICAL GROUP /
    2.2    1LIFE HEALTHCARE, INC.                                  VENDOR                                MEMBERSHIP)                                             1/1/16            12/31/18         NA
    2.3    2121 PARK PLACE LP                                      LEASE (REAL PROP)                     LEASE - EL SEGUNDO                                   6/1/2014             12/31/22         NA
    2.4    4050, LLC                                               LEASE (REAL PROP)                     LEASE - EAST LANSING                                 10/31/14              3/31/20         NA
    2.5    7HOPS.COM INC. (DBA: ZERGNET)                           CUSTOMER                              TRIAL SS DSP ORDER                                      3/1/19             5/31/19         NA

    2.6    ACXIOM CORPORATION                                      VENDOR                              DATA ACCESS AGMT (ONBOARDING RESELLER)                   12/9/17                N/A          NA
    2.7    ADCELLERANT                                             CUSTOMER                            PMP DSP WK ORDER                                         5/22/18                N/A          NA
    2.8    ADCELLERANT                                             CUSTOMER                            MSA DSP                                                  5/22/18                N/A          NA
                                                                                                       DATA SHARING AGMT (RFI BUYS MEDIA ON
     2.9   ADFIN SOLUTIONS, INC.                                   VENDOR                              BEHALF OF ASSEMBLY)                                       4/7/17                 N/A         NA
    2.10   ADGRAVITYGROUP S.L.                                     VENDOR                              CLIENT REFERRAL AGMT                                    11/1/16                  N/A         NA
    2.11   ADINGO (FLUCT, INC.)                                    VENDOR                              JAPANESE EXCHANGE AGMT (RTB) & T&C                        9/9/15                 N/A         NA
    2.12   ADLOOX LIMITED                                          VENDOR                              AD VERIFICATION SOLUTION AGMT                           7/13/16                  N/A         NA
    2.13   ADOBE SYSTEMS INCOPORATED                               VENDOR                              DATA ACCESS AGMT                                       12/12/13             12/11/14         NA
    2.14   ADOBE SYSTEMS INCOPORATED                               VENDOR                              DIRECT AD BUY RIDER TO IAB                              12/1/15                  N/A         NA
    2.15   ADOBE SYSTEMS INCORPORATED                              VENDOR                              RIDER TO IAB STANDARD TERMS V3                          1/21/16                  N/A         NA
    2.16   ADREADY (CPX INTERACTIVE)                               CUSTOMER                            AMDT2 TO DSP WK ORDER                                     5/9/18                 N/A         NA
    2.17   ADRELATED FZ-LLC                                        CUSTOMER                            SS DSP ORDER                                              3/1/19                 N/A         NA
    2.18   ADSIGE INC.                                             CUSTOMER                            ADSERVING, SS DSP, DMP ORDER                            11/1/18                  N/A         NA
    2.19   ADSOCIAL S.A. DE C.V.                                   CUSTOMER                            SS DSP ORDER                                              1/1/19                 N/A         NA
    2.20   ADSQUARE GMBH                                           VENDOR                              DATA USAGE AGMT FOR MANAGED SERVICE                    12/22/16                  N/A         NA
    2.21   ADTECH US, INC.                                         VENDOR                              MARKETPLACE BUYER T&C                                   1/14/13              1/13/14         NA
    2.22   AERSERV LLC                                             VENDOR                              MARKET BUYER AGMT FOR ADVERTISERS                       5/24/17                  N/A         NA
    2.23   AFILIAS TECHNOLOGIES LTD. (DOTMOBI) (AKA DEVICEATLAS)   VENDOR                              LIC AGMT                                                2/19/14                  N/A         NA
    2.24   AGENCY OF RECORD, LLC (DBA: QUALITY PRODUCE)            CUSTOMER                            ADSERVING, MANAGED DSP                                  11/1/18                  N/A         NA
    2.25   AGOSTO, INC.                                            VENDOR                              SRVS & LICENSE AGMT (GOOGLE APPS)                      11/14/14                  N/A         NA
    2.26   AGOSTO, INC.                                            VENDOR                              AMDT1 (SKYKIT)                                          9/16/15                  N/A         NA
    2.27   AIMCLEAR, LLC                                           CUSTOMER                            SAS, SS DSP ORDER                                         2/1/19                 N/A         NA
    2.28   AKAMAI TECHNOLOGIES, INC.                               VENDOR                              ORDER 181575                                           8/1/2017                  N/A         NA
    2.29   ALPHA CRC LTD.                                          VENDOR                              MASTER TRANSLATION AGMT                                 2/27/15              2/26/17         NA
    2.30   AMERICAN EXPRESS (INCOMM)                               CUSTOMER                            DATA SHARING AGMT                                       6/29/18                  N/A         NA
    2.31   AMERICAN REGISTRY FOR INTERNET NUMBERS, LTD.            VENDOR                              SRV AGMT                                                3/10/11               3/9/12         NA
    2.32   AOL ADVERTISING, INC.                                   VENDOR                              TECHNOLOGY AGMT (X+1)                                   4/28/14              4/27/15         NA
    2.33   AOL ADVERTISING, INC.                                   VENDOR                              ADVERTISING TECHNOLOGY AGMT                             2/24/16              2/23/17         NA
    2.34   APPLE INC.                                              VENDOR                              APPLE DIRECT CUSTOMER AGMT                              1/14/16                  N/A         NA
    2.35   APPLE, INC.                                             VENDOR                              IOS DEV LIC AGMT                                        4/29/14                  N/A         NA
    2.36   APPNEXUS, INC.                                          VENDOR                              EXCHANGE AGMT                                             3/2/09                 N/A         NA
    2.37   APPNEXUS, INC.                                          VENDOR                              ADNEXUS AGMT BUYER (W/ X+1)                             4/30/09                  N/A         NA
    2.38   APPNEXUS, INC.                                          VENDOR                              DISPLAYWORDS AGMT (W/ X+1)                                1/1/11            12/31/11         NA
    2.39   APPNEXUS, INC.                                          VENDOR                              DATA MANAGEMENT PLATFORM AGMT                           5/21/15                  N/A         NA
    2.40   APPNEXUS, INC.                                          VENDOR                              MAPUID SUPPLEMENT (TO DATA AGMT)                          2/5/16                 N/A         NA
    2.41   ARISTA NETWORKS, INC.                                   VENDOR                              SOW                                                     2/10/17                  N/A         NA
                                                                                                       CONSULT AGMT (OFFICE IN HYDERABAD,
    2.42 ARVIND KAPUGANTI                                          VENDOR                              TELANGANA, INDIA)                                      10/17/16                 N/A          NA
                                                                                                       ADMT3 WK ORDER1 (OFFICE IN HYDERABAD,
    2.43 ARVIND KAPUGANTI                                          VENDOR                              TELANGANA, INDIA)                                         1/1/19            12/31/19         NA
    2.44 ASB HARDWARE BLOCK VENTURE,LLC                            LEASE (REAL PROP)                   LEASE - DENVER                                        12/1/2014              4/30/20         NA
    2.45   AUDIENCE X                                              CUSTOMER                            ADDM3 (REV SHARE FOR TRANSFERRED ACCTS)                   8/1/17                 N/A         NA
    2.46   BLOOMBERG FINANCE L.P.                                  VENDOR                              SCH OF SRVS #22661582                                     2/3/14                 N/A         NA
    2.47   BLOOMBERG FINANCE L.P.                                  VENDOR                              SRV AGMT                                                  3/7/14                 N/A         NA
    2.48   BLUE KAI, INC.                                          VENDOR                              DATA USE AGMT                                             4/7/09                 N/A         NA
    2.49   BLUE KAI, INC.                                          VENDOR                              ADDM1 TO DATA AGMT                                        7/8/10              7/7/11         NA
    2.50   BON APPETIT MANAGEMENT CO.                              VENDOR                              FOOD SRV AGMT (RWC)                                       7/1/17                 N/A         NA
    2.51   BOOYAH NETWORKS, INC.                                   CUSTOMER                            ALL SRVS ORDER                                            6/1/18                 N/A         NA
    2.52   BOOYAH NETWORKS, INC.                                   CUSTOMER                            MSA                                                       6/1/18                 N/A         NA
    2.53   BRE RIVER NORTH POINT OWNER LLC                         LEASE (REAL PROP)                   LEASE - CHICAGO                                          3/27/14             6/30/21         NA
    2.54   BROADRIDGE INVESTOR COMMUNICATION SOLUTIONS, INC.       VENDOR                              REGISTERED PROXY SRVS SCH                                1/26/17             1/25/20         NA
    2.55   C9 EDGE, INC.                                           VENDOR                              MSA (SOFTWARE)                                           2/24/14                 N/A         NA
    2.56   CAIRNS O'NEIL STRATEGIC MEDIA INC.                      CUSTOMER                            PMP DSP WK ORDER                                          4/1/18                 N/A         NA
                                                                                                       MSA (CARDYLTICS WILL BE UTILIZED FOR AN
    2.57   CARDLYTICS, INC.                                        VENDOR                              OLIVE GARDEN CAMPAIGN)                                 11/15/16                  N/A         NA
    2.58   CASALE MEDIA, INC. (INDEX EXCHANGE)                     VENDOR                              RTB AGMT                                                 6/7/12                  N/A         NA
    2.59   CATCHPOINT SYSTEMS, INC.                                VENDOR                              SRV ORDER                                                5/1/15                  N/A         NA
    2.60   CATCHPOINT SYSTEMS, INC.                                VENDOR                              SRV ORDER                                               12/1/15                  N/A         NA
    2.61   CATCHPOINT SYSTEMS, INC.                                VENDOR                              SRV ORDER                                              10/31/16             10/30/17         NA
    2.62   CATCHPOINT SYSTEMS, INC.                                VENDOR                              SRV ORDER SYNTHETIC MONITORING                         11/14/16                  N/A         NA
    2.63   CATCHPOINT SYSTEMS, INC.                                VENDOR                              SRV ORDER                                               11/1/17                  N/A         NA
    2.64   CATCHPOINT SYSTEMS, INC.                                VENDOR                              ORDER                                                   12/1/18             11/30/19         NA
    2.65   CELLCO PARTNERSHIP (DBA VERIZON WIRELESS)               VENDOR                              SRV AGMT                                                3/26/15              3/25/17         NA
    2.66   CENTRO, INC.                                            VENDOR                              MSA                                                     8/25/14              8/24/15         NA
    2.67   CENTURYLINK COMMUNICATIONS, LLC                         VENDOR                              SRV AGMT                                                4/15/14                  N/A         NA
    2.68   CENTURYLINK COMMUNICATIONS, LLC                         VENDOR                              PRICING CHG ORDER                                       1/22/15                  N/A         NA
    2.69   CFTG INC. (DBA DOCURATED)                               VENDOR                              SRVS AGMT (SOFTWARE)                                    5/30/14                  N/A         NA
    2.70   CFTG INC. (DBA DOCURATED)                               VENDOR                              ADDM1                                                  10/31/14                  N/A         NA
    2.71   CITIBANK, N.A.                                          CUSTOMER                            AMDT1 (#SF-10506-2018)                                  7/31/18                  N/A         NA
    2.72   CITIBANK, N.A.                                          CUSTOMER                            APPENDIX D                                              7/31/18                  N/A         NA
    2.73   CITIBANK, N.A.                                          CUSTOMER                            WK ORDER4 (BULLSEYE)                                     9/1/18                  N/A         NA
    2.74   CLEAR CHANNEL OUTDOOR, INC.                             CUSTOMER                            AMDT1 TO MSA                                            6/13/18                  N/A         NA
    2.75   COGENT COMMUNICATIONS, INC.                             VENDOR                              ORDER (1 300007541 US)                                 11/14/15                  N/A         NA
                                                                                                       ORDER 1 300024445 (US) (REPLACES THE 2015 11
    2.76 COGENT COMMUNICATIONS, INC.                               VENDOR                              25 NETHERLANDS)                                        11/25/15                 N/A          NA

    2.77   COGENT COMMUNICATIONS, INC.                             VENDOR                              ORDER 1-300050418 (195 BROADWAY, 10TH FL, NY)           3/21/16                  N/A         NA
    2.78   COGENT COMMUNICATIONS, INC.                             VENDOR                              ORDER 1-300072916 (LAS VEGAS)                            8/3/16                  N/A         NA
    2.79   COMPETITIVE MEDIA REPORTING, LLC (DBA KANTAR MEDIA)     VENDOR                              LIC AGMT (SOFTWARE)                                      6/1/14                  N/A         NA
    2.80   COMSCORE, INC.                                          VENDOR                              MSA                                                    12/21/10             12/20/12         NA
    2.81   COMSCORE, INC.                                          VENDOR                              ADVERTISING ANALYTICS TO MSA                             1/1/13             12/31/13         NA
    2.82   COMSCORE, INC.                                          VENDOR                              SERVICE ORDER (ALLOWS RFI TO RESELL)                    12/9/16             11/21/17         NA
                                                                                                       CREATIVE VERIFICATION AGMT (ANTI-MALWARE
    2.83   CONFIANT (FKA CLARITYAD)                                VENDOR                              SCANNING)                                                9/2/16               9/1/17         NA
    2.84   CONSULTING MAINE, INC.                                  VENDOR                              CONSULT AGMT                                           10/31/17                  N/A         NA
    2.85   CONTROL AIR CONDITIONING SERVICE CORPORATION            VENDOR                              MAINT AGMT (EL SEGUNDO)                                 5/12/15              5/11/16         NA
    2.86   CONTROL AIR CONDITIONING SERVICE CORPORATION            VENDOR                              MAINT AGMT (841 APOLLO)                                  6/4/15               6/3/16         NA
    2.87   COOKIE TRUST WORKING GROUP, INC. (DBA DIGITRUST)        VENDOR                              AMDT                                                    4/28/17                  N/A         NA
    2.88   CORESITE                                                VENDOR                              MSA                                                     1/15/15                  N/A         NA
    2.89   CORESITE (CROSS-CONNECT RACK)                           VENDOR                              ORDER #SO-00182356                                      1/15/17                  N/A         NA
    2.90   CORPORATE ESSENTIALS, LLC                               VENDOR                              MSA (COFFEE EQUIPMENT FOR SZMK NY OFFICE)               5/22/14              5/21/17         NA
    2.91   COUNCIL OF BETTER BUSINESS BUREAUS, INC.                VENDOR                              SAFE HARBOR AGMT                                        5/19/15              5/31/16         NA
    2.92   CPRIME, INC.                                            VENDOR                              CONSULTING AGMT (JIRA)                                  5/15/15                  N/A         NA
    2.93   CREFII-SSC, LLC                                         LEASE (REAL PROP)                   LEASE - SOUTH NORWALK                                   11/1/18              1/31/24         NA
    2.94   CROSS PIXEL MEDIA, INC.                                 VENDOR                              DATA LIC AGMT (FOR MERCK CAMPAIGN)                       4/3/17               4/2/18         NA




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                                                                                                                                                                                            List Contract Number
                                                                Description of Contract or Lease and                                                 Date of Contract                        of Any Government
                              Contract Counterparty                 Nature of Debtor's Interest                             Detail                      or Lease        Remaining Term            Contract
    2.95   CROSS TECH LAB LTD.                                 CUSTOMER                                SS DSP ORDER                                            3/1/19                 N/A            NA
    2.96   CROSSIX SOLUTIONS, INC.                             VENDOR                                  DATA PARTNER AGMT                                      12/9/14             12/8/15            NA
    2.97   CT CORPORATION SYSTEM                               VENDOR                                  BUSINESS LICENSE RENEWAL                                9/3/15                 N/A            NA
    2.98   CT CORPORATION SYSTEM                               VENDOR                                  SRVS AGMT                                               7/1/17             6/30/19            NA
    2.99   CURSE, INC.                                         VENDOR                                  DATA SYNDICATION AGMT                                  4/14/15             4/13/16            NA
   2.100   CYBERSOURCE CORPORATION                             VENDOR                                  PAYMENT SOLUTIONS AGMT                                10/31/13           10/30/14             NA
   2.101   DAILYMOTION                                         VENDOR                                  BUYER SERVICE AGMT                                     12/2/15             12/1/16            NA
   2.102   DATA SALES CO., INC.                                VENDOR                                  MASTER LEASE (EQUIPMENT)                               4/14/15             4/13/17            NA
   2.103   DATA SALES CO., INC.                                VENDOR                                  SCH11                                                  7/21/16             7/20/19            NA
   2.104   DATALAB DIGITAL ADVERTISING                         VENDOR                                  DATA LICENSING SERVICES (ALLSTATE)                      8/7/15                 N/A            NA
   2.105   DATALOGIX, INC.                                     VENDOR                                  MSA (W/ X+1)                                          11/19/10           11/18/11             NA
   2.106   DATALOGIX, INC.                                     VENDOR                                  CHANNEL PARTNER AGMT (NOW ORACLE)                      5/16/13             5/15/14            NA
   2.107   DATAMYX, LLC                                        VENDOR                                  LIC AGMT                                               12/4/13                 N/A            NA
   2.108   DATAXTRADE GMBH                                     VENDOR                                  DATA AGMT                                             10/19/18           10/18/19             NA
   2.109   DELL FINANCIAL SERVICES LLC                         VENDOR                                  LEASE SCH #001 6710850 505                             11/1/15           10/31/19             NA
   2.110   DELL FINANCIAL SERVICES LLC                         VENDOR                                  LEASE SCH #001 6710850 506                             12/1/15           11/30/19             NA
   2.111   DELL FINANCIAL SERVICES LLC                         VENDOR                                  LEASE SCH #001 6710850 507                              2/1/16             1/31/20            NA
   2.112   DELL FINANCIAL SERVICES LLC                         VENDOR                                  LEASE SCH #001 6710850 508                              4/1/16             3/31/20            NA
   2.113   DELL FINANCIAL SERVICES LLC                         VENDOR                                  LEASE SCH #001 6710850 509                              5/1/16             4/30/20            NA
   2.114   DELL FINANCIAL SERVICES LLC                         VENDOR                                  LEASE SCH #001 6710850 511                              6/1/16             5/31/20            NA
   2.115   DELL FINANCIAL SERVICES LLC                         VENDOR                                  LEASE SCH #001 6710850 510                              6/1/16             5/31/20            NA
   2.116   DELL FINANCIAL SERVICES LLC                         VENDOR                                  LEASE SCH #001 6710850 515                             11/1/16           10/31/20             NA
   2.117   DELL FINANCIAL SERVICES LLC                         VENDOR                                  LEASE SCH #001 6710850 516                             12/1/16             12/1/20            NA
                                                                                                       AMDT TO ENGAGEMENT LTR 2014 (AND W/ MEDIA
   2.118 DELOITTE & TOUCHE LLP                                 VENDOR                                  RATING COUNCIL (MRC)                                 10/15/16                 N/A            NA
   2.119 DESIGN RAILS, INC.                                    VENDOR                                  SAAS SRVS ORDER                                       5/10/17                 N/A            NA
   2.120 DICOM, INC.                                           CUSTOMER                                AMDT1 TO DSP WK ORDER                                 1/22/18                 N/A            NA
                                                                                                       ADDM2 CHOICE TOOLS (TO ICON CERT. AGMT
   2.121   DIGITAL ADVERTISING ALLIANCE                        VENDOR                                  2011)                                                 5/15/15              5/14/16           NA
   2.122   DIGITAL ENVOY                                       VENDOR                                  LIC AGMT 2011                                         4/11/11              6/10/12           NA
   2.123   DISCOVER PRODUCTS INC.                              CUSTOMER                                AMDT2 TO SOW                                          3/20/18                  N/A           NA
   2.124   DLA PIPER PRAGUE LLP                                VENDOR                                  ENGAGEMENT LTR - LEGAL SRVS                           2/15/17                  N/A           NA
   2.125   DOUBLECLICK                                         VENDOR                                  AD EXCHANGE SRV AGMT                                  1/28/10                  N/A           NA
   2.126   DOUBLECLICK                                         VENDOR                                  PUBLISHER PAID ADVERTSING PLATFORM AGMT                2/6/14               2/5/16           NA
   2.127   DOUBLECLICK                                         VENDOR                                  GHOSTBUSTERS ADDM (GOOGLE DOUBLECLICK)                 8/1/16                  N/A           NA
   2.128   DOUBLEVERIFY, INC.                                  VENDOR                                  ADDM1 TO MSA (APPNEXUS)                                4/4/15                  N/A           NA
   2.129   DOUBLEVERIFY, INC.                                  VENDOR                                  ADDM2 TO MSA                                           7/1/16                  N/A           NA
   2.130   DOUBLEVERIFY, INC.                                  VENDOR                                  PRODUCT INTEGRATION AGMT                               9/1/17              8/31/18           NA
   2.131   DOUBLEVERIFY, INC.                                  VENDOR                                  AMDT1 TO PRODUCT INTEGRATION AGMT 2017                 4/1/19                  N/A           NA
   2.132   EAST AGILE LIMITED                                  VENDOR                                  WK ORDER1                                             2/18/13                  N/A           NA
   2.133   EAST AGILE LIMITED                                  VENDOR                                  WK ORDER2                                              2/1/14                  N/A           NA
   2.134   ELASTICSEARCH, INC.                                 VENDOR                                  SUPPORT SERVICE AGMT                                 10/24/14                  N/A           NA
   2.135   EMBARCADERO TECHNOLOGIES, INC.                      VENDOR                                  ASSIGNMENT AGMT (SOFTWARE LICENSE                     10/8/15                  N/A           NA
   2.136   EMX DIGITAL, LLC                                    CUSTOMER                                DSP WK ORDER                                          9/20/18                  N/A           NA
   2.137   EQUINIX LLC                                         VENDOR                                  AMDT1 S148314 TO ORDER S145567 (SV2)                  12/9/14                  N/A           NA
   2.138   EQUINIX LLC                                         VENDOR                                  ORDER S145567 (SV2)                                    1/6/15                  N/A           NA
   2.139   EQUINIX LLC                                         VENDOR                                  AMDT2 S148926 TO ORDER S145567 (SV2)                  2/11/15                  N/A           NA
                                                                                                       WAIVER & CONSENT (ACCESS HARDWARE, W/
   2.140   EQUINIX LLC                                         VENDOR                                  DATA SALES)                                          10/13/15                 N/A            NA
   2.141   EQUINIX LLC                                         VENDOR                                  ORDER1-26068769887 (DC6)                              11/1/15                 N/A            NA
   2.142   EQUINIX LLC                                         VENDOR                                  ORDER1-25919649321 (DC6)                              11/1/15                 N/A            NA
   2.143   EQUINIX LLC                                         VENDOR                                  ORDER 1-46627259656 (DC6)                              6/1/16                 N/A            NA
   2.144   EQUINIX LLC                                         VENDOR                                  ORDER 1-46627592065 (NY7) (SV2)                        6/1/16                 N/A            NA
   2.145   EQUINIX LLC                                         VENDOR                                  ORDER 1-43027986060 (LA3)                             6/28/16                 N/A            NA
   2.146   EQUINIX LLC                                         VENDOR                                  ORDER SV2 (1 59745122999                              10/1/16                 N/A            NA
   2.147   EQUINIX LLC                                         VENDOR                                  NOVATION AGMT (X+1)                                  10/11/16                 N/A            NA
   2.148   EQUINIX LLC                                         VENDOR                                  NOVATION AGMT (X+1)                                   11/8/16                 N/A            NA
   2.149   EQUINIX LLC                                         VENDOR                                  SERVICE ORDER LA3 1-76114696253                        1/1/17                 N/A            NA
   2.150   EQUINIX LLC                                         VENDOR                                  SRV ORDER 1-91293391081 (DC6)                          2/1/17                 N/A            NA
   2.151   EQUINIX LLC                                         VENDOR                                  ORDER SV2 (1 91383417403)                              2/1/17                 N/A            NA
                                                                                                       MASTER COUNTRY AGMT (MCA) THE
   2.152   EQUINIX LLC                                         VENDOR                                  NETHERLANDS                                            4/20/17                N/A            NA
   2.153   EQUINIX LLC                                         VENDOR                                  ORDER NY7 (1-92253556501)                              4/28/17                N/A            NA
   2.154   EQUINIX LLC                                         VENDOR                                  NY7 HEAT CONTAINMENT (ONE-TIME CHARGE)                 4/28/17                N/A            NA
   2.155   EQUINIX LLC                                         VENDOR                                  ORDER NY7 (1-100211615443)                              5/1/17                N/A            NA
   2.156   EQUINIX LLC                                         VENDOR                                  ORDER NY7 (1-96805406959)                               6/1/17                N/A            NA
   2.157   EQUINIX LLC                                         VENDOR                                  WAIVER & CONSENT (NJ, W/ NFS)                          6/29/17                N/A            NA
                                                                                                       ORDER 1-115317706544 (FR7) FRANKFURT,
   2.158   EQUINIX LLC                                         VENDOR                                  GERMANY                                               9/25/17                 N/A            NA
   2.159   EQUINIX LLC                                         VENDOR                                  ORDER 1-115941830527 SV2                             10/30/17                 N/A            NA
   2.160   EQUINIX LLC                                         VENDOR                                  ORDER 1-115942983506 LA3                             10/30/17                 N/A            NA
   2.161   EQUINIX LLC                                         VENDOR                                  ORDER 1-119239183253 (SINGAPORE)                     11/15/17                 N/A            NA
   2.162   EQUINIX LLC                                         VENDOR                                  AMDT1 1130072661743 TO 115941830527                    6/1/18                 N/A            NA
                                                                                                       NOVATION AGMT #00104966.0 (NY SITE FROM
   2.163   EQUINIX LLC                                         VENDOR                                  PEER39 TO SIZMEK)                                       7/1/18                 N/A           NA
   2.164   EQUINIX LLC                                         VENDOR                                  ORDER 1-165175063031 (LA3)                              8/8/18                 N/A           NA
   2.165   EQUINIX LLC                                         VENDOR                                  ORDER 1-164226990314 (DC6)                              9/1/18             8/31/20           NA
   2.166   EQUINIX LLC                                         VENDOR                                  ORDER 1-168217679148 (DC6)                             9/18/18                 N/A           NA
   2.167   EQUINIX LLC                                         VENDOR                                  ORDER 1-155535332514 (LA3 DRAW CAP)                    10/1/18                 N/A           NA
                                                                                                       ORDER 1-170807459409 (LA3) CAB & AC CIRCUIT
   2.168   EQUINIX LLC                                         VENDOR                                  ADD                                                  10/26/18                  N/A           NA
   2.169   EQUINIX LLC                                         VENDOR                                  ORDER 1 181940975412 (FRANKFURT)                       2/1/19                  N/A           NA
   2.170   EQUINIX LLC                                         VENDOR                                  ORDER 1-173091888062                                   3/1/19                  N/A           NA
   2.171   ETRADE FINANCIAL CORPORATE SERVICES, INC.           VENDOR                                  AMDT1 TO STOCK PLAN SRVS AGMT                          1/3/17               1/9/20           NA
   2.172   ETRADE FINANCIAL CORPORATE SERVICES, INC.           VENDOR                                  AMDT2 TO STOCK PLAN SRVS AGMT                         9/25/18               1/9/20           NA
   2.173   EUROPEAN INTERACTIVE DIGITAL ADVERTISING ALLIANCE   VENDOR                                  OBA ICON AGMT                                         4/18/13              4/17/14           NA
   2.174   EUROPEAN INTERACTIVE DIGITAL ADVERTISING ALLIANCE   VENDOR                                  ONLINE CHOICES AGMT                                   4/18/13              4/17/14           NA
   2.175   EXELATE, INC.                                       VENDOR                                  ADDM3                                                  8/1/14              7/31/15           NA
   2.176   EXELATE, INC.                                       VENDOR                                  ADDM5 (NIELSEN BUYER)                                 1/13/15               6/1/16           NA
   2.177   EXPERIAN MARKETING SOLUTIONS, INC.                  VENDOR                                  SCH1 TO DATA SRV AGMT 2014 03 28                      3/26/14              3/25/15           NA
   2.178   EXPERIAN MARKETING SOLUTIONS, INC.                  VENDOR                                  DATA SRV AGMT 2014 03 28                              3/28/14              3/27/15           NA
   2.179   EXPERIAN MARKETING SOLUTIONS, INC.                  VENDOR                                  AMDT1 TO DATA SRV AGMT 2014 03 28                     7/30/14              3/25/15           NA
   2.180   EYEOTA PTE LTD.                                     VENDOR                                  VENDOR - IO | LICENSED DATA                           11/1/15                  N/A           NA
   2.181   FACEBOOK (ATLAS)                                    VENDOR                                  NETWORK AGMT                                           8/1/13                  N/A           NA
   2.182   FACEBOOK, INC.                                      VENDOR                                  ADVERTISING SRVS AGMT                                 7/29/12              7/28/13           NA
   2.183   FASHION MEDIA INC.                                  CUSTOMER                                SS DSP ORDER                                          11/1/18                  N/A           NA
   2.184   FHE3 GMBH                                           VENDOR                                  CONSULT AGMT                                          9/20/18             12/31/20           NA
                                                                                                       VENDOR: CONSULT AGMT & WK ORDER1
   2.185   FIRE ESCAPE PARTNERS, INC.                          VENDOR                                  (PRIVACY ISSUES)                                        6/9/14              7/9/14           NA
   2.186   FORENSIQ, LLC                                       VENDOR                                  T&C (CLICK THRU)                                       11/1/14            10/31/15           NA
   2.187   FORRESTER RESEARCH, INC.                            VENDOR                                  MSA                                                    5/31/11                 N/A           NA
   2.188   GARIC, INC.                                         VENDOR                                  MASTER LEASE AGMT (#2135)                               6/8/17              6/7/20           NA
   2.189   GARIC, INC.                                         VENDOR                                  SCH1 & SCH2 TO MASTER LEASE                             6/8/17              6/7/20           NA
   2.190   GENIEE INTERNATIONAL PTE., LTD.                     VENDOR                                  RTB AGMT                                               7/23/15                 N/A           NA




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                                                                                                                                                                                                 List Contract Number
                                                                       Description of Contract or Lease and                                              Date of Contract                         of Any Government
                               Contract Counterparty                       Nature of Debtor's Interest                             Detail                   or Lease         Remaining Term            Contract
   2.191   GLOBAL NEW MEDIA LLC (DBA: BLUE ALLEN)                     CUSTOMER                                SS DSP ORDER                                         1/1/19                  N/A            NA
   2.192   GODADDY.COM, LLC                                           VENDOR                                  INV FOR DOMAINS & T&CS (ROCKETSCIENCEADS)           2/17/17                  N/A            NA
   2.193   GOOGLE, INC.                                               VENDOR                                  THIRD PARTY SERVING                                 7/23/14                  N/A            NA
   2.194   GOOGLE, INC.                                               VENDOR                                  MSA FLEXIBLE DEMAND                                 12/1/14            11/30/15             NA
   2.195   GOOGLE, INC.                                               VENDOR                                  TAG MANAGER (CLICKTHRU)                              8/3/17                  N/A            NA
   2.196   H2O MEDIA INC.                                             CUSTOMER                                MSA DSP                                             1/15/18                  N/A            NA
   2.197   H2O MEDIA INC.                                             CUSTOMER                                PMP DSP WK ORDER                                    1/15/18                  N/A            NA
   2.198   HEALTHPRICER INTERACTIVE LIMITED (AKA ADACADO)             VENDOR                                  PLATFORM INTEGRATION AGMT                           8/23/11              8/22/14            NA
   2.199   HEALTHY OFFERS, INC.                                       VENDOR                                  DATABASE LIC AGMT                                   1/15/14              1/14/15            NA
   2.200   HENKEL CORPORATION                                         CUSTOMER                                DMP, DSP ORDER                                       3/1/19              2/29/20            NA
   2.201   HUNTINGTON TECHNOLOGY FINANCE, INC.                        VENDOR                                  PROPOSAL EQUIPMENT LEASE                            12/5/16               9/4/19            NA
   2.202   I-BEHAVIOR, INC. (ACQUIRED BY KBM GROUP)                   VENDOR                                  DISTRIBUTION AGMT                                   9/14/12              9/13/13            NA
   2.203   IMW AGENCY                                                 CUSTOMER                                MSA DSP                                             2/15/18                  N/A            NA
   2.204   IMW AGENCY                                                 CUSTOMER                                PMP DSP WK ORDER                                    2/15/18                  N/A            NA
   2.205   INDATO DIGITAL S.R.L.                                      CUSTOMER                                MSA DSP, WK ORDER DSP                               1/30/18                  N/A            NA
   2.206   INDEX EXCHANGE (FKA CASALE MEDIA, INC.)                    VENDOR                                  AMDT1 TO RTB AGMT                                   3/16/18                  N/A            NA
   2.207   INDUSTRY INDEX                                             VENDOR                                  MSA (4 SURVEYS)                                     12/6/16                  N/A            NA
   2.208   INFLR ATIVIDADES DE INTERNET S.A.                          CUSTOMER                                SS DSP ORDER                                         3/1/19                  N/A            NA
   2.209   INFORMATICA LLC                                            VENDOR                                  LEASE AGMT (RFI 2000 SEAPORT, 4TH FL, RWC)           1/2/16              3/31/20            NA
   2.210   INFORMATICIA LLC                                           LEASE (REAL PROP)                       LEASE - REDWOOD CITY                                 1/2/17              4/30/20            NA
   2.211   INNOVID, INC.                                              VENDOR                                  PUBLISHER AGMT                                       3/7/12               3/6/13            NA
   2.212   INTEGRAL AD SCIENCE UK LTD.                                VENDOR                                  MSA (VENDOR TRIAL)                                   8/6/15               9/6/15            NA
   2.213   INTEGRAL AD SCIENCE UK LTD.                                VENDOR                                  MSA                                                11/18/15            11/17/16             NA
   2.214   INTEGRAL AD SCIENCE UK LTD.                                VENDOR                                  MSA (EMEA FIXED)                                     4/1/16              3/31/17            NA
   2.215   INTEGRAL AD SCIENCE, INC.                                  VENDOR                                  MSA (BOT IDENTIFIER)                                4/29/16              4/28/17            NA
   2.216   INTEGRAL AD SCIENCE, INC.                                  VENDOR                                  WK ORDER1 TO MSA                                    4/29/16              4/28/17            NA
   2.217   INTEGRAL AD SCIENCE, INC.                                  VENDOR                                  AMDT2 TO WK ORDER3 TO MSA                           8/29/17              8/17/18            NA
   2.218   INTERNAP CORPORATION                                       VENDOR                                  SERVICE ORDER FOR COLOCATION SERVICES                1/6/17                  N/A            NA
   2.219   INTERNAP CORPORATION                                       VENDOR                                  SRV ORDER                                          10/19/17                  N/A            NA
   2.220   INTERNAP CORPORATION                                       VENDOR                                  ORDER                                              11/16/17                  N/A            NA
   2.221   INTERNAP CORPORATION                                       VENDOR                                  ORDER                                              11/27/17                  N/A            NA
                                                                                                              DEMO AGMT (IBM UBX ACCESS) (SILVERPOP
   2.222 INTERNATIONAL BUSINESS MACHINES CORPORATION (IBM)            VENDOR                                  SYSTEMS, INC.)                                      3/25/16                 N/A            NA
                                                                                                              INTEGRATION AGMT (IBM UBX ACCESS)
   2.223 INTERNATIONAL BUSINESS MACHINES CORPORATION (IBM)            VENDOR                                  (SILVERPOP SYSTEMS, INC.)                           3/25/16              3/24/17           NA
   2.224 INTERNATIONAL BUSINESS MACHINES CORPORATION (IBM)            VENDOR                                  TRANSACTION DOC#01                                   3/3/17                  N/A           NA
   2.225 INTERNATIONAL BUSINESS MACHINES CORPORATION (IBM)            VENDOR                                  EMBEDDED SOLUTION AGMT (WATSON)                      3/3/17                  N/A           NA
                                                                                                              ATTACHMENT FOR CLOUD SERVICES TO THE
   2.226   INTERNATIONAL BUSINESS MACHINES CORPORATION (IBM)          VENDOR                                  EMBEDDED SOLUTION AGMT                               3/3/17                  N/A           NA
   2.227   INTERVIEWSTREET INCORPORATION (DBA HACKERRANK)             VENDOR                                  SLA                                                 5/22/15                 Yes            NA
   2.228   IPONWEB HOLDING LIMITED (AKA BIDSWITCH)                    VENDOR                                  BIDSWITCH DSP TRADING AGREEMENT                    11/23/16             11/22/17           NA
   2.229   IQUANTI, INC.                                              CUSTOMER                                ADSERVING, SS DSP ORDER                              2/1/19                  N/A           NA
   2.230   IRON MOUNTAIN INFORMATION MANAGEMENT, LLC                  VENDOR                                  DATA MANAGEMENT                                     2/15/16                  N/A           NA
   2.231   JOBVITE, INC.                                              VENDOR                                  MSA                                                 9/30/10                  N/A           NA
   2.232   JPMORGAN CHASE                                             CUSTOMER                                MSA                                                 9/14/09                  N/A           NA
                                                                                                              AMDT2 CW 830276 EXTENDS SCHEDULE
   2.233 JPMORGAN CHASE                                               CUSTOMER                                CW732383                                             1/1/17                 N/A            NA
   2.234 JPMORGAN CHASE                                               CUSTOMER                                AMDT3 TO CW732383                                   3/20/18                 N/A            NA
   2.235 JW PLAYER                                                    VENDOR                                  ORDER 2017 (DSP VIDEO PLAYBACK)                    12/28/16                 N/A            NA
                                                                                                              SOLE LETTING RIGHTS AGMT (TO SUBLEASE A
   2.236   KNIGHT FRANK LLP                                           VENDOR                                  FLOOR 34 BOW ST, LONDON)                             9/6/16                  N/A           NA
   2.237   KOI AMERICAS LLC                                           CUSTOMER                                SS DSP ORDER                                         2/1/19                  N/A           NA
   2.238   KROLL ONTRACK                                              VENDOR                                  SOW1 DISCOVERY SRVS                                 1/20/15                  N/A           NA
   2.239   KRT MARKETING, INC.                                        CUSTOMER                                SS DSP ORDER                                         2/1/19                  N/A           NA
   2.240   LARKIN BENEFIT ADMINISTRATORS (DBA THE LARKIN CO.)         VENDOR                                  HR SRV AGMT                                        10/16/13             10/15/15           NA
   2.241   LATINFORCE GROUP LLC (DBA GEOSCAPE GROUP, LLC)             VENDOR                                  DATA END USER AGMT                                  3/19/13                  N/A           NA
                                                                                                              MSA SLA (SUBSCRIPTION SRVS AGMT MUSIC
   2.242   LINKFIRE APS                                               VENDOR                                  LINKS)                                              5/16/16              8/15/16           NA
   2.243   LIVERAIL, INC.                                             VENDOR                                  MSA                                                12/14/15             12/13/16           NA
   2.244   LIVERAIL, INC.                                             VENDOR                                  SCH C RTB SRV TO MSA 2015 12 14                    12/14/15                  N/A           NA
   2.245   LIVERAMP                                                   VENDOR                                  REFERRAL AGMT                                       1/30/14              1/29/15           NA
   2.246   LIVERAMP                                                   VENDOR                                  DATA SYNDICATION SRV PROVIDER AGMT                  3/25/15              3/24/16           NA
   2.247   LIVERAMP                                                   VENDOR                                  AMDT1 TO DATA SYNDICATION                           3/31/17                  N/A           NA
   2.248   LKQD TECHNOLOGIES, INC.                                    VENDOR                                  RTB AGMT                                            6/13/17              6/12/18           NA
   2.249   LOHIKA SYSTEMS, INC.                                       VENDOR                                  CONSULT AGMT                                        9/30/14                  N/A           NA
   2.250   M&R STRATEGIC SERVICES, INC.                               CUSTOMER                                ADMT1                                               1/29/18                  N/A           NA
   2.251   M&R STRATEGIC SERVICES, INC.                               CUSTOMER                                AMDT2 TO SOW DMP                                     8/1/18              7/31/19           NA
   2.252   MAINTENANCE ONE, INC.                                      VENDOR                                  MAINTENANCE AGMT (SONO)                             10/8/14              10/7/15           NA
   2.253   MANDUKA LLC - SUBTENANT                                    LEASE (REAL PROP)                       LEASE (SUBTENANT) - EL SEGUNDO                       6/1/15              5/31/19           NA
   2.254   MANTA MEDIA, INC.                                          CUSTOMER                                SS DSP ORDER                                        11/1/18                  N/A           NA
   2.255   MARKETSHARE PARTNERS, LLC                                  VENDOR                                  DATA AGMT                                           5/13/14              5/12/15           NA
   2.256   MASTERCARD INTERNATIONAL INCORPORATED                      VENDOR                                  T&C                                                11/14/14             11/13/16           NA
   2.257   MEDIA.NET ADVERTISING FZ-LLC                               VENDOR                                  RTB AGMT                                           10/16/17             10/15/18           NA
   2.258   MEDIAOCEAN, LLC                                            VENDOR                                  CONNECT PARTNER INTEGRATION AGMT                   10/21/16             10/20/21           NA
   2.259   MEDIAOCEAN, LLC                                            VENDOR                                  AMDT1 CONNECT PARTNER INTEGRATION AGMT              2/28/17                  N/A           NA
   2.260   MEDIASURFER INC.                                           CUSTOMER                                SS DSP                                             11/30/18                  N/A           NA
   2.261   METROPOLITAN CLEANING, LLC                                 VENDOR                                  CLEANING AGMT                                        1/1/17                  N/A           NA
   2.262   MGAD, LLC (DBA MYTHIC)                                     VENDOR                                  SOW1 (MRKTING MATERIALS)                            3/14/16                  N/A           NA
   2.263   MGAD, LLC (DBA MYTHIC)                                     VENDOR                                  CONSULTING AGMT                                      4/1/16                  N/A           NA
   2.264   MICROSOFT ONLINE, INC.                                     VENDOR                                  PARTNER NETWORK AGMT                                1/21/09                  N/A           NA
   2.265   MICROSOFT ONLINE, INC.                                     VENDOR                                  PARTNER NETWORK AGMT (EUROPE)                       7/14/11                  N/A           NA
   2.266   MILESTONE INTEGRATED MARKETING INC.                        CUSTOMER                                ADSERVING, MANAGED DSP                              11/1/18                  N/A           NA
   2.267   MILLWARD BROWN DIGITAL, INC.                               VENDOR                                  SOFWARE LIC AGMT (DYNAMIC LOGIC)                    9/28/16                  N/A           NA
           MINDSPARK INTERACTIVE NETWORK, INC. (AND ITS AFFILIATE
   2.268   IAC SEARCH & MEDIA EUROPE, LTD.)                           CUSTOMER                                PMP DSP WK ORDER                                      6/1/18                N/A            NA
           MINDSPARK INTERACTIVE NETWORK, INC. (AND ITS AFFILIATE
   2.269   IAC SEARCH & MEDIA EUROPE, LTD.)                           CUSTOMER                                MSA DSP DMP                                           6/1/18                 N/A           NA
   2.270   MORGAN & MORGAN, P.A.                                      CUSTOMER                                MSA DSP                                              2/21/18                 N/A           NA
   2.271   MORGAN & MORGAN, P.A.                                      CUSTOMER                                PMP DSP WK ORDER                                     2/21/18                 N/A           NA
   2.272   MORNINGSTAR REAL-TIME DATA LIMITED                         VENDOR                                  ORDER1                                                5/6/14              5/5/15           NA
   2.273   MORNINGSTAR REAL-TIME DATA LIMITED                         VENDOR                                  T&C FOR LIC & SRV                                    12/1/14            11/30/15           NA
   2.274   MORPHE, LLC                                                VENDOR                                  LTR OF CREDIT                                        5/18/17                 N/A           NA
   2.275   NC VENTURES, LLC (DBA NIELSEN CATALINA SOLUTIONS)          VENDOR                                  AMDT7 (FOR A CADREON CAMPAIGN)                       9/27/16            12/31/16           NA
   2.276   NEUTRAL TANDEM, INC. (DBA INTELIQUENT) (FKA TINET (GTT))   VENDOR                                  SPA ORDER                                             4/6/12                 N/A           NA
   2.277   NEUTRAL TANDEM, INC. (DBA INTELIQUENT) (FKA TINET (GTT))   VENDOR                                  ORDER 448792 LAS VEGAS, WAVELENGTH                   5/27/17             5/26/19           NA
   2.278   NEUTRAL TANDEM, INC. (DBA INTELIQUENT) (FKA TINET (GTT))   VENDOR                                  ORDER 448966 LAS VEGAS, WAVELENGTH                   5/27/17             5/26/19           NA
                                                                                                              LTR OF ENGAGEMENT (INCENTIVE CONSULT
   2.279   NEW YORK GRANT COMPANY                                     VENDOR                                  SRVS) 195 BROADWAY, NY)                              6/17/16                 N/A           NA
   2.280   NEWMARK GRUBB KNIGHT FRANK                                 VENDOR                                  LOI (100 W. 33RD, NY) RFI & IPG SUB-LEASE           10/20/15             3/30/25           NA
   2.281   NFS LEASING - COLOCATION WAIVER (INTERNAP)                 VENDOR                                  EQUIPMENT LEASE AGMT (SERVERS)                       1/26/17             1/25/20           NA
   2.282   NFS LEASING - COLOCATION WAIVER (INTERNAP)                 VENDOR                                  MASTER EQUIPMENT LEASE AGMT (SERVERS)                1/31/17                 N/A           NA
   2.283   NFS LEASING - COLOCATION WAIVER (INTERNAP)                 VENDOR                                  AMDT1 TO MSA (SERVERS)                               7/11/17                 N/A           NA
   2.284   NICKEL MEDIA INC.                                          CUSTOMER                                COMBO ORDER                                           1/1/19                 N/A           NA




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                                                                                                                                                                                        List Contract Number
                                                                Description of Contract or Lease and                                              Date of Contract                       of Any Government
                              Contract Counterparty                 Nature of Debtor's Interest                            Detail                    or Lease        Remaining Term           Contract
                                                                                                       LOCATION CONVERSION INDEX (LCI) LIMITED
   2.285   NINTHDECIMAL, INC.                                  VENDOR                                  LICENSE AGMT                                      11/24/15            11/23/16           NA
   2.286   NINTHDECIMAL, INC.                                  VENDOR                                  AMDT2 TO LCI AGMT                                  8/31/16                 N/A           NA
   2.287   NITEL INC - SUBTENANT                               LEASE (REAL PROP)                       LEASE (SUBTENANT) - CHICAGO                         4/1/17             6/30/21           NA
   2.288   NTT AMERICA, INC.                                   VENDOR                                  GLOBAL IP NETWORK                                  10/2/12                 N/A           NA
   2.289   NTT AMERICA, INC.                                   VENDOR                                  ORDER RENEWAL (HONG KONG)                         10/14/16                 N/A           NA
   2.290   NTT AMERICA, INC.                                   VENDOR                                  GUARANTY                                           3/11/19             3/10/20           NA
   2.291   NTT AMERICA, INC.                                   VENDOR                                  ORDER (SINGAPORE)                                  3/11/19             3/10/20           NA
   2.292   NTT AMERICA, INC.                                   VENDOR                                  ORDER (TOKYO)                                      3/11/19             3/10/20           NA
   2.293   NTT AMERICA, INC.                                   VENDOR                                  ORDER (HONG KONG)                                  3/11/19             3/10/20           NA
   2.294   OFF BASE                                            CUSTOMER                                MSA DSP                                             2/1/18                 N/A           NA
   2.295   OFF BASE                                            CUSTOMER                                PMP DSP WK ORDER                                    2/1/18                 N/A           NA
   2.296   OFFICE OF EXPERIENCE, LLC                           CUSTOMER                                SS DSP ORDER                                        3/1/19                 N/A           NA
   2.297   OMNICON MEDIA GROUP HOLDINGS INC.                   CUSTOMER                                MSA DSP DMP                                        7/15/17                 N/A           NA
   2.298   OPENX TECHNOLOGIES, INC.                            VENDOR                                  EXCHANGE AGMT                                     10/28/14                 N/A           NA
                                                                                                       OPENX MARKET JAPAN SERVICE USE AGMT -
   2.299   OPENX TECHNOLOGIES, INC.                            VENDOR                                  DEMAND SERVICE                                   7/28/2015                 N/A           NA
   2.300   OPERA MEDIAWORKS ADVERTISING XCHANGE, INC.          VENDOR                                  OMAX RTB AD EXCHANGE AGMT                            3/8/16                N/A           NA
   2.301   OPSGENIE, INC.                                      VENDOR                                  ORDER (OGA1018 624) 65 USERS                        1/31/19            1/30/20           NA
   2.302   ORACLE (FKA NETSUITE, INC.)                         VENDOR                                  SOFTWARE LIC.                                        6/1/17                N/A           NA
   2.303   ORACLE (MOAT, INC.)                                 VENDOR                                  MSA (3 LICENSES)                                    3/31/15                N/A           NA
   2.304   ORACLE (MOAT, INC.)                                 VENDOR                                  MSA (ANALYTICS/IMPRESSIONS)                       11/14/15                 N/A           NA
   2.305   ORACLE AMERICA, INC.                                VENDOR                                  DATA USE AGMT (FKA BLUEKAI)                         7/30/15            7/29/16           NA
   2.306   ORACLE AMERICA, INC.                                VENDOR                                  CLOUD ORDER (FKA BLUEKAI)                           7/30/15            6/30/16           NA
   2.307   ORACLE AMERICA, INC.                                VENDOR                                  SUPPLIER DATA PROCESSING AGMT                        5/6/16                N/A           NA
   2.308   ORACLE AMERICA, INC.                                VENDOR                                  PARTNER NETWORK AGMT (& 3 QS)                        5/8/17             5/7/19           NA
                                                                                                       MEDIA AGMT (FOR UNIVERSAL MCCANN FOR
   2.309 ORION WORLDWIDE LLC                                   CUSTOMER                                MEDC) #N289                                         4/1/18                 N/A           NA
   2.310 OSBORNE CLARKE                                        VENDOR                                  ENGAGEMENT LTR & APPX                             12/20/10                 N/A           NA
   2.311 PAGERDUTY, INC.                                       VENDOR                                  SRV TERMS                                          5/16/16                 N/A           NA
   2.312 PAGERDUTY, INC.                                       VENDOR                                  USER ORDER (RENEWAL) (150 USERS)                   8/19/17                 N/A           NA
   2.313 PAPAYA GROUP CO LIMITED                               CUSTOMER                                SS DSP ORDER                                        3/1/19                 N/A           NA
   2.314 PEER STREET INC - SUBTENANT                           LEASE (REAL PROP)                       LEASE (SUBTENANT) - EL SEGUNDO                      3/8/17            12/31/22           NA
   2.315 PEER STREET INC - SUBTENANT                           LEASE (REAL PROP)                       LEASE (SUBTENANT) - EL SEGUNDO                      6/1/19            12/31/22           NA
   2.316 PENGUIN MAINTENANCE & SERVICE                         VENDOR                                  AMDT1 TO MAINT AGMT                                 4/6/15              4/5/16           NA
   2.317 PLACED, INC.                                          VENDOR                                  DATA AGMT                                         12/19/13            12/18/14           NA
   2.318 PLACEMEDIA, INC.                                      VENDOR                                  AMDT1 TO PLACEMEDIA DSP AGMT                       8/22/17             8/21/18           NA
   2.319 PREDICTIVE POP, INC. (DBA: AUDIGENT)                  VENDOR                                  DATA SUPPLIER AGMT                                 3/12/19             3/11/20           NA
   2.320 PUBLICIS MEDIA, INC.                                  CUSTOMER                                AMDT7 TO EXTEND DSP                                 2/5/19             6/30/19           NA
   2.321 PUBMATIC, INC.                                        VENDOR                                  API ACCESS ORDER/T&C                                7/1/09             6/30/10           NA
   2.322 PUBMATIC, INC.                                        VENDOR                                  DEMAND PARTNER AGMT                                5/23/12             5/22/14           NA
   2.323 PUBMATIC, INC.                                        VENDOR                                  SRV ORDER                                          8/19/14             8/18/15           NA
   2.324 PUBMATIC, INC.                                        VENDOR                                  AMDT1 TO DEMAND PARTNER AGMT                       4/27/17                 N/A           NA
   2.325 PUBMATIC, INC.                                        VENDOR                                  AMDT3 TO DEMAND PARTNER AGMT                        1/1/18                 N/A           NA
   2.326 PUBMATIC, INC.                                        VENDOR                                  SPEND INCENTIVE AGMT                               5/24/18                 N/A           NA
   2.327 PUBMATIC, INC.                                        VENDOR                                  AMDT4 TO DEMAND PARTNER AGMT                       1/23/19                 N/A           NA
   2.328 PULSEPOINT, INC.                                      VENDOR                                  RTB AGMT (MEDIA BUYERS)                            9/19/16             9/18/17           NA
   2.329 PULSEPOINT, INC.                                      VENDOR                                  ADDM1 TO RTB                                       7/30/18                 N/A           NA
   2.330 QUANTCAST CORPORATION                                 VENDOR                                  PIXEL USE AGMT                                     5/12/14             5/11/15           NA
   2.331 RESEARCH NOW GROUP, INC.                              VENDOR                                  ORDER2 (APPEND ITALY & US)                          4/7/15            12/31/15           NA
   2.332 RHYTHMONE, LLC                                        VENDOR                                  RTB AGMT (MEDIA BUYERS)                            10/5/16             10/4/17           NA
   2.333 RINGLEAD, INC.                                        VENDOR                                  ORDER (RENEWAL)                                    4/28/17             4/27/19           NA
   2.334 RISKIQ, INC.                                          VENDOR                                  ORDER3 (RENEWAL)                                   9/17/17             9/16/18           NA
   2.335 S&P GLOBAL INC.                                       CUSTOMER                                SS DSP ORDER                                        2/1/19             1/31/20           NA
   2.336 SALESFORCE.COM, INC.                                  VENDOR                                  MSA                                                1/31/13                 N/A           NA
   2.337 SIGNAL DIGITAL, INC.                                  VENDOR                                  PARTNER AGMT (AD SERVER)                            3/7/15              3/6/16           NA
   2.338 SIMPLICITY MARKETING (DBA FLASHTALKING, INC.)         VENDOR                                  VENDOR SRVS                                       11/19/12            11/18/13           NA
   2.339 SMAATO, INC.                                          VENDOR                                  ADVERTISING MSA DSP                                 5/3/13              5/2/15           NA
         SMART REACH DIGITAL, LLC (A SUBSIDIARY OF ENTERCOM
         COMMUNICATIONS CORP) (FKA CBS LOCAL DIGITAL MEDIA
   2.340 (DIVISION OF CBS RADIO INC.)                          CUSTOMER                                AMDT1 TO SOW DSP & ASSIGNMENT                       1/25/18               N/A            NA
   2.341 SNAP INC.                                             VENDOR                                  API T&C (CLICK-THRU) SNAPCHAT                       5/15/17               N/A            NA
                                                                                                       AUDIENCE MATCH PROGRAM T&C (CLICK-THRU)
   2.342   SNAP INC.                                           VENDOR                                  SNAPCHAT                                            5/15/17               N/A            NA
   2.343   SNAP INC.                                           VENDOR                                  PARTNERS T&C (CLICK-THRU)                           7/13/17               N/A            NA
   2.344   SNAPLOGIC, INC.                                     VENDOR                                  SOFTWARE SUBSCRIPTION AGMT                          4/30/14               N/A            NA
   2.345   SNAPLOGIC, INC.                                     VENDOR                                  RENEWAL                                             4/30/17               N/A            NA
   2.346   SONOBI, INC.                                        VENDOR                                  RTB SERVICES AGREEMENT                           8/23/2016                N/A            NA

   2.347 SOUNDCLOUD LIMITED                                    VENDOR                                  EU MODEL AGMT (CONTROLLER TO PROCESSOR)             7/26/16               N/A            NA
   2.348 SOUNDCLOUD LIMITED                                    VENDOR                                  SITE PIXEL & DATA USAGE AGMT                        7/26/16               N/A            NA
         SOVRN (FKA LIJITNETWORKS, INC. (FEDERATED MEDIA
   2.349 PUBLISHING)                                           VENDOR                                  BUYER SRVS EXHIBIT                                  4/11/12               N/A            NA
         SOVRN (FKA LIJITNETWORKS, INC. (FEDERATED MEDIA
   2.350 PUBLISHING)                                           VENDOR                                  MSA                                                 4/11/12               N/A            NA
         SOVRN (FKA LIJITNETWORKS, INC. (FEDERATED MEDIA                                               ADDM1 TO MSA (AD IMPRESSIONS DAILY
   2.351 PUBLISHING)                                           VENDOR                                  REPORTING)                                          4/1/13                 N/A           NA
   2.352 SPM MARKETING & COMMUNCIATIONS                        CUSTOMER                                MSA TRIAL SS DSP                                   2/15/19             5/14/19           NA
   2.353 SPOTXCHANGE, INC.                                     VENDOR                                  RTB AGMT                                          11/18/13                 N/A           NA
   2.354 SURVATA, INC.                                         CUSTOMER                                SS DSP ORDER                                       12/1/18                 N/A           NA
                                                                                                       CROSS CONNECT FORM: REQUEST FOR
                                                                                                       SUPERNAP TO INSTALL A CROSS CONNECT AT
                                                                                                       LSV. THIS IS FOR THE XO CIRCUIT MOVE TO
   2.355   SWITCH                                              VENDOR                                  ANOTHER CAGE (JIRA GC-8897)                        8/18/16                 N/A           NA
   2.356   SWITCH                                              VENDOR                                  SRV ORDER #R53508024P                              8/19/16                 N/A           NA
   2.357   SWITCH                                              VENDOR                                  SRV ORDER LAS VEGAS                               12/22/16            12/21/19           NA
   2.358   SWITCH                                              VENDOR                                  SRV ORDER R535-08-029-P, LAS VEGAS                 3/27/17                 N/A           NA
   2.359   SWITCH (AND, DATA SALES CO., INC.)                  VENDOR                                  COLOCATION FACILITY WAIVER - LAS VEGAS             3/25/16                 N/A           NA
                                                                                                       DEMAND CONNECTION AGMT (THIS COMPANY IS
                                                                                                       SUPPLY) DIFFERENT COMPANY FROM THE
   2.360   SWITCH CONCEPTS LTD.                                VENDOR                                  SWITCH/DATA                                       10/13/16            10/12/17           NA
   2.361   SYSTEM SOFT TECHNOLOGIES                            VENDOR                                  CONSULT AGMT (ENGINEERING)                          5/2/16                 N/A           NA
   2.362   SYSTEM SOFT TECHNOLOGIES LLC                        VENDOR                                  WK ORDER4                                           1/1/19             6/30/19           NA
   2.363   TABOOLA                                             VENDOR                                  RTB NATIVE EXCHANGE AGMT                          12/14/16            12/13/17           NA
   2.364   TARGET MARKETING & COMMUNICATIONS INC.              CUSTOMER                                ADSERVING, SS DSP ORDER                             1/1/19                 N/A           NA
   2.365   TECHSPACE GEARY, INC.                               LEASE (REAL PROP)                       LEASE - SAN FRANCISCO                               7/1/17             1/31/20           NA
   2.366   TELSTRA (PACNET)                                    VENDOR                                  BRIDGING AGREEMENT                                12/13/16                 N/A           NA
   2.367   TELSTRA (PACNET)                                    VENDOR                                  SERVICE ORDER - CROSS-CONNECT $450/MONTH           4/17/17                 N/A           NA
                                                                                                       SERVICE ORDER - 7 FOOTPRINTS DATA CENTER
   2.368   TELSTRA (PACNET)                                    VENDOR                                  SPACE AND POWER ($21K/MONTH)                        4/17/17                N/A           NA
   2.369   TELSTRA (PACNET)                                    VENDOR                                  SERVICE ORDER - IP TRANSIT ($5400/MO)               4/17/17                N/A           NA
   2.370   THALAMUS, INC.                                      CUSTOMER                                SAS, SS DSP ORDER                                    1/1/19                N/A           NA
   2.371   THE BASEMENT INC.                                   CUSTOMER                                MANAGED & SS DSP ORDER                               3/1/19                N/A           NA
   2.372   THE NIELSEN COMPANY (US), LLC                       VENDOR                                  AD EFFECTIVENESS MSA                                6/28/13            6/27/14           NA




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                                                                                                                                                                                                 List Contract Number
                                                                    Description of Contract or Lease and                                                 Date of Contract                         of Any Government
                            Contract Counterparty                       Nature of Debtor's Interest                             Detail                      or Lease        Remaining Term             Contract
   2.373   THE NIELSEN COMPANY (US), LLC                           VENDOR                                  SCH1 PTV                                                1/1/16           4/31/2017             NA
   2.374   THE NIELSEN COMPANY (US), LLC                           VENDOR                                  SRV AGMT                                                1/1/16           4/31/2017             NA
   2.375   THE NIELSEN COMPANY (US), LLC (NETRATINGS LLC)          VENDOR                                  OCR AGMT                                                1/8/13               1/7/14            NA
   2.376   THE RUBICON PROJECT, INC.                               VENDOR                                  RTB AGMT                                                5/1/12              4/30/13            NA
   2.377   THE RUBICON PROJECT, INC.                               VENDOR                                  AMDT3 API                                              3/18/16                  N/A            NA
   2.378   THE SHUBERT ORGANIZATION, INC.                          VENDOR                                  DATA ACCESS AGMT                                       6/12/14              6/11/15            NA
   2.379   THERMO FISHER SCIENTIFIC INC.                           CUSTOMER                                SOW2                                                   3/15/18                  N/A            NA
   2.380   TRANS UNION, LLC                                        VENDOR                                  CAMPAIGN MEASUREMENT LIC AGMT (CML)                    1/17/14              1/16/15            NA
   2.381   TRANS UNION, LLC                                        VENDOR                                  MSA                                                     5/1/15              4/30/16            NA
                                                                                                           SOW2 MSA 2015 05 01 & ADDM1 AGGREGATED
   2.382   TRANS UNION, LLC                                        VENDOR                                  CREDIT DATA SRVS                                     12/14/15             12/13/16            NA
   2.383   TREMOR VIDEO, INC.                                      VENDOR                                  RTB AGMT                                              11/1/13             10/31/14            NA
   2.384   TRINET                                                  VENDOR                                  MSA CANADA PAYROLL                                   11/16/11             11/15/12            NA
   2.385   TRUEFFECT, INC.                                         VENDOR                                  ORDER (AD SERVER)                                     10/7/16              10/6/17            NA
                                                                                                           LIC & SRV AGMT SRVS EXH 2015 05 06 (INTUIT
   2.386 TRUSIGNAL, INC.                                           VENDOR                                  POS)                                                    5/6/15               5/5/16           NA
   2.387 TRUSIGNAL, INC.                                           VENDOR                                  AMDT1 TO LIC & SRV AGMT                                 8/7/15               5/5/16           NA
                                                                                                           SRV AGMT (DSP, MOMENT SCORING ENGINE,
   2.388 TRUSIGNAL, INC.                                           VENDOR                                  TRUAUDIENCE PLATFORM)                                   6/1/16              5/31/17           NA
                                                                                                           DIGITAL ADVERTISING ASSURANCE PROVIDER
   2.389 TRUSTWORTHY ACCOUNTABILITY GROUP (TAG)                    VENDOR                                  AGMT                                                   2/10/16               2/9/17           NA
                                                                                                           CERTIFIED AGAINST FRAUD LIST CONTRIBUTOR
                                                                                                           AGMT (DOMAIN FRAUD THREAT LIST AND THE
   2.390 TRUSTWORTHY ACCOUNTABILITY GROUP (TAG)                    VENDOR                                  DATA CENTER IP LIST)                                   7/12/16             7/11/17            NA
   2.391 TRUSTWORTHY ACCOUNTABILITY GROUP (TAG)                    VENDOR                                  MEMBERSHIP AGMT                                         1/1/17            12/31/17            NA
                                                                                                           CERTIFIED AGAINST MALWARE Q1 2018 - OFFICER
   2.392   TRUSTWORTHY ACCOUNTABILITY GROUP (TAG)                  VENDOR                                  AND EXECUTIVE                                          4/30/18              4/29/19           NA
   2.393   TRUVANTIS, INC.                                         VENDOR                                  CONSULT AGMT (DICK HACKING)                             9/2/14                  N/A           NA
   2.394   TWITTER (MOPUB, INC.)                                   VENDOR                                  DEMAND DSP                                              4/2/13                  N/A           NA
   2.395   TWITTER, INC.                                           VENDOR                                  TAILORED AUDIENCES (WEB) AGMT                          5/15/14              5/14/15           NA
                                                                                                           FIRE AND INTRUSION SYSTEM (EAST LANSING
   2.396 TYCO INTEGRATED SECURITY LLC                              VENDOR                                  OFFICE)                                                4/20/17              4/19/19           NA
   2.397 TYCO INTEGRATED SECURITY LLC                              VENDOR                                  DOOR READER SYSTEM (EAST LANSING OFFICE)               5/15/17              5/14/19           NA
   2.398 UNITED SAMPLE, INC.                                       VENDOR                                  LIMITED LIC AGMT                                       1/26/15                  N/A           NA
                                                                                                           SCANII.COM - SOFTWARE FOR SECURITY PATCH
   2.399   UVA SOFTWARE, LLC                                       VENDOR                                  FOR CITI                                                2/7/17                 N/A            NA
   2.400   VEIRANO ADVOGADOS                                       VENDOR                                  ENGAGEMENT LTR (OUTSIDE COUNSEL)                       4/16/15                 N/A            NA
   2.401   VIANT US, LLC                                           CUSTOMER                                PMP DSP WK ORDER                                       3/13/18                 N/A            NA
   2.402   VIANT US, LLC                                           CUSTOMER                                MSA DSP                                                3/13/18                 N/A            NA
   2.403   VICE STUDIO CANADA INC.                                 CUSTOMER                                SS DSP TRIAL ORDER                                     3/11/19             5/10/19            NA
   2.404   VICI MEDIA INC.                                         CUSTOMER                                SS DSP                                                  2/1/19                 N/A            NA
   2.405   VINDICO, LLC                                            VENDOR                                  SERVICES AGMT (ADTRICITY)                              8/15/14             8/14/15            NA
   2.406   VISIT HERSHEY & HARRISBURG, INC.                        CUSTOMER                                SS DSP ORDER                                            1/9/19                 N/A            NA
   2.407   VIZU CORPORATION (A NIELSEN CO)                         VENDOR                                  SRV ORDER AUDIENCE INCITE                              6/16/11             6/30/12            NA
   2.408   VOKAL, LLC                                              VENDOR                                  SUBLEASE (350 N. ORLEANS, IL)                          6/20/16             6/30/21            NA
   2.409   VOKAL, LLC - SUBTENANT                                  LEASE (REAL PROP)                       LEASE (SUBTENANT) - CHICAGO                         6/25/2016              6/30/21            NA
   2.410   WAKELY CONSULTING GROUP, LLC                            VENDOR                                  SUBLEASE (1515 WAZEE ST, STE 380, DENVER)               2/1/17             4/30/20            NA
   2.411   WAKELY CONSULTING GROUP, LLC - SUBTENANT                LEASE (REAL PROP)                       LEASE (SUBTENANT) - DENVER                              2/1/17             4/30/20            NA
   2.412   WEST PUBLISHING CORPORATION (THOMSON REUTERS)           VENDOR                                  ADDM1 TO PRACTICAL LAW SUBSCRIPTION                    11/3/16             11/2/17            NA
   2.413   WHITE OPS, INC.                                         VENDOR                                  SERVICE AGMT (FRAUD DETECTION)                       10/22/15             10/21/16            NA
                                                                                                           THIRD PARTY DATA USE AGMT (BRAND COTTAGE:
   2.414   WHITE OPS, INC.                                         VENDOR                                  IO JOHNSTON & MURPHY)                                 2/10/17                  N/A            NA
   2.415   WIDEORBIT, INC.                                         VENDOR                                  PTV SRV AGMT                                          5/16/16              5/15/17            NA
   2.416   WIDEOUT WORKFORCES, INC.                                VENDOR                                  CHG ORDER1 TO SOW2 (US)                               12/1/16                  N/A            NA
   2.417   WIDEOUT WORKFORCES, INC.                                VENDOR                                  CHG ORDER3 TO SOW2 (US)                               1/10/17                  N/A            NA
   2.418   WIDEOUT WORKFORCES, INC.                                VENDOR                                  CHG ORDER5 TO SOW2                                     3/1/17                  N/A            NA
   2.419   WIDEOUT WORKFORCES, INC.                                VENDOR                                  CHG ORDER6 TO SOW2                                    3/10/17                  N/A            NA
   2.420   WIDEOUT WORKFORCES, INC.                                VENDOR                                  CHG ORDER7 TO SOW2                                    3/14/17                  N/A            NA
   2.421   WIDEOUT WORKFORCES, INC.                                VENDOR                                  CHG ORDER8 TO SOW2                                    3/23/17                  N/A            NA
   2.422   WIDEOUT WORKFORCES, INC.                                VENDOR                                  CHG ORDER9 TO SOW2                                    4/20/17                  N/A            NA
   2.423   WIDEOUT WORKFORCES, INC.                                VENDOR                                  CHG ORDER10 TO SOW2                                   4/24/17                  N/A            NA
   2.424   WIDEOUT WORKFORCES, INC.                                VENDOR                                  CHG ORDER11 TO SOW2                                   5/18/17                  N/A            NA
   2.425   WIDEOUT WORKFORCES, INC.                                VENDOR                                  CHG ORDER12 TO SOW2                                    6/1/17                  N/A            NA
   2.426   WIDEOUT WORKFORCES, INC.                                VENDOR                                  CHG ORDER13 TO SOW2                                   6/14/17                  N/A            NA
   2.427   WIKIA, INC.                                             VENDOR                                  DATA USE AGMT (FOR BLIZZARD)                         10/19/15             10/18/16            NA
                                                                                                           DATA SRV AGMT (INTERNET, BACKUP CIRCUIT
   2.428   WILINE                                                  VENDOR                                  FOR OUR LA OFFICE)                                    4/18/16                  N/A            NA
   2.429   XO COMMUNICATIONS SERVICES, LLC.                        VENDOR                                  SRV ORDER & ADDM1                                     9/23/14                  N/A            NA
   2.430   XY - THE PERSISTENT COMPANY                             CUSTOMER                                SS DSP ORDER                                          12/1/18                  N/A            NA
   2.431   YAHOO! INC.                                             VENDOR                                  PIXEL AGMT (CLICK THRU)                                3/1/14              2/28/15            NA
   2.432   YAHOO! INC.                                             VENDOR                                  AD EXCHANGE AGMT                                      5/19/14                  N/A            NA
   2.433   YESWARE, INC.                                           VENDOR                                  LICENSE RENEWAL AGMT                                  6/30/15                  N/A            NA
   2.434   ZAYO GROUP, LLC                                         VENDOR                                  SRV ORDER #501662                                    12/30/15                  N/A            NA
   2.435   ZAYO GROUP, LLC                                         VENDOR                                  SRV ORDER #429285                                    12/30/15             12/29/20            NA
   2.436   ZAYO GROUP, LLC                                         VENDOR                                  SRV ORDER #485294                                    12/30/15             12/29/20            NA
   2.437   ZAYO GROUP, LLC                                         VENDOR                                  SRV ORDER #717833 (REPLACES #678913)                 10/26/16             10/25/17            NA




Sizmek DSP Inc.
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 Fill in this information to identify the case:

 Debtor name: Sizmek DSP, Inc.

 United States Bankruptcy for the District of: Southern New York
                                                                                                                                                                       Check if this is an
 Case number: 19-10973
                                                                                                                                                                       amended ling


Ocial F orm 206H
Schedule H: Codebtors

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page to this page.

 1. Does the debtor have any codebtors?

        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes



 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules D-G. Include all
 guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than
 one creditor, list each creditor separately in Column 2.

   Column 1: Codebtor                                                                             Column 2: Creditor


   Name                            Mailing Address                                                Name                                                             Check all schedules
                                                                                                                                                                   that apply:

 2.1 POINT ROLL, INC.             401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY                     CERBERUS BUSINESS FINANCE, LLC
                                                                                                                                                                        D
                                  10016
                                                                                                                                                                        E/F

                                                                                                                                                                        G



 2.2 POINT ROLL, INC.             401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY                     SIZMEK FINCO, LLC (VECTOR CAPITAL
                                                                                                                                                                        D
                                  10016                                                          MANAGEMENT)
                                                                                                                                                                        E/F

                                                                                                                                                                        G



 2.3 SIZMEK INC.                  401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY                     CERBERUS BUSINESS FINANCE, LLC
                                                                                                                                                                        D
                                  10016
                                                                                                                                                                        E/F

                                                                                                                                                                        G



 2.4 SIZMEK INC.                  401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY                     SIZMEK FINCO, LLC (VECTOR CAPITAL
                                                                                                                                                                        D
                                  10016                                                          MANAGEMENT)
                                                                                                                                                                        E/F

                                                                                                                                                                        G



 2.5 SIZMEK                       401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY                     CERBERUS BUSINESS FINANCE, LLC
                                                                                                                                                                        D
 TECHNOLOGIES, INC.               10016
                                                                                                                                                                        E/F

                                                                                                                                                                        G
          19-10971-smb          Doc 125         Filed 04/27/19 Entered 04/27/19 00:05:44                Main Document
2.6 SIZMEK                                                 Pg 60 of
                       401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY   62 FINCO, LLC (VECTOR CAPITAL
                                                                 SIZMEK
                                                                                                                 D
TECHNOLOGIES, INC.     10016                                        MANAGEMENT)
                                                                                                                 E/F

                                                                                                                 G



2.7 SOLOMON            401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY   CERBERUS BUSINESS FINANCE, LLC
                                                                                                                 D
ACQUISITION CORP.      10016
                                                                                                                 E/F

                                                                                                                 G



2.8 SOLOMON            401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY   SIZMEK FINCO, LLC (VECTOR CAPITAL
                                                                                                                 D
ACQUISITION CORP.      10016                                        MANAGEMENT)
                                                                                                                 E/F

                                                                                                                 G



2.9 WIRELESS ARTIST    401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY   CERBERUS BUSINESS FINANCE, LLC
                                                                                                                 D
LLC                    10016
                                                                                                                 E/F

                                                                                                                 G



2.10 WIRELESS ARTIST   401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY   SIZMEK FINCO, LLC (VECTOR CAPITAL
                                                                                                                 D
LLC                    10016                                        MANAGEMENT)
                                                                                                                 E/F

                                                                                                                 G



2.11                   401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY   CERBERUS BUSINESS FINANCE, LLC
                                                                                                                 D
WIRELESSDEVELOPER,     10016
INC.
                                                                                                                 E/F

                                                                                                                 G



2.12                   401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY   SIZMEK FINCO, LLC (VECTOR CAPITAL
                                                                                                                 D
WIRELESSDEVELOPER,     10016                                        MANAGEMENT)
INC.
                                                                                                                 E/F

                                                                                                                 G



2.13 X PLUS ONE        401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY   CERBERUS BUSINESS FINANCE, LLC
                                                                                                                 D
SOLUTIONS, LLC         10016
                                                                                                                 E/F

                                                                                                                 G



2.14 X PLUS ONE        401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY   SIZMEK FINCO, LLC (VECTOR CAPITAL
                                                                                                                 D
SOLUTIONS, LLC         10016                                        MANAGEMENT)
                                                                                                                 E/F

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2.15 X PLUS TWO                                       Pg 61 of
                  401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY   62 BUSINESS FINANCE, LLC
                                                            CERBERUS
                                                                                                            D
SOLUTIONS, LLC    10016
                                                                                                            E/F

                                                                                                            G



2.16 X PLUS TWO   401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY   SIZMEK FINCO, LLC (VECTOR CAPITAL
                                                                                                            D
SOLUTIONS, LLC    10016                                        MANAGEMENT)
                                                                                                            E/F

                                                                                                            G
                 19-10971-smb                 Doc 125         Filed 04/27/19 Entered 04/27/19 00:05:44                                    Main Document
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  Fill in this information to identify the case:

  Debtor name: Sizmek DSP, Inc.

  United States Bankruptcy for the District of: Southern New York
                                                                                                                                                            Check if this is an
  Case number: 19-10973
                                                                                                                                                            amended ling


Ocial F orm 202
Declaration Under Penalty of Perjury for Non-Individual Debtors

 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the schedules of assets and
 liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those documents. This form must state the individual’s
 position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
 case can result in nes up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

              Declaration and signature
  I am the president, another ocer , or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a
  representative of the debtor in this case.

  I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


       Schedule A/B: Assets–Real and Personal Property (Ocial F orm 206A/B)

       Schedule D: Creditors Who Have Claims Secured by Property (Ocial F orm 206D)

       Schedule E/F: Creditors Who Have Unsecured Claims (Ocial F orm 206E/F)

       Schedule G: Executory Contracts and Unexpired Leases (Ocial F orm 206G)

       Schedule H: Codebtors (Ocial F orm 206G)

       Summary of Assets and Liabilities for Non-Individuals (Ocial F orm 206Sum)

        Amended Schedule

       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Ocial F orm 204)

        Other document that requires a
   declaration

I declare under penalty of perjury that the foregoing is true and correct.

Executed on              04/26/2019                                                           /s/ SASCHA WITTLER
                                                                                             Signature of individual signing on behalf of debtor
                                                                                              SASCHA WITTLER
                                                                                             Printed name
                                                                                              CHIEF FINANCIAL OFFICER
                                                                                             Position or relationship to debtor
